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                                                                           CENTRAL DISTRICT OF CALIFORNIA
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       Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 3 of 138 Page ID #:1146

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          Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 4 of 138 Page ID #:1147



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Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 6 of 138 Page ID #:1149




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Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 7 of 138 Page ID #:1150
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Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 9 of 138 Page ID #:1152
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                                            ~z)~N~ C ~~ Cb~Cc~ Ca)~D C~~
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       ~                                      at~i l~ ~R~N.~R. t F~
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                                 #:1153




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      Jut~t£~ 2(~ ZoiCS aNt~ c~ttN£ Iq,                 i~C-~LNT`-~" ~-~- ~ ~F~ CaPS
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Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 11 of 138 Page ID
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        c.Xf~~i~T,8                   #:1156



 1     1~ ~ ~~~: C~C~ f~i2!'~f ~0~5 SG~~:,~f~G /~-~'~Il''7 S VS~ GJl~1.G~ S~~G~'.~% S ~
      ~J6~~j            ~ f~ /~ l E;~~~           ~        Gj fi C.C.. ifi;~~F~9 CS /~CF~
                                                                                        -7✓~ LaCi /iC~l~'..
 2     G'r`i~k~Ce=~lCs f~~I'~'as~=S ~ C~~~')
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 4

 5
      I!1B CZY cr~C ~r~ ~9~ se.
           ~D ff- Xl~l~ Z ~'~7~7if~t ~t.L ~'
                                                           ~U ~ ~i~ srlsP ~~~
                                                                   S ~F r~~l~r~ LoG 1c~o.
                                                                                                ,~ C. cG ~~


 6     ~~/ rJ'
       ~         ~3~eC
                     '~ ~~ ~° <J              S           '
                                                          !    ~
                                                              /j   /I~J/~~'~ ~l~L',~~/~ ~/~J`~
                                                                                             pG~
                                                                                               /' ~i /~ ~AC~

 7



 s     >/ ~ C4~ • f~ ~Z ff~~~ ~~ C3~G ~~1~lt~D ~~`SS`T~~_ L~'r..~
 9                        ' S~          -l~                   ~i ►J O      T~~ C~1~1~ C~ ~`~ C~-~        C?
      S~7 ~f~C ~~i~ f~~~                                      C~d~ ~~ ~~~              ~ /        ~~ ~~
10    Zd 1 [ ~i1. ~G~-'1~a~'1~-isT ~~f-~3.f3k.~ '►~~U~ c     ~ r ~PC.r C,~C~ prC,
     (.,.1~TT-~TG4 ~ Tl~ `~ C{-P~S~. ~I}fai~T~~~'.2V~~G.6, era ~~ ~~/
11   L~'A~--~a Cc~n/,~u-S~t.t OF A /~'C . ~T~     ~ ~~~l -~~~ tip =L~ tic/
     . ~~f+,c~ yoc~ r`~oi~~ ~o~~ cr~.t~' ~sc~~ ~~r~~.~ Ya~r ~oi~~r~v~
12                                                    0
          -~e S~/~ 7~~~~ ~ /t/G Lc Gr /moo ._
       ~i~t                                                                 ~`f-.~-S~/~~ , i~FP               ~i
13

14     ~ Q C s - ~G ~ ~ si
       i                                 c c ~ ~'~.s 1~,                 ~~ ~~-c ~~ i~~.~~-
       ~-Un~~~ L~ ~Q.~ ~xC'~ s~.v~ sc~~i f=~-~~a ~'                                           c~~r~~-~ ~tN~%
15    1q v~Z~/3~ ~~.~t~~ ~:Gvaa~~r~ Y~~l~o

16

17
       s     ~~G s            ~~~~~cs Lam ~o _ ~~r~ T--~. ~                               i
                                                                                  n~T~- ~~r ~
18

19    !'C B ~f~ ~y.~lll/~'~~~ ~~"L il~t-Zi~.l~lf~.t7" ~O7~~ ~/eU.~I L-~~C'o~~"T"~~
      sf~DG~//.-~-71~G filet GoC ittc~ . ~ ~   ~       s/~TZa ~~~1-'~t1C r~c/~S~-cv'~F'a
20    ~~Sa Col*?/-'f                     ,g7Z Ta .~-!/ 13 -~ .~~ ~~/~ft U~ ~ l~u~'
      ~i~T~~GI's l~L~ Cc~~l~FF'!YTjy(ccc~s~~Ct` S'o~T~-1~ ~~i~`.4C CauC/~ f3~ 2~i~r ~~'
21           .~ ~T~~-Y ~~~ZrNr D~it!'f~Tl~ ftV~Lfr-~3C .~lLts'~.~
                                                                -mss
22

23
       ft~~~~~r~.v~u               2,                     G.~~`~L~'/ flP             r'~C~~~ LOc~ 11l0.
24                                                                ~ S
       ~c~v~ LOC _ ~!o _ s .I~N~         G ~ - ~-Z ~~u~=-   T v Ttt~'_ c~~'c~F~+' Ca~cc~r~~
25    ~(C~ M~ t~~ PPr~t._ ~~_ ~u ~ Z~~~~ ~~.G j~C~ ~   a~cr
26                                                                           t\
      4z         ~ ~-s ?tH~~ ~~rvc r ~u~s-r ~ s~rt-r ~                                       c-rteL~~t__~
                                                                        bra ~f~~ Y a-r~~                      ~a
27    >>~-mss' ~4        .~ ~/rr ~~~✓s r~~~r ~-c                        ~~r~ ~'Cu~ ~ pft Y n~~
za
         Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 14 of 138 Page ID
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     1            i~,fi~i~aS~~ A~I~                       `~ Q`cl~~t~ l~l.,~ ~'Vf~L~t~~~~M~'t~~ ~lS
                  w        ~~15E~S                          ~c.tT ►..~d~~ .~ Sit t~-~-- G ~ _ ~U
     z
     3       -~i .~ rv~ ~.(~ c
          i~L~                                                     ~3~ ~5 12 `DF~y ~F uNt~v~Z~~~
                ~i~~S L~l~'V~             C~~l~ Z 1~~ i                   r P       O   DAy l3                 1~ ~~
 4
           1i3 c ~ ~ ~ FF-Nt~ ~~Cc~-v ~i~ n~oT~~rc~ ~.~ err Tttr~~~s terra .~.[-~~~P~-
 5         ~a~ , Trl Tc.~r~'f~i `~/Y~li /~ .~~~~ ~ ~.~/tf~"✓?~=T/ 7~~~-T- ~za~~Tv n/ P~ .`S
           ~~G~     cry iaF~~.~ ~~vc ~' ~i~J ~.~~~~~           ~' iv~cFSs-~xy ~~S7~A~..._
 6          `[ ~l%_S ~ ~~-Z~ /+i✓ CoZ_ fi9~A d /5( 7~~~                    tI~N~ z~o~' ZNCSD ~r~.tT.
                ~ VF     P£~4-~'j
                                ~ o'r   /fi y / P ~~LL ~9S.~ ~' v ~   GoZ tFf                                       -
 7         ~P~-I~'fS~N>fD.~~~ ~~t~c-mss ~'C~ ~S-:~5~~~ C`V~~L ~ Lvtf-~ ~.
           ,
           C ~t      NEC ~i~l/~ ~2~5cccis' ftnl~ /~~r .T--i~ ~'f~Q,I~F~f+-~/c~ ~.,Zz77~'~f~~
 8

 9         ~     ~1, C
10
           a       ).D~a              r OF Cor2~CT~c~ f~t~►_►~ ~~}~A~i~~z~l C f~l1Fo2N~

11         P~ , Asss~-~ ~,4-e-~F~tc.~f 3oQ~} f 3044_ l Cep ~-,,tD Ce5 s A,~~c..~ ~a84. ~l
          ~~   (S   qLL i   ~ S~~       ~„         L         ~r~D                            TS' !~'~ Ia~F s    M
12

13        i~c~ MA~K~ 2.~/7~,~zs~.~.s_ ~tv~~t ~ ~`~~ac.1_r~--u~ 3d~1 ~,i ~c).¢i~o~l                 _
           qrv~ f~~     --i~
                     j~s+2G      C~!~~`c<.          ~i~~~~r~'~ l~s Tz~ frn~}% af= 7~/~~'F. S
                                                                                             lSIT-
14        ~N~ /~/ZG1jiDcD ~L • L~?~T~ A C40Z                PP~t o2 ~tS~t~CF~{-I(Zai,~GH Ti-F~ ~oC~.~.S.
          (,~ ~a~-`fit ~~s~           ~~-~=v ~c.1~ M A r~ ~        ~ ~o~ AP~iK- ('2o t:~~_s UN V ~~-t~C ~
15        ~1~►.i~~,~r~-~s,-~~~~G `~~ ~L , s,-~.~ r~~r~ t~ T~ ~~ y rtP~ c~nr t~s
          awe R       ~     z~
16                                     ~c c rZtt-~~,P'►~P~- 3a~.~               ►   C 5) z-t~l ~-I ~ Coi
                                                                                                       lu ~~l
          ~F~`~~~x'C~~itS                    !Z~ LiLhTZ        PRC~                    ~~=5 `~ E4 Safi
17                                    G ~ XC~s                                                 t         ~ c~
           `~ [5H-~tLl ~ ~ IUD p~~5 f~ /~O'C~(7U2~'~ l~~C~~
18         32 6~ TµecxtF~ ~~ ~R _ 2   9 ~. ~X~ (C~ `2

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23                       ~}O                (_._i                     i     ~       F CCJ~     -1    S

24
          ~IVL Y ~VftT~-A~3L~ f~ ~j'^                ?'Pr;~..v'~    ~~ M~ 7 Y !4T "P"i{~ T~'~c~ =N ~u N ~
25        ~.~o f ~~ iG ~nm ~Ti Co~~2~ _~
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                   DG       ~~~ ~                                                                    ~       --~►~+ Rc~ , o~
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                                  ~ M                   p     ~
                      t ~i.       ~T~                  ~ ~?~~                       T~ S          t.~1    ~ '• s      ~6 t,~~.~r
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        ~X ~1.              I~        D1

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              Co         ~~P~S                   Y~BU                        ~t                           5 °a of            6S
                                                 .~,.-Tf          Co ►      ~                         ~..~         i~ GJ~-~~
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        ~~TO c~  o ~~2 / ~~P                                       ~ ~~~                            Uu,~r3~ c~ ~ Cm s~ N   i  L~
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          ~ ~.~ T~ ~d.~~ _ ors ~ ~~                                                   ~~                        /"~~-✓-~
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         CO/~lT~eT                    T~/~ ~S-~c~G Cs~~- ~7-C• i3(_.~~                       ~~~ ~,
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 ~'ac~e:   1 Document Name:
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                                  untitled

   Y.I~9~~Qli~,`?2              OFFENDER BASEr~ INFURM?~iION SYSTEM                  0~ '1";';_'!:! ]_~
   I~:IyHQ1P01           MOVEMENT HISTORY of :05794 - TCIR1~]ER, LPFOI~]ZQ, R.AY     C _~; : ~; ~.~
   ~'=:ge      C'l                                                    Repc;~~t Date. C        :> '~ ,

   i~%!Oc,/~OiO      TF:A1~]~=,PERKED   TU LAS.   ADSEG      Fk0I~1 IONS

   C)?/02/2010       `~RFNSFERRED       TO IONS              FROM SAC
                                        ENROLJTE TO LAC
                                        F/PSYCH & RETRN

   06/27/2 10        TEMP RELEASE       TO MED  FROM LAC     CUSTODY: CDC/LANCA ~,ET SA~~Ir L_- _
                                        LANCASTER COMM[JNITY HOSPITAL/LANCASTER

   10%~8/200~        CHA1`1GEU UNIT     NEVI UNIT: AUSEG      OLU U1~]IT: 'V

   0 ~;~;28/20G9     TEMP RELEP.SE      TO MED  FROM LAC    CLSTOD'~': ~`C~C!LAi,~C~ ~:~T    P,`~;~~   ~..-. .
                                        LANCASTER COMMUNITY HOSPITAL/LAI~CAST~i=t

   0~%09!~009        CHANGED UNIT       NEW UNIT: IV          OLD UNIT: ADSEG

   01!10/2009        '~HANGEC UNIT ~    NEW UNIT: ADSEG       JLL, UNIT: 1~;



 KMHQ1P01: The most recent movement is listed first.




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date: 7j17/20i0 Time: 3:45:21 PM
                             Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 19 of 138 Page ID
                                                              #:1162      ~k'~r~~ ~~ ~ ~znLi~~ei naLN~r o~~ cocuuacrioivs
    :>~I~Fil'l U!' Cf+.LSFU1lI~V~,
     &NIV~AT'~ t'Yr~Y_q"A~;g~`d'~' ll]~~~L.l!'YC11~~'
    CY)~: ~lU2S~ lrec~ ~2/Oilj
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                                                                                        I C.D(~' l•;UMBLlt                          '.'l L IV11.GC'r 1tOUP ~ 1NST1TU7'lu
    ~ 1iJr 7 ~t1'S NAIv]E
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                                                                                           "fl1'LL                                  ~RLASbi~~ :Olt WVliN"I'Ol~]'
     PItO~ kl~ff llJVE'N"1' t1E17 L-' '


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                  -~1"llG1CL'1'S
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                                                        Sgb81" ~,LI ~I:;5                       1l~ndlcercfiiel                   ❑        Wush Clo(~~
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                                                                                                ~~~c~5~~~~: ~J ~ ~ ~ ~ ~
         G                                                                                                                                                                                 ❑                ❑       No
                                                                                                                                    ~ L'uulcs                              Operational           Yes
                                               py       lllSlilIIL ~.O~l"ICC ~ ~ll~             Magazines
         u          1 L^ii
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         f~         Buda                       ❑        Peanut i3utter
                                               ❑        cr~;Ps                        ❑         sr,~~ ii~~~,                          ❑    sr,~~,;~~~ r~~~,                s~v~,:
         ❑ ~~ii,-
                                                                                      ❑         Lirusli                               ❑    Comb
         ❑          Haney                      i]       Purl:ltinds
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                                   St~aimoYna~-y~ Yterrxs                                                    :.'io#hi~~.G YtetYas                                          Operational       ❑    yes       ❑        No

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                    ln~~elopes                  ❑       Stan~ipe
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          ❑         5zampetl Eirvelop~;,s       Lf       Greeting. Cards                                                                                                   S1JN:
                                                                                                                     ct
                                                ❑       Stationary                               Showe;r'i'hungs ~~~~' ❑                    Slippers
                     Wriiing'tablc;zs
                                                                                      ❑          Sweat Pants                          ❑     Swept Shirt                    ❑ Musicallnsiruments
          ❑         Pnnci] Sharpener            ❑        Pens
                                                                                      ❑          leunis Shoes                         ❑     I:aincoai
                                                                                                                                                                            Operationa]      ❑    Yes       ❑        Nu
              ❑      W'riting Pape;             ❑        l'enclls
                                                                                      ❑          Thermal "fop                   ~     ❑     Thermal Pants
                                     ~~~4~'It~ ~tieYIYS
                                                                                                                                                                            TYPE:
                                                                                                 Brun                                 ❑     Panties
              ❑      Razor                      ❑        ~1'wvez rs
                                                                                                                                            Attrle[ic Supporter             M utiel:
                                                                                      ❑          Gym Shorts                           ❑
              U      31~s;~i.:;6 `;rca,u        ❑        Aitur Shave
                                                                                                                                                                              Jh::           —___--'_                                       __
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              ❑      ]Vaii Ci;poers
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                     Soap      ~, ~1~( B"3 ❑             Soar Dis1~
                                                                                                                                                                            ❑ Typewriter
                                                                                       ❑         CLc:ss                                ❑     Checkers
              ❑      7uuthpaste                 ❑        Mouthwash                                                          i
                                                                                                                                                                            Operational      ❑        Yes   ❑        No
              Q h~~y r~Wa~~                     L7 7~~i~                               ❑         Dominoes
                                                                                                                 ~~     „'-~$~1~T                                           Model:                                                      --
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                                                 ❑       Deudorant                     _                                                                                    5R/N:
              ❑       Hair Greasy! el
              ❑       Perm Kit                   ❑        Mirrrn'
                                                                                                                                                                            ❑ Fan
              ❑       Nail Polish                ❑        Fuund<<tiov                                                   i
                                                 ❑        Blush                                                                                                              Model:
              ❑        b/l~keup Bu11
                                                          Other: —                                                                                                               Lamp                           ❑     ~leclnc ;ihuver
                       Masora                    U
                                      ~IQD~dL'4:(Y 1~~TT1S                                                                                                                   ❑ Blow lliyer                      ❑     Hair Dryer

              ❑        S'ipe "I'ubacco           ❑        Clzewin~'lob~iccu                                                                                                  ❑ Curling Iron                     ❑     Hair Rollers
                                                                                                                   ~Sj~~6~,V ~t~;dus
                       Oti~er'S'onacco           ❑        Cigarette Lighter                                                                                                                                     ❑         Calcul~+tor
                                                                                                                                                                             ❑ Pressing Comb
              ❑        Tobucw Puuuh              ❑        Cigarette Case                                                                                                                                               repaired,
                                                                                                                                                                             All ~wnoperationa] items shall either be
                                            ❑ Smoking Pipe                                —                                                                                                                               o~'tY~e
              ❑        Cigarette .huller                                                                                                                                     scut home, oi' disposed o't. Note dis~sition
                                     vtiser tcsr~s                                         __                                                                                iidin belov~~          ~~~        y

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               ❑                      c.uu,r
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    ME,e+.,
                        Bowl                       ❑       C~n.fJpuner

i                       Shoe Mulish                 ❑      Extension Cord
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                                                                                                    d'R.UI'Z~,I ';'Y                    Tf)B~ S1GNL~;lu:         J:'(]N Rl'sTUR[~ '~'(~ "k'FI~ ANIVIA'I'F;
                                                                  v7L~' FJI~ 'g"tiE ~' IbN1t~TI~;'S                                                                       pruperty or Love paten :+ny clisure~ancies bcluti~
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Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 30 of 138 Page ID
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            Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 32 of 138 Page ID
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Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 33 of 138 Page ID
                                 #:1176                         ~~          ~--~ C~~ ~
State of California
CDC FORM 695
Screening For:
CDC 603 Inmate/Parolee Appeals
CDC l S?4 Reasonable Modification or Accommodation Request


RE: Screening at the FIRST Level

 ~'ednesc~ay, June 1;~, 2017

TURNER, G0~ 79-~
C 0061122001LP
PROPERTY,, 06/09/2017
 Log Number: SVSP-L-17-03289
(Note: Lod numbers are assigned to all appeals for tracking purposes. Your appeal is
subiect to cancellation for failure to correct noted deficiencies.)

The enclosed documents are being returned to you for the following reasons:

Your appeal leas been rejected pursuant to the California Code of Re;ulations, Title 1S,
Section (CCR) 3084.6(6)(7). Your appeal is missing necessary supporting documents as
established in CCR 3084.3. All documents must be legible (If necessary, you may obtain
copy(ies) of requested docacments by sending a request with a signed trust withdrawalform to
your assi;ned counselor). Your appeal is missing:

Attach a copy ofyour 1083.


     V. Lomeli, Appeals Coordinator
     J. Ma~daleno
~ ~ /~. Medina, Appeals Coordinator
     C. Martella, AGPA
Appeals Coordinator
SVSP




NOTE: If you are required to respond/explain to this CDCR Form 695, use only the lines provided below.
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Be advised that you cannot appeal a rejected appeal, but should take the corrective action necessary
                                                                                                  d   an
resubmit the appeal within the timeframes specified in CCR 3084.6(a) and CCR 3084.8(6). Pursuant to
CCR 3084.6(e), once an appeal has been cancelled, that appeal may not be resubmitted. However, a
separate appeal can be filed on the cancellation decision. The original appeal may only be resubmitted if
the appeal on the cancellation is granted.
 NOTE THIS CDCR 695 1S A PERMANENT APPEAL ATTACHMENT AND IS NOT TO BE REMOVED
   Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 34 of 138 Page ID
                                    #:1177
                                                                                        X~~ ~~~
   State of California
   CI3(' FORM 695
   Screening For:
   ADC 602 Inmate/Parolee Appeals
   CDC 1824 Reasonable Modification or Accommodation Request


   RE: Screening at the FIRST Level

   Wednesday, July 12, 2017

   TURNER, G05794
   C 0061122001LP
   PROGRAM,Yard Scheduling, 07/11/2017
   Log Number: SVSP-L-17-04048
  (Note: Log numbers are assigned to all appeals for tracking purposes. Your appeal is
   subiect to cancellation for failure to correct noted deficiencies.)

   The enclosed documents are being returned to you for the following reasons:

   Your appeal has been rejected pursuant to the California Code of Regulations, Title 1S,
  Section (CCR)3084.6(b)(13). The appeal is incomplete. Your appeal is being returnedfor the
  following reason(s):

   You must complete section "B"ofyour appeal.


         V. Lomeli, Appeals Coordinator
   ',,.,,...',
   ~~. ' J. Magdaleno
   r     E. Medina, Appeals C dinator      ~' ,~''
       ~. Martella,  AGPA   ~    ~,~    ~~   (~
t ~ Appeals Coordinator      ~      '
    SVSP




   NOTE: If you are required to respond/explain to this CDCR Form 695, use only the lines provided below.




   Be advised that you cannot appeal a rejected appeal, but should take the corrective action necessary and
   resubmit the appeal within the timeframes specified in CCR 3084.6(a) and CCR 3084.8(b). Pursuant to
   CCR 3084.6(e), once an appeal has been cancelled, that appeal may not be resubmitted. However, a
   separate appeal can be filed on the cancellation decision. The original appeal may only be resubmitted if
   the appeal on the cancellation is granted.
    NOTE THIS CDCR 695 IS A PERMANENT APPEAL ATTACHMENT AND 1S NOT TO BE REMOVED
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 35 of 138 Page ID
                                 #:1178
State of California
CDC FORM 695                                                                             SVSP
Screening For:                                                                  L~-~,—
CDC 602 Inmate/Parolee Appeals                                                ~x`~~ ~~
CDC 1824 Reasonable Modification or Accommodation Request


RE: Screening at the FIRST Level

 Thursday, July 6, 2017

 TURNER, G05794
 C 0061122001LP
PROPERTY,Replacement/Repair, 07/05/2017
Log Number: LAC-X-17-03197
(Note: Log numbers are assigned to all appeals for tracking purposes. Your aApeal is
subiect to cancellation for failure to correct noted deficiencies.)

The enclosed documents are being returned to you for the following reasons:

Your appeal has been cancelled pursuant to the California Code of Regulations, Title I5,
Section (CCR) 3084.6(c)(2). The appeal duplicates a previous appeal upon which a decision
has been rendered or is pending.

THISIS A DUPLICATE APPEAL TO LAC-X-17-03161 THAT WAS ASSIGNED AT THE
FLR,PLEASE ALLOW TIME FOR THE FLR TO BE COMPLETED ONLAGX-17-03161.


     K. Estrada, AGPA
     G. Stratman, Office Tech
     M. Fordham, CCII AC
     J. Curiel, CCII AC
Appeals Coordinator
LAC




NOTE: If you are required to respond/explain to this CDCR Form 695, use only the lines provided below.




Be advised that you cannot appeal a rejected appeal, but should take the corrective action necessary and
resubmit the appeal within the timeframes specified in CCR 3084.6(a) and CCR 3084.8(b). Pursuant to
CCR 3084.6(e), once an appeal has been cancelled, that appeal may not be resubmitted. However, a
separate appeal can be filed on the cancellation decision. The original appeal may only be resubmitted if
the appeal on the cancellation is granted.
 NOTE TH1S CDCR 695 IS A PERMANENT APPEAL ATTACHMENT AND IS NOT TO BE REMOVED
                  Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 36 of 138 Page ID
~.x~~~~~                                           #:1179

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                                                                                                 4~ ~                                                                      ''
                                                                                Location: Institution/Parole Region                                Log No.                                    Category
         I NiVIATE/PAROLEE
         APPEAL FORM                                                                                                                               a
         CDC 602172/87)
                                                                       2.                                2.
         You may appeal any policy, action or decision which has a significant adverse affect upon you. With the exception of Serious
                                                                                                                                           CDC 1 15s, classification
         committee actions, and classification and staff representative decisions, you mustfirst informally seek relief through discussion with the
                                                                                                                                                    appropriate staff
          member, who will sign your form and state what action was taken: If you are not then satisfied, you may send your appeal
                                                                                                                                            with all the supporting
         documents and not more than one additional page of comments to the Appeals Coordinator within 15 days of the action taken. No
                                                                                                                                              reprisals will be taken
         for using the appeals procedure responsibly.
         NAME                                                                   NUMBER                        ASSIGNMENT                                                                          UNIT/ROOM NUMBER

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        A. Describe Problem:




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       Inmate/Parolee Signature                   ~''                      ~-~~ ~                ..6
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te1~                                                                          '9 9"   ~ `~
       C. INFORMAL LEVEL (Date Received:

       Staff Response:




       StaN Signature:                                                                                                                                       Date Returned to Inmate:

       D. FORMAL LEVEL
       If you are dissatisfied, explain below, attach supporting documents Completed CDC 1 15, Investigator's Report, Classification chrono, CDC
                                                                                                                                                 128, etc.)and
       submit to the Institution/Parole Region Appeals Coordinator for processing within 15 days of receipt of response.




   Signature:                                                                                                                                                          Date Submitted:
   Note: Property/Funds appeals must be accompanied by a completed                                                                                                                CDC Appeal Number:
   Board of Control form BC-1 E, Inmate Claim


                                                                                                                                                                            ~~~ ~ ~ i.~,~ 11
      Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 37 of 138 Page ID
                                       #:1180

       State of Califurnia
       CDC 1+ORNI 69,
       Screening l~or:            ~
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       CllC G02 inmate/Parolee Ap}~eals
       C'[~C 18?A Reasonable 1Vlodiiic~iion or Accomi~~odation Request




       RE: Screeniiib ~t tl~e INFORMAL Leve]


      Jcu~~ ti.ur>> 12, 2011


      TURNER, G05794
      I'f1B40000000014~'U


      Lod Number: LAC-A-
      (Note:.Log numbers are not assi~necl to screen out appeals, or informal level appeals)


      Tl~e enclosed documents are being returned to yoti foi- the followi»g reasons:

       Yoir lacrve not i,~c[cided enide~zce Of lLl1 lllZBl/1~71 10 resolve the problem at tFae InfOPil1QI LG'l~Bl.
      The Infor°~ual Level Of RBVIL'19~ is waived _fnr appeals ~~f classificrction actions; serious
      disciplinrcries; CSR cections; depa~"L/11L'lEtlll J~egarl~ctiorrs, policies or open°cltio~zal pr°ocedan~es;
      57C1~f C0111J)Zlll/715; fflll( L'tCL'J7~LOlt(li ci~~cc~m,SIl117CL'S !lS !IL'fined in CCR 3054.7.


      FORYY,~IRD A GA 22 TOR & R.

      CCR, TITLE 1~ 3064.3(5) THE APPEALS PROCESS REQUIRES THAT 3'OU PROLE
      A UTHORIZED POSSLSSION OF T.N~'ITE~17S BEING APPEALED.

                                                                                   ~~~~~~
      .i. C~u-iel/K. Thomas
       A ppeals Coordinator/Appeals Supervisor                                      ~~ C~-v~~S~ ~J~ ~,--~~.~s
      Correctional Counselor If
      California StatePrison -Los Angeles Coi~nt~~~                                 IZ~ ~c~S~-~ P~~~~ (tee

                                                                                        c~c~- c,,f(~~-~-c(~- ~,.~n~S ~~ ~-s
NOTE: Please male t~l~e changes or corrections requested and resubi~~it tl~e original appe~~l witliin~~~ ~
      T ~tcen ~~~orking days. Once an appeal his been cancelled t11ai appeal may i~ot be
      resubi»itted. However a separate appeal cai~ be ~Gled on the cancellation decision. The ~-~a'~A ~~~
      original appeal may oily be resubn~itied if ll~e appeal on the cancellation decision is ~(~.~~.~~
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                PERMANENT APPC.4L ATTACHP'IENT — ll0 NUT REMOVE
      Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 38 of 138 Page ID
                                       #:1181                                                     ~x                             ~~ ~
       Sta.:~f ~'~!ifornia
       C:DC FUI2N i5~
       Screening For:
       CDC 602 Inmate/Parolee Appeals
       CDC 1824 Reasonable Modification or Accommodation Request


                                                                                             ~~


       RE: Screening at the FIRST Level
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       January 30, 201?                                                                                                 t
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       TURNER, G05794                                                                    ~         ^ ~s +. <.   f4           +

       FDB~00000000106L

       Received Date: 01/27/2012
       Appeal Issue: PROPERTY Appeal Sublssue: Other
       Loc Number: LAC-D-
       (Note: Log numbers are not assigned to screen out appeals, or informal level appeals)

       The enclosed documents are being returned to you for the following reasons:

       Your appeal Iias bee~i rejected pursua~it to tl:e Califor~aia Code of Regulations, Title l5,
       Section (CCR) 3084.6(b)(7). Your appeal is missing necessary supporting documents as
       established iiz CCR 3084.3. All documents must be legible (If ~iecessary, you may obtain
       copy(ies) ofrequested documents by sending a request with a signed trust withdrawalform
       to your assigned counselor). Your appeal is missing:

      SUBMIT A CDCR 22 FORM DIRECTLY ~'O R & R FOR RESPONSE. THIS CDCR 602
      CANNOT BE UTILIZED UNTIL THE CDCR 22 FORM HAS BEEN EXHAUSTED IN
      ITS ENTIRETY.


       CCII 1. C~~:iel                                         •,
                                     A~ ~~~~ ._ _~ ~ ~ r~ ~ _                                                         ~i(-~S a
       Appeals Coordinator            ~~   ~    ~ `~" ~ ~"~~~~~ ~~~ 1 lI ~~                                ~,~ ~~ ,~,_,_
       California State Prison -Los Angeles County ~~~'~~ ~~~' -       1                                            ~~'~`~
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NOTE: Failure to follow instructions) will be viewe~as non-coopera~io ~~our a j eal will be T~,,~
      automatically dismissed pursuant to CCR 3084.4(d). This screening decision may not be        - ~ -%~~~~~
      appealed. If you believe this screen out is in error, please return this form to the Appeals        _
      Coordinator with an explanation of why you believe it to be in error, and supporting
         r~nr~i*~-~aptc   Vnv 1~avP ~n~v 1 ~ ~lav~ to rmm~ly wltll t11e above CI1reCtlVeS.                                                 ~--



                  PERMANENT APPEAL ATTACHMENT - DO NOT REMOVE
     Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 39 of 138 Page ID
                                      #:1182

      State of California
      CDC FORM 695
      Screening For:
      CDC 602 Inmate/Parolee Appeals
      CDC 1824 Reasonable Modificarion or Accommodation Request




      RE: Screening at the INFORMAL Level


      November 30, 2010

                                    -~- (3.3
      TURNER, G05794
      FAB40~'U~DO~v148L


      Log Number: LAC-A-
      (Note: Log numbers are not assigned to screen out appeals, or informal level appeals)

      The enclosed documents are being returned to you for the following reasons:

      Your property appeal is incomplete. You must attach legible copies of all documents
      relative to ownership and loss/destruction of the property. For example: the Pro er
      Inventor~v                                                   the cell search slip, and
                  Sheet, the CDC 143, Property Transfer Receipt, .-----
      __
      receipt(s).

      CDCR TITLE 1S 3084.3(5) THE APPEfiLS PROCESS REQUIRES THAT YOU PROVE
      A UTHORIZED POSSESSION OF THE ITEMS BEING APPEALED.

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      J. Curiel/R. Thomas            ~ ~r~,:~~~„~~ q-P~~c- ~-}r~v~ ~s~.t
               Coordinati>r/Appe is Supervisor~~~,~~~~~                  I?~~t~,r.-tt 2 oNL`S     ~M~=S
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      California State Prison -Los Angeles County~ ~`~''"~~"'~D ~~ (~e ``~ ~}a~v~ ~~; ~~ ~ ~"'c`"~~~
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NOTE: Please make the changes or corrections requested and resubmit the original appeal within
      fifteen working days. Once an appeal has been cancelled that appeal may not be             -_-
      resubmitted. However a separate appeal can be filed on the cancellation decision. The
      original appeal may only be resubmitted if the appeal on the cancellation decision is      "~~'
      granted.                            ~ P~r"4 ~~_~z~- ('~~;.~~.0 i?~.~~f~ 1~-~C.~~~fi~~,c~ ~~;,
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                  PERMANENT APPEAL ATTACHMENT — DO NOT REMOVE                                                           ~
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 40 of 138 Page ID
                                 #:1183         ~ ~     ►   QIr
                                                        r   y



 State of California
 CDC FORM 695
 Screening For:
 CDC 602 Inmate/Parolee Appeals
 CDC 1824 Reasonable Modification or Accommodation Request


RE: Screening at the FIRST Level

Feb~•ua~y 04, ?011

TURNER, G05794
FAB400000000141U

LEGAL, Copies, 02/01/2011
Log Number: LAC-A-
(Note: Log numbers are not assigned to screen out appeals)

The enclosed documents are being returned to you for the following reasons:

Your appeal Izas been rejected pursuant to the California Code of Regulations, Title 1S,
Section (CCR) 3084.6(b)(3). You have exceeded the allowable number of appeals filed in a
14 calendar day periodpursuant to CCR 3084.10.

Pursuant to CCR 3084.4 you are advised that this appeal is cotasidered misaise os~ abacse of
tlae appeals process. Repeated violatioizs may lead to your being placed- on ~cppeal
restriction us described in CCR 3084.4(8).

Your appeal laws been rejected pursuant to the California Code of Regaclatio~zs, Title 1~,
Section (CCR) 3084.6(b)(14). You have riot submitted youY appeal on the depa~•tinentally
approved appealforms.

Your appeal has been rejected pursuant to the California Code of Regulations, Title 1S,
Sectioiz (CCR) 3084.6(b)(8). YouY appeal involves multiple issues that do riot derive fi°o~n a
si~agle eve~zt, or are not di►•ectly related and cannot be reaso~aably addressed iii a si~zgle
response due to this fact. You may resubmit the unreiatec~ issues separaieiy ~csin~ se~u~~uie
appeals. Be advised that you are still secbject to the submissio~i of oiie non-emergency
appeal every 14 cale~zdar days.


Appeals Coordinator
California State Prison -Los Angeles County




Be advised that you cannot appeal a rejected appeal, but should take the corrective action
necessary and resubmit the appeal within the timeframes specified in CCR 3084.6(a) and
CCR 3084.8(b). Pursuant to CCR 3084.6(e), once an appeal has been cancelled, that
appeal may not be resubmitted. However, a separate appeal can be filed on the
cancellation decision. The original appeal may only be resubmitted if the appeal on the
cancellation is granted.
     Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 41 of 138 Page ID
                                      #:1184
                                                                     ~~~                      ~~~ ~
      State of California
      CDC FORM 695
      screening For:
      CDC 602 Inmate/Parolee Appeals
      CDC 1824 Reasonable Modification or Accommodation Request ~                                ,~1(j~~~
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      RE: Screening at the SECOND Level
                                                                                   ~~
      August 18, 2010


      TURNER, G05794
      FAB400000000113L


      Log Number: LAC-A-
      (Note: Log numbers are not assigned to screen out appeals, or informal level appeals)

      The enclosed documents are being returned to you for the following reasons:

       You may not submit an appeal on behalfofanother inmate or visitor.

      YOU MAY ONLY SUBMIT 1 NON EMERGENCY APPEAL PER 7 DAY CALENDAR
      PERIOD.

       YOU NEED TO ADD ADDITIONAL INFORMATION SUCH AS NAMES, DATES,
       TIMES,EVENTS,BE SPECIFIC. LACIS UNABLE TO PROCESS GENERALITIES.

      DO NOT RESUBMIT UNLESS YOU FOLLOW MY INSTRUCTIONS. FAILURE TO
      DO SO WILL RESULT IN THE CANCELLATION OF THIS APPEAL AND IT WILL
      NOT BE RETURNED TO YOU.




      J. Curiel/R. Thomas
      Appeals Coordinator/Appeals Supervisor
      Correctional Counselor II
      California State Prison -Los Angeles County
NOTE: Please make the changes or corrections requested and resubmit the original appeal within
      fifteen working days. Once an appeal has been cancelled that appeal may not be
      resubmitted. However a separate appeal can be filed on the cancellation decision. The
      original appeal may only be resubmitted if the appeal on the cancellation decision is
      granted.


                PERMANENT APPEAL ATTACg~MENT — DO NOT REMOVE
     Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 42 of 138 Page ID
                                      #:1185

       State of ialifornia
       CDC I'ORM 695
       Screening For:
       CDC 602 Inmate/Parolee Appeals
       CDC 1824 Reasonable Modification or Accommodation Request




       RE: Screening at the FIRST Level


      Februa~~~ 3, 201 D


      TURNER, G0~794
      FAB500000000129L


       Log Tru:::her; LAC-A_-
      (Note: Log numbers are not assigned to screen out appeals, or informal level appeals)


       The enclosed documents are being returned to you for the following reasons:

      You ar^e izot autho~~ized to BYPASS u~ay level or respond in STAFF RESPO?~'SE. Please
      resubmit ot~a a ~zew origir:al CDC Form 602. Do not resicbmit this appeal unless yotr follow
      nay i~istraictions. Failaire to do so may resaclt ira ca~acellatio~i ofthis appeal and~
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      Yetac~•iaed to you.

      REMOVE REO UESTIN SECTION D.

      RECORDS INDICATE THAT YOU HAVE RF,MOVED THE CDC 69~ AND
      RESUBMITTED THIS APPEAL, THAT ACT IS DEEMED AS ONE OF NON-
      COOPERATION AND FOR THAT REASON PER CCR 3084.4.(D) THIS APPEAL IS
      SCREENED OUT. REATTACH CDC 695.

      ~n ?~'~T pE~'~'~N_%Ts JNTE~S ~~i~T ~~~~,vi~' Pvl~T 11VJ1tCLJ(.11'(iIVJ. rfili,U~ 10
      DO SO WILL RESULT IN THE CANCELLATION OF THIS APPEAL AND IT                      LL
      NOT BE RETURNED TO YOU.




      J. Curiel/R. Thomas
NOTE: Please make the changes or coi7•ections requested and resubmit the original appeal within
      fifteen warkin~ days. Once an appeal leas been cancelled that appeal may not be
      resubmitted. However a separate appeal can be flied on the cancellation decision. T;~e
      oi-igiiial appeal may only be resubmitted if the appeal on the caucellatioi~ decision is               ~
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      granted.



                PERMANENT APPEAL ATTACHMENT — DO NOT REMOVE
     Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 43 of 138 Page ID
                                      #:1186                                        ~~ -~- ~~
      State of California
      CDC FORM 695
      Screening For:
      CDC 602 Inmate/Parolee Appeals
      CDC 1824 Reasonable Modification or Accommodation Request




      RE: Screening at the INFORMAL Level


      December 16, 2010


      TURNER, G05794
      rAB~iGvuv~7~ivv~ 1 ~,


      Log Number: LAC-A-
      (Note: Log numbers are not assigned to screen out appeals, or informal level appeals)

      The enclosed documents are being returned to you for the following reasons:

      Your issue is unclear. You need to add additional information such as names, times, dates,
      events, etc. be specific. LAC is unable to process generalities.

      ISSUE UNCLEAR, YOU NEED TO ADD INFORMATION TO CLARIFY YOUR
      REQUEST.

       WHATITEMS
            ~    ARE
                 ,r  YOU MISSING? ,~ ~~~. ~ _ ~j~~k~~~                                            ~~ ~
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      J. Curiel/R. Thomas                                                C c~~- ~~`
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      California State Prison -Los Angeles County ~~~                                                         ~             `~'~'~` ~ ~'
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NOTE: Plea e ake the changes or corrections requested and resubmit the origina appeal within ~' j~~,~,
      fifteen working days. Once an appeal has been cancelled that appeal may not be               ~
      resubmitted. However a separate appeal can be filed on the  cancellation decision.  The ~`~    -~~~
      original appeal may only be resubmitted if the appeal on the cancellation decision is
      granted.                                                                   ~ ~-~/ ~ / ,


                  PERMANENT APPEAL ATTACHMENT - DO NOT REMOVE                                                                     ~'~~ ~ ~~1
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     Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 44 of 138 Page ID
                                      #:1187
       State of California
       ADC FURM 695
       Screening For:
       CDC 602 Inmate/Parolee Appeals
       CDC 1824 Reasonable Modification or Accommodation Request




       RE: Screening at the SECOND Level


       October 26, 2010


      TURNER, G05794
      FAB400000000148L


       Log Number: LAC-A-
      (Note: Log numbers are not assigned to screen out appeals, ar informal level appeals)

       The enclosed documents are being returned to you for the following reasons:

       You may only submit one(1) non-errcergency appeal within aseven-calendar day period.

      REFILE IN 7DAYS.
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      J. Curiel/R. Thomas
      Appeals Coordinator/Appeals Supervisor
      Correctional Counselor II                                                                   ~   ..~
      California State Prison -Los Angeles County




NOTE: Please make the changes or corrections requested and resubmit the original appeal within
      fifteen working days. Once an appeal has been cancelled that appeal may not be
      resubmitted. However a separate appeal can be filed on the cancellation decision. The
      original appeal may only be resubmitted if the appeal on the cancellation decision is
      granted.


                PERMANENT APPEAL AT TACHMENT — DO NOT REMOVE
     Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 45 of 138 Page ID
                                      #:1188
       State of California
       CDC FORM 695
       Screening For:
       CDC 602 Inmate/Parolee Appeals
       CDC 1824 Reasonable Modification or Accommodation Request

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       RE: Screening at the SECOND Level

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       February 3, 2010                                               ~~`'~~~ ~o~- G;v~~                               ~~u`'C-
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        TURNER, G05794                                               ~-~~.  ~           ~--~~u'    ''~ ~~ec~,i,~~~~~
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      The enclosed documents are being returned to you for the following reasons: ~l~~~~ ~~ ~"~~~,~ ~~
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                                                                                                               ,~   `~"G~
      There has been too great a TIME LAPSE between when the action or decision occurred ~Tie~4~ti~-            ~'.
      and when you filed your appeal or between the time the appeal was responded to and the
      re-submission ofthis appeal. Time limits expired per CCR 3084.6(c). You need to provide
      an explaination as to why you violated time constraints. Do not re-submit this appeal
      unless you follow my instructions; failure to do so may result in cancellation of this
      appeal.                                                      !~1 ~~ • C~+ ~~ ~-,

      EXPLAIN TIME CONSTRAINT VIOLATIONS.                            --~~-~'~ ~ ~, ~                             ~~~5~~~~~
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      J. Curiel/R. Thomas                                      ~ ~~ `~~~~-'`~~`~ ~~~ ~-E'C~Ss" ~ ~~,-f'~
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      Correctional Counselor II                                ~~~ ~~~~~          5~~
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      California State Prison -Los Angeles County




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NOTE: Please make the changes or corrections requested and resubmit the original appeal within ~~ T~jG~~„
      fifteen working days. Once an appeal has been cancelled that appeal may not be ,~~~U~~ N
      resubmitted. However a separate appeal can be filed on the cancellation decision. The ~~;,~ 7`6 ~~
      original appeal may only be resubmitted if the appeal on the cancellation decision is 4~,~,+~/~,~-~(~
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      granted.                                             ~(.~ ~        ~~C~f,~"I~~~ ~i~"~a~~S~ $~
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                PERMANENT APPEAL ATTA~''HMENT — DO NOT REMOVE
     Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 46 of 138 Page ID
                                      #:1189

        State of California
        CDC FORM 695
        Screening For:
        CDC 602 Inmate/Parolee Appeals
        CDC 1824 Reasonable Modification or Accommodation Request




        RE: Screening at the FIRST Level


        Mcarclz 9, 2010


       iv''1~i~VLn, ~iv3'l~'~
       FABS00000000129L


       Log Nurnber: i.~,Gti-
       (Note: Log numbers are not assigned to screen out appeals, or informal level appeals)

       The enclosed documents are being returned to you for the following reasons:

       This appeal wasfo~~warrled to the Hiri~ig Aaithority and it was detei•r~~iined that this appeal
       does not meet tlae f•eq~cire~neiitsfor assignnie~it as u staff co~aiplaint. Staff co»iplai~its shall
       not be conibiiied with othe~~ appeal issues, per Admiizistrative Bailletin OS/03.

       YOU'VE NOT PRO vIDED ANY E vIDENCE TH.4 T STAFF WAS INVOLVED IN
       MISCONDUCT. '~U'a(~ SC~:~~`t~L~~ ~riE{-,
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       ~'~-r~:~~~'~s oFt':~~F~~~ .Y~ji Yc~,l ~/~i~[ ,SGT ~~!'~~ r'';-~r~.,-J~'~ ~cc~l ~P°SAL_ C„~
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       J. Curiel/R. Thomas~.~~ t~,~J`~~,1✓'~~,'~J.J t~~'~ Si,~~ C~~~.~.
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       Appeals Coordinator/Appeals Supervisor y,/~~ - ~~aI~~~CI~r'~ CAS `P'~~ ''~ " `~
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                                                     —         ~~T~ WURC> S G                  ~-~•-1~1 W~L ~ ~~~~!
NOTE: Please make the changes or corrections requested and resubillit the original appeal within ~~1,C—
      fifteen working days. Once a~1 appeal has been clncelled that appeal nzay not be ~~~~'~~~ ~~~~~ ~''~~
      cesL~binitted. However a separate appeal can be filed on the cancellation decision. The ~ ~" ~ ~~~
      original appeal may only be resubmitted if the appeal on t1~e cancellation decision is ~a -'- ~~~~~L
       granted. T I-~~~1~ 1~1c: C:~f~fvt~v~i S , II~P~ ~~G~~t~~
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                                                                                                                     -a   _;
                 PERMANENT APPAL ATTACHn1~NT — DO NOT REMOVE
     Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 47 of 138 Page ID
                                      #:1190
       State of California
       CDC FORM 695
       screening For:
       CDC; 602 Inmate/Parolee Appeals
       CDC 1824 Reasonable Modification or Accommodation Request                         (Y~'~~r~y'~(~   (~'( . ~'~~-}




       RE: Screening at the SECOND Level


       August 2, 2010


       TURNER, G05794
       FAB400000000113L


       Log Number: LAC-A-
      (Note: Log numbers are not assigned to screen out appeals, or informal level appeals)

       The enclosed documents are being returned to you for the following reasons:

       You may not submit an appeal on behalfofanother inmate or visitor.

       YDU NEED TO ADD ADDITIONAL INFORMATION SUCH AS NAMES, DATES,
       TIMES, EVENTS, BE SPECIFIC. LAC IS UNABLE TO PROCESS GENERALITIES.
       YOU HAVE NOT PROVIDED ANY EVIDENCE DEMONSTRATING THAT STAFF
       WASINVOL VED IN MISCOND UCT.



                                                                     ~~'~v►~~ ~ Q h bo/ ~3                               i ~~~
                                                                     ~~                                  ~(~c~~/rAE?p ~,,, t~L N
       J. Curiel/R. Thomas
       Appeals Coordinator/Appeals Supervisor
       i.. Lili.'v tl Vile.:   v   t.,.,.•.:.

       California State Prison -Los Angeles County




                                                f~ ~ ~- ~~/d
NOTE: Please make the changes ar c nections requested and resubmit the original appeal within
                                                                                              ..
      fifteen working days. Once an appeal has been cancelled that appeal may not be
      resubmitted. However a separate appeal can be filed on the cancellation decision. The
      original appeal may only be resubmitted if the appeal on the cancellation decision is
      granted.


                     PERMANENT APPEAL ATTACHMENT — DO NOT REMOVE
      Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 48 of 138 Page ID
                                       #:1191
       State of California
       CDC FORM 695
       Screening For:
       CDC 602 Inmate/Parolee Appeals                                                                      ~     i
       CDC 1824 Reasonable Modification or Accommodation Requesi                              ~'~ • (`~•       .~-




       RE: Screening at the FIRST Level


       August 27, 2010


       TURNER, G05794
       FAB40000000(K-~L           ~~~


       Log Number: LAC-A-
      (Note: Log numbers are not assigned to screen out appeals, or informal level appeals)

       The enclosed documents are being returned to you for the following reasons:

       There has been too great a TIME LAPSE between when the action or decision occurred
       and when you filed your appeal or behveen the time the appeal was responded to and the
       re-submission ofthis appeal. Time limits expired per CCR 3084.6(c). You need to provide
       an explaination as to why you violated time constraints. Do not re-submit this appeal
       unless you follow my instructions; failure to do so may result in cancellation of this
       appeal.

      EXPLANATION DOES NOT ADEQUATELYEXPLAIN TIME LAPSE.

       THIS APPEAL IS CANCELLED.




      J. Curiel/R. Thomas
      Appeals Coordinator/Appeals Supervisor
      Correctional Counselor II
      California State Prison -Los Angeles County



NOTE: Please make the changes or corrections requested and resubmit the original appeal within
      fifteen working days. Once an appeal has been cancelled that appeal may not be
      resubmitted. However a separate appeal can be filed on the cancellation decision. The
      original appeal may only be resubmitted if the appeal on the cancellation decision is
      granted.


                PERMANENT APPEAL A'~TACHMENT — DO NOT REMOVE
     Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 49 of 138 Page ID
                                      #:1192
       State of California                                                                            ~, ~,-
       CDC FORM 695
       Screen➢ng Foro
       CDC 602 Inmate/Parolee Appeals
       CDC 1824 Reasonable Modification or Accommodation Request                              ~~~~ ~-




       RE: Screening at the FIRST Level


       September 1, 2010


       TURNER, G05794
       FAB40000000U14~L


       Log Number: LAC-A-
      (Note: Log numbers are not assigned to screen out appeals, or informal level appeals)

       The enclosed documents are being returned to you for the following reasons:

       Your appeal is incomplete. You must include supporting documentation. All documents
       m ust be legible.(Ifnecessary, you nay obtain copy(ies,' ofrequested documents by sending
       your request with a signed trust withdrawal form to your assigned counselor.) And/Or
       additional information is needed in that your appeal is missing:
          l~l~.. C~~~C~- ~N~-'S ~1 ``-~ ~~r~c~►~nP ~~~ ~. - ~~.z~:,~~u Q~~D ~ ~ c
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       J. Curiel/R. Thomas ~        -~ ~~,G_ ~Ic,~~~~~~ ~~`~c:c'~ ~s ~.f,~c~-c ,~.s ~r
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       Appeals Coordinator/Appeals Supervisor           ~   c ~~va~~n tNs T f+~ ~ L~'P~ t~Q ~
                                                                                                    j~L/Cl ft'1.St7
       Correctional Counselor II              ~' 3C`r~~+N~~ ~.,~c -p,- ~~ _ nl ~ ~ p~~`~
       California State Prison -Los Angeles  County ~                                    ~ ~~- t ~`    ~
                                                                                                                    L.~~ ~.




NOTE: Please make the changes or corrections requested and resubmit the original appeal within
      fifteen working days. Once an appeal has been cancelled that appeal may not be
      resubmitted. However a separate appeal can be filed on the cancellation decision. The
      original appeal may only be resubmitted if the appeal on the cancellation decision is
      granted.


                PERMANENT APPEAL ATTACHMENT — DO NOT REMOVE
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 50 of 138 Page ID
                                 #:1193           ~~-~              ~~ ~ r
                       INMATE- APPEAL ASSIGNMENT NOTICE
V
    To: INMATE TURNER, G05794                                        Date: March 30, 2017
    Current Housing: D 002 1144001 L

    From: INMATE APPEALS OFFICE

    Re: APPEAL LOG NUMBER.: PBSP-O-17-00632

    ASSIGNED STAFF REVIEWER: AW CS
    APPEAL ISSUE: PROPERTY
    DUE DATE: 05/10/2017

    Inmate TURNER,this acts as. a notice to you that your appeal has been sent to the above
    staff for FIRST level response. If you have any questions, contact the above staff
    member. If dissatisfied, you have 30 days from the receipt of the response to fon~ard
    your appeal for SECOND level review.



         A. Sheldon, Appeals Coordinator
       7 K. Royal, Appeals Coordinator
    ~~~ N. Bramucci, AGPA
    PBSP Appeals Office
Case 2:14-cv-04758-SB-AGR Document 136
                                   ~~~ Filed 10/05/17 ~Page 51 of 138 Page ID
                                                         4~
                                 #:1194




                       INMATE APPEAL ASSIGNP✓TENT NGTICE


   To: INMATE TURNEP~, G0579~                                        Date::lai~ua~y 3, 201 1
   Current 1-lousing:                                                        ~~~ ~,

   from: INMATE APPL'ALS OFF1C~

   Re: APPEAL

   ASSIGNL~ STATE REVIE~VT~:: r.ti1~ C'U
   APPEAL ISSUE: PROPERTY

   Inmate TURNER, this acts as a notice to _you that your ~p~~eal has been seni to the above
   staff for INFORMAL response. If you have any questions, con~act the above staff
   member. I~f clissatisfed, you have l5 days from the receipt of the res~ouse to forward
   your appeal to this office For the FIRST level of review.


                                                                    ~ ~-~(~c~~~~~
   CCIT J. Curie] - CCII R. Thomas             ~~                     ~ b ~~ ~G V"I ~~;(L.
  .Inmate Appeals Coordinator -Inmate Appeals Supervisor
   California State Prison -Los Angeles County
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 52 of 138 Page ID
                                 #:1195




                             INMATE APPEAL RnUTE SLIP


    To: AW CO                                                        Date: January 4, 2011

    From: INMATE APPEALS OFFICE

    Re: Appeal By Inmate TURNER,G05794

    Please assign this appeal to appropriate staff for INFORMAL level response.

    Appeal Issue: PROPERTY
    Due Date: 01/10/2011
    Special Needs:

    STAFF INSTkUCTIONS:
                                                                            ED or
    Begin your response with: GRANTED, DENIED, PARTIALLY GRANT
                                                             Every effort should be
    WITHDRAWN. When complete, return appeal to the inmate.
    made to resolve the matter at the lowest level possible.

    Refer to D.O.M. 54100 for instructions.




    CCII J. Curiel - CCII R. Thomas
    Inmate Appeals Coordinator -Inmate Appeals Supervisor
    California State Prison -Los Angeles County




                                                                           ~~.+r.~~rn    ~►u A C 7M1
           Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 53 of 138 Page ID
                                            #:1196                                                         ~X                          C~~ r~
STATE OF CALIFGRNlA                                                                                                     DEPARTMENT OF CORRECTIONS AND REHABILfTATIOP~
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   SECTION B: STAFF RESPONSE
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    /SP~ONDING STAFF NAME:                                   DATE:                         SIGNAYURE:                                           DATE RETUR ED:



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   S         ION C: REQUEST FOR SUPERVISOR REVIEW                                                           (.~ ~/                         dr~
   PROVIDE REASON WHY YOU DISAGREE WITH STAFF RESPONSE AND FORWARD TO RE PONDENT'S Sr~PERVISOR IN                             RSON OR BY US Ny~I;. K           PF    AL ANARY             ~
   COPY.                                                                                                                                     L~




   SECTION D: SUPERVISOR'S REVIEW
   RECEIVED BY SUPERVISOR (NAME):                               DATE:                      SIGNATURE:                                           DATE RETURNED:




                Distribution: Original -Return to Inmate/Parolee; Canary -Inmate/Parolee's 2nd Copy; Pink -Staff Members Copy; Goldenrod -Inmate/Parolee's 1st Copy.
              Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 54 of 138 Page ID
                                               #:1197


                                           IN1~1A'TE REQUEST FOR INTERVIEW
tir ~r~~~r~,~i.ir~~r~i a                                                                                                                DEPAnTN1FNT OF CORRECTIONS
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  Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 55 of 138 Page ID
                                   #:1198


  333?                                       DEPARTMENT OF CORRECTIONS AND REH.~BILIT,~SION                                               TITLE 1J
 mat:rial may be assigned to disciplinary detention units from the                  (d) Superiisor's Responsibilities. The supervisor in char>e of a
 inmate library and will rzpresent a cross section of material avail-             disciplinary detzntio❑ unit is responsible for the physical security
 ❑bie ro the gzneral population. At thz discretion of the wardzn or               of the unit, the control of contraband within the unit, and for safe,
surer:ntzndent, in~r:ates enrolled in educational programs who have               sanitary and decent ~~~orking and living conditions widli~ the unit.
 re~thook; in Their parsoral property may be pzrnlitted [o study such              V~%hen any condition within the unit or the behavior. conduct or
 mnrerial w~hik undergoing disciplinary cfetentioo.              ,                appearance of any inmate confined therein appears to wan~an[ the
   (j) Le=al '~tatzriaL Inmates underaoino disc,iplinsry detention                a~ten[ion of specific or specialized staff, the matter will be promptly
 will not be limned in their access to the courts. Lesal resources                 brouPub to the attention of appropriate staff.
 may oz limited to pencil and paper, which will be prodded upon                     (e) Suicide Risks. Inmates tindergoin~ disciplinary detention
request, for correspo~derce with ~n attorney or preparation of legal               who are dia~nt~~ed by qualified medical staff as a suicide risk
documents for the court. Other leeal material in an inmate's per-                  will be moved to n hospital setting. and medical staff will assume
soeal proper,y~ may be issued to an inmate in disciplinary dztention              responsibility- rot such placement and Yor observation and super-
 if liti«anion was in progress before detention commenced and legal              ivision of the inmatz. Such mo~~ement and supervision will be in
due dutzs are immine~~.                                                          cooperation and coordi~aCion with custody stall.
   (kj Pri~ile~=es. All pri~~ile~es generally associated with the in-               (t) :~lunngement Casts. An inmate who persists in unduly dis-
mate~~ t+orldtrainin~ incentive stoups status will be suspended                   ruptive, destrucci~~e or d~ingerous behavior aid who will nut heed
<iurir.~ a period of dis: iplin:iry detzntion. This includes but is nut           or respond w orders and warnings to desist from such activity. may
limited to: personal nonzmer~ency telephonz calls, handicraft                   ~ be placed in n manu~ement cell on an order of the unit's adminis-
acti~~itie~. we of recreational equipment, and the viewing of televi-             traror or, in his or her absence. an order of the watch commander.
  =cn, and other pri~~ite~es.                                                     In addition to any necessary incident or disciplinary reports, the
   (1) Restrictions. A written report by the administrator or supervi-            matter will be reported ro [he warden, superintendent, chief dis-
sor incharge oT adisciplinary detention unit will be submitted to thz         ~, ciplinnry officer or admini,trative officer of the day, one of whom
chief di~ciplieary° officer wherever an inmate under~oinv disciplin-              will review mana,ement cell resident status daily. An inmate who
ary detention is dzprived of any usually authorized item, activity                requires mana~~ement cell placement for loner than ?4 hours will
or privik~e. ~ special report to thz chief disciplinary officer and               be considered for transfer to a psychiatric mana_ement unit or other
to a classification committee will be made when an inmate's cir-                  housi~Q appropriate to the inmate's disturbed state.
cumstances indicate a continuing need for separation from general
                                                                                    (~) Disciplinary Detention Records.
population or frog: specific persons.
                                                                                    (1) A Disciplinary Detention Loy. CDC Form 1 L=1, will be
tiOT6: Authority cited: Section X053, Penal Code. Reference: Sections             maintained in each desivnated disciplinary detention unit. Specific
X030.1 and ~G~~l. Penal Code.                                                     information required in this foe will be kept cuiren[ on a daily and
HISTORY':                                                                         shift or watch basis. A completed log book will be retained in the
    . ~.mendment of subsection (k) filed 3-16-83: effective thirtieth day         unit for as lone as any inmate recorded on the last pace of [hat log
      thereafter (Register 83, ~;o. 8i.                                           remains in the unit. Stora,e and purling of log books will be in
   2.:~mendment of subsection Id) filed'_-8-38; operative 3-9-88 (Re~-            accordance with department schedules. One disciplinary detention/
      ister 88. tio. ?l.                                                          se~reaa[io❑ log may szrve a disciplinary detention unit and other
   3. Amendment of subsection (c)(?) and amendment of Note filed                  special purpose segregation unit,, which are combined and are ad-
      7-7-~00~ as an emergency; operative 7-7-300 (Register '005,   _'
      tia ?7). Pursuant to Penal Code section ~0~3.3, a Certificate of            ministered and supervised by the same staff members.
      Compliance must be transmittzd to OAL by 13-14-?005 or emer-                  (3) A separate record will be maintained on each inmate under-
      ~ency lan,ua~e will be repealed by operation of law on the follow-          ;oin, disciplinary detention. This record will be compiled on CDC
      ina day.                                                                    Form L l=~-A, Detention/Se~revatio❑ Record. In addition fo the
  4. Certificate of Compliance as to 7-7-200 order transmitted to OAL             iden[ifyin~ information required on the form, all significant infor-
      1 2-13 X005 and filed 1 -26-?005 (Re~ister?006. No. 4).                     matio~ relatine to the inmate during the course of detention, from
                   --
3332. Administration and Supervision of Detention Units.                          reception to release, will be entered on the form in chro~olo~ical
                                                                                  order.
  (a) Plan of Operation. Each warden and superintendent will
establish and maintain a plan of operations for the disciplinary de-              NOTE: Authority cued: section 50 3, Penal Code. Reference: Section
te~tion of inmates, whether in a unit or section of a unit designated             505=1, Penal Code.
for this specific purpose or in conjunction with other special pur-
                                                                                  3333. Confinement to Quarters.
pose housing of inmates. Such plans will conform to the provisions
                                                                                   (a) Confinement to quarters may be ordered as a continuous
of this article and will be updated as necessary to reflect current
                                                                                  period of confinement or as intermittent confinement on holidays,
procedures and practices. A copy of the plan will be submitted to
                                                                                  weekends or days off fi-om assigned work and classified program
the director for review and approval annually, as scheduled for re-
                                                                                  activities. When ordered as intermittent confinement, confinement
quired plans.
                                                                                  may not exceed 10 ten days during a 35-day period.
  (b) Administration and Supervision. The administration of dis-
                                                                                   (b) Confinement to quarters may extend from the first full day of
ciplinary detentio❑ units may be delegated to a staff member at
not less than the level of correctional captain. The supervision of               confinement to the beginnin; of the day following the last full day
disciplinary detention units may be assigned to a staff member at                 of confinement. Such partial days will not reduce the rotal number
not less than the level of correctional sereeant.                                 of full days of ordered confinement.
  (c) Visitation. Inmates assigned to disciplinary detention units                NOTE: Authority cited: Section ~OS8, Penal Code. Reference: Sectio❑
will be visited daily by the supervisor in charge of the unit and                 5054, Penal Code.
by an institution physician, registered nurse or a medical technical              HISTORY:
assistant. An inmate's request to be visited by other staff will be                 1. Chance without regulatory effect smendin~ section filed 10-?9-90
promptly referred to the staff member. A timely response should be                     pursuant to section (00, tide 1, CaliFornia Code of Re~ul~tions
eiven to such requests whenever reasonably possible.                                 (Register 91, No. 6).

                                                                            162
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                                             DEPARTA9ENT OF CORRECTIONS.AND REHABILITATION                                                    § 3084.1
TITLE 15

       Article 7. Furloughs and Temporary Leave                                                        Article 8. Appeals

3080. administration.                                                            3084. Definitions.
  Institution and parole division staff will administer inmate work                For the purpose of Article 8, the following definitions shall apply:
and educational furloughs and temporary community release pro-                    (a) Appellant means an inmate or parolee who has submitted an
~rams in a prudent manner, and in keeping u ith the basic need for               appeal
public protection.                                                                (b) General allegations means allegations [hat lack specificity or
  Comment: Former DP-170], policy, general.                                      factual evidence to support them.
                                                                                   (c) Material adverse effect means a harm or-injury chat is mea-
3081. Compliance.                                                                surable or demonstrable, or the reasonable likelihood of such harm
  Inmates who are granted a furlough or temporary leave must                     or injury. 1n either case. the harm or injury must be due to any
comply with all departinental rules and re~iilations governing such              policy, decision, action, condition, or omission by the department
programs; with any conditions for approval; and, with all appli-                 or its staff.
cable laws, and must meet eliQibiliry requirements in accordance                   (d) Modification order means an order by the institution, parole
                                                                                 region. car third level Appeals Chief directing a previous decision
with departmental procedures and Sections 2690, ?691, 6250 et
                                                                                 to be modified.
seq., 6263 of the Penal Code and SecCion 3306 of the Welfare and
                                                                                   (e) Remedy means a process or means to address an issue or
Institutions Code.
                                                                                 correct a wroi~e.
NOTE: Authority cited: section 5058. Penal Code. Reference: Sections               (fl Reviewer means the individual with signature authority for
6250-6253 and 6260, Penal Code; and Section 3306. Welfare and In-                the approval or disapproval of an appeal response at any level.
stitutions Code.                                                                   (g) Staff misconduct means staff behavior that violates or is
HISTORY:                                                                         contrary to law, regulation, policy, procedure, or an etl~ica] or pro-
  1. Amendment filed 3-2-83; effective thirtieth day thereafter (Regis-          fessional standard.
     ter 83, No. 12j.                                                              (hj Supporting documents means documents that are needed to
                                                                                 substantiate a3legations made in the appeal including, but not lim-
3082. Temporar~~ Leaves.                                                         ieed to, classification chronos, property inventory sheets, property
  Temporary leaves will be granted only for inmates wl~o meet the                receipts, disciplinary reports with supplements, incident reports,
criteria for such leaves, as prescribed in guidelines established by             notifications of disallowed mail, trust account statements, mei7lo-
the Secretary, for the following reasons:                                        randa or letters, medical records and written requests for interviews.
  (a) Fancily Emergency. Emergency leaves will normally be con-                  items or services. Supporting documents do notinclude docwnents
sideredonly for attendance at ser~~ices for deceased members of the              that simply restate the matter under appeal, argue its merits. or in-
inmate's immediate family, and for visits to critically ill members              troduce new issues not identified in the present appeal form.
of the inmate's immediate family. Unmediate family members are                   N OTE: AuthoriCy cited: Section 5058, Penal Code. Reference: Section
defined in section 3000.                                                         5054, Penal Code.
  (b) Prerelease Planning. Prerelease planning leaves may be                     HISTORI':
considered for the purpose of employment interviews, making                       ].New section filed 12-13-2010 as an emer~encv: operative
residential plans and for other reasons closely connected to release                 1-28-Z011 (Register 2010. No. 51). Pursuant to Penal Code sec-
                                                                                     tion 5058.3, a Certificate of Compliance mist be transmitted to
programs. A prerelease leave will not normally be granted earlier                    OAL by 7-7?011 or emereency laneua~e will be repealed by op-
than 63 days before the inmate has an established or reasonably an-                  eration of law on the following day. For prior history. see Register
ticipated release date nor any earlier than is required to accomplish                91. No. 6.
tt~e purpose of a prerelease leave.                                               2. Certificate of Compliance as to l2-]3-2070 order transmitted to
                                                                                     OAL 6-15-?O] 1 and filed 7-28-?011 (Register 20l 1, No. 30).
NOTE: Authority cited: Section 5058, Pena] Code. Reference: Sections
2690 and 5054, Penal Code.                                                       3084.1. Right to Appeal.
HISTORY:                                                                           The appeal process is intended to provide a remedy for inmates
  1. Amendment filed 3-22-78; effective thirtieth day thereafter (Reg-           and parolees with identified grievances and to provide an adminis-
     ister 78, No.]2).                                                           trative mechanism for review of departmental policies, decisions,
 2. Amendment filed 8-22-79; effective ~hirtie~h day thereafter (Reg-            actions, conditions, or omissions that have a material ad~~erse ef-
     ister 79, No. 34).                                                          fect on the welfare of inmates and parolees. All appeals shall be
 3. Amendment of subsection (h) filed 9-24-81; effective Thirtieth day           processed according to the prUvisions of Article 8, Appeals, unless
     thereafter (Register 81, No. 39).                                           exempted from its provisions pursuant to court order or superseded
 4. Change without regulatory effect amending subsection (a) filed               by law or other regulations.
     12-2-2003 pursuant to section 100, title 1, California Code of               (a) Any in-mate or parolee under the department's jurisdiction
     Regulations (Register 2003, No.49).                                         may appeal any policy, decision, action, condition, or omission by
 5. Change without regula~ory effect amending first paragraph filed              the department or its staff that the inmate or parolee can demon-
     3-1 I -2013 pursuant to section 100, title ],California Code of Reg-        strate as having a material adverse effect upon his or her health,
     ulations (Register 2013, No. I1).                                           safety, or welfare.
                                                                                   (b) Unless otherwise stated in these regulations, all appeals are
3083. Court Hearing on Inmate's Children.
                                                                                 subject to a third level of review, as described in section 3084.7, be-
  Upon a court order, inmates will be released to the custody of the             fore administrative remedies are deemed exhausted. All lower level
sheriff for appearance in court in actions concerning termination                reviews are subject to modification at the third level of revie~~~. Ad-
of parental rights of an inmate or other parental or marital rights.             ministrative reiroedies shall not be considered exhausted relative to
HISTORY:                                                                         any new issue, information, or person later named by the appellant
  1. Editorial correction of printing error (Register 92, No. 5).                that was not included in the originally sobmit[ed CDCR Form 602

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                                               DEPARTNIEVT OF CORRECTIONS AND REHABILIT;aTIOti                                               TITLE 15
     3084.2

   (Rev. 08/09), Inmate/Parolee Appeal, which is incorporated by ref-               12. Certificate of Compliance as to 12-13-2010 order, including
                                                                                        amendment of Note, transmitted to OAL 6-IS-2011 and filed
   erence, and addressed through all required levels of administrative
                                                                                        7-28-2011 (Register2011, No. 30).
   review up to and indudinQ the third level In addition, a cancella-
   tion or rejection decision does not exhaust administrative remedies.            3084.2. Appeal Preparation and Submittal.
    (c) Department staff shall ensure that inmas_es and parolees, in-                (a) The appellant sha11 use a CDCR Form 602 (Rev. 08/09), In-
   cludino those who have difficulties communicating, are provided                 mate/Parolee Appeal, to describe the specific issue under appeal
   equal access [o the appeals process and the timely assistance neces-            and the relief requested. A CDCR Form 602-A (08/09), Inmate/
   sary to participate throughout the appeal process.                              Parolee Appeal Form Attachment, which is incorporated by refer-
     (dj No reprisal shall be taken against an inmate or parolee for fil-          ence, shall be used if additional space is needed to describe the
   ing an appeal. This shall not prohibit appeal restrictions a~ain~[ an           issue under appeal or the relief requested.
   inmate or parolee abusing the appeal process as defined in section
                                                                                     (1) The inmate or parolee is limited to one iss~ie or related set of
   3084.4, nor shall it prohibit the pursuit of disciplinary sanctions for
                                                                                   issues per each Inmate/Parolee Appeal form submitted. The inmate
 -violation of department rules.
                                                                                   or parolee shall not combine unrelated issues on a single appeal
~" (e) The department shall ensure that its departmental appeal
                                                                                   form for the purpose of circumventing appeal ftling requirements.
  Corms for appeal of decisions, actions, or policies within its juris-
                                                                                   Filings of appeals combining unrelated issues shall be rejected and
  diction are readily available to all inmates and parolees.
                                                                                   returned to the appellant by the appeals coordinator with an ex-
   (~ An inmate or parolee has the right to file one appeal every
                                                                                   planation that the issues are deemed unrelated and may only be
  14 calendar days unless the appeal is accepted as an emergency
                                                                                   submitted separately.
  appeal. The 14 calendar day period shall commence on the day fol-
                                                                                    (2) The i~maCe or parolee is limited to the space provided on Che
    lowing Che appellant's last accepted appeal.
     (g) An appellant shall adhere to appeal filing time constraints as
                                                                                   Inina[e/Parolee Appeal form and one Inmate/Parolee Appeal Form
    defined in section 3084.8.
                                                                                   Attachment to describe the specific issue and action requested. The
                                                                                   appeal content must be printed legibly in ink or typed on the lines
    NOTE: Authority cited: Section 5058, Penal Code. Reference: Sec-
                                                                                   provided on the appeal forms in no smaller than a l2-point font.
    tion 504, Penal Code; Civil Rights of Institutionalized Persons Act;
    Title 42 U.S.C. Section 1997 et seq., Public Law 96-247, 94 Stat. 349;
                                                                                   There shall be only one line of text on each line provided on these
    Section 35.107, Title 28, Code of Federal Regulations; and Wolff v. Mc-        forms.
    Donr~ell (1974) X118 U.S. 539, 558-560.                                          (3) The inmate or paro]ee shall list all staff meinber(sj involved
    HISTORY:
                                                                                   and shall describe their involvement in the issue. To assist in the
      1. New section filed 5-13-89 as an emergency; operative 5-18-89              identification of staff members, the inmate or parolee shall include
        (Register 89, No. 21). A Certifica~e of Compliance must be trans-          the staff member's last name, first initial, title or position, if known,
         mitted to OAL within 120 days or emergency language will be               and the dates of the staff member's involvement in the issue un-
         repealed on 9-15-89. For prior history, see section 3003.                 der appeal. If the inmate or parolee does not have the requested
      2. Certifica~e of Compliance as to 5-18-89 order including a clarify-        identifyinc information about the staff member(s), he or she shall
         in~ change of subsection (b) transmitted to OAL 9-7-89 and filed
                                                                                   provide any other available information that would assist the ap-
         10-10-89 (Register 89, No. 41).
                                                                                   peals coordinator in making a reasonable attempt to identity the
      3. Amendment of subsection (a) filed 1-16-92; operative 2-17-92
        (Register 92, No. 13).                                                     staff members)in question.
      4. Amendment of subsections (a) and (d), new subsection (e), and               (4) The inmate or parolee shall state all facts known and avail-
         amendment of Note filed 1~-23-96 as an emer~e~cy; operative               able t~,hin~/her regarding the issue being appealed at the tune of
         12-23-96 (Register 96, No. 52). Pursuant to Pena] Code section            submitting the Inmate/Parolee Appeal form, and if needed, the In-
         5058(e), a Certificate of Compliance must be transmitted to OAL           mate/Parolee Appeal Fonn Attachment.
         by 6-2-97, or emergency language will be repealed by operation of
                                                                                     (b) The inmate or parolee shall submit the signed original ap-
         law on the following day.
      5. Amendment of subsections (a) and (d), new subsection (e), and
                                                                                   peal forms and supportin; documents.If originals are not available,
         amendment of Note refiled 5-29-97 as an emergency; operative              copies may be submitted with an explanation why the originals are
         6-2-97 (Register 97, No. ?2). A Certificate of Compliance must            not available. The appeals coordinator shall have the discretion to
         be transmitted to OAL by 9-30-97 or emergency language will be            request that any submitted copy is verified by staff.
         repealed by operation of law on the following day.                          (1) Only supporting documents, as defined in subsection
      6. Editorial correction of History 5 (Register 97, No. 24).                  3084(h), necessary to clarify the appeal shall be attached to the
      7. Certificate of Compliance as to 5-29-97 order, including amend-            appeal. Attachments shall not raise new issues, but shall only serve
         ment of subsections (a) and (e), transmitted to OAL 9-25-97 and
         filed 11-7-97 (Register 97, No. 45).                                      to clarify the present appeal issue and actions) requested as stated
      3. Amendment of subsection(c)filed 9-13-2005; operative 9-13-2005            in Parts A and B of the Inmate/Parolee Appeal form. New issues
         pursuart to Government Code section ll343.G (Register 2005,               raised in the supporting documents shall not be addressed and any
         No. 37).                                                                  decision rendered will pertain only to the present appeal iss~ie and
      9. Amendment of subsection (e) and amendment of Note filed                    requested action(s).
          1 1-3-2006 as an emercency; operative 11-3-2006 (Register ?006,            (2) Inmates or parolees shall submit their appeal documents in
         No. 44). Pursuant to Penal Code section 5058.3, a Certificate of
                                                                                    a single mailing and shall not divide their appeal documents into
         Compliance must be transmitted to OAL by 4-12-2007 or emer-
         ~ency lan~ua~e will be repealed by operation of law on the follow-         separate mailings.
         ing day.                                                                    (3) Inmates or parolees shall not deface or attach dividers or tabs
     10. Certificate of Compliance as to L1-3-?006 order transmitted to            to their appeal forms.
         OAL 3-L-2007 and filed 4-19-2007 (Register 2007, lVo. l6).                  (4) Inmates orparolees shall not contaminate or attach physicaU
     1 L Amendment of section and Note filed 12-13-2010 as an emer-                organic objects or samples to their appeal documents. Examples of
         gency; operative L-28-201 I (Register 201Q No. 51). Pursuant to           these objects or samples include, but are not limited to, food, cloth-
         Penal Code section 5058.3, a Certificate of Compliance must be
          transmitted to OAL by 7-7-2011 or emergency language will be
                                                                                   ing, razor blades, books, magazines, tape, string, hair, blood. and/or
         repealed by operation of law on the following day.                        bodily fluids/excrement.

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                                                                                                       ILITATION
                                                                                                                                                            § 3084.2
                                                 DEPARTMENT OF CORRECTIONS AND REHAB
TITLE 15
                                                                                                                                                        dual appeals on
                                                        bed in section 3084.7          who sinned the appeal attachment to submit indivi
  (c} First and second level appeals as descri                                         their separate issues.
                                         coordi   nator   at [he institution or
shall be submitted to the appeals                                                         (5) Every inmate or parolee who signs
                                                                                                                                            a group appeal is ineli-
parole region tior proces sing.                                                                            a        te  appeal  on  the  same    issue.
                                                                                       gible to submi    t   separa
                                                     response. the appellant
  (dj If dissatisfied with the second level                                               (6) A Qroup appeal counts toward each
                                                                                                                                                appellant's allowable
                                            level   review   , as described in
may submit the appeal for ~ third                                                      number of appeals filed in a 14 calendar
                                                                                                                                          day period.
                              that  the   time   limits   pursua    nt to section                                                            When multiple appeals
section 3084.7, pro~~ided                                                                 (i)   Multip le  appeal s  of  the same    issue.
                                                  the appeal     and   supporting                                                             parolee on an identical
3084.8 are met. The appellant shall mail                                               are received from more than one          inmat   e or
                                               Chief    via  the   United   States                                                               processed. However,
documents to the third level Appeals                                                   issue, each such      appeal   shall  be indivi  dually
                                 her  own    funds,    unless    the  appell ant is                                                        to the   multiple appeal is-
mail service utilizing his ar                                                           if other issues in addition or extraneous
                     case  the  mailin   g of   appeal  s to  the   third level of                                            ted appeal  , this  partic  ular complaint
indieent in which                                                                       sue are contained in the submit
                                                   with indigent mail provi-                                                                    but   will be subject to
review shall be processed in accordance                                                 shall not   be  proces  sed  as a  multip le  appeal  ,
                                                                                                                                            .
 sions pursuant to section 3138.                                                        processing as a separate, individual appeal
                                                       processed as an emer-                                                                  as needed for clarifica-
   (e) If the appeal has been accepted and                                                 (1) The oi7~in    a1 inmat  e  or parole  e, and
                                                   a third level review, the                                                              inmates or parolees, shall
 gency appeal and the appellant wishes                                                   tion  of issues , one  or  more   of the  other
                                           to  she  appeals coordinator who
 appellant must forward the appeal                                                       be interviewed.
                                                    level Appeals Chief. The                                                                    an appeal response. A
 shall electronically transm  it it to the  third                                          (2) The appellant shall be provided with
                                              within five working days.                                                                   nse  indica   ting that the ap-
 third level review shall be completed                                                   statement shall be included in the respo
                                        other    person may assist another                                               as  one  of  multip  le  identi cal appeals for
   (~ An inmate or parolee or                                                            peal has been designated
                            prepar  ation   of   an appeal unless the act of                         g purpos  es and   the same    respo  nse  is being distributed to
 inmate or parolee with                                                                  processin
                                                      unmanageable situation
 providing such assistance would create an                                               each appellant.
                                              contra  ry to the principles set                                                                       Reference: Sections
 including but not limited to: acting                                                    NOTE: Authority cited: Section 5058,Penal Code.
                                3270,   allowi    ng one   offender to exercise                                                Civil  Rights   of  Ins4tu  [ionalized Per-
 forth in sections 3163 and                                                              832.5(a) and 5054, Penal Code;
                                                              require an offend-                                                                 Public Law 96-247, 94
  unlawful influe nce/as  sume  contro   l over   anothe  r,                             sons Act; Tide 42 U.S.C. Section ]997 et seq.,
                                                                                                                                              of Federal Regulations.
  er to access unauthorized areas or areas
                                                     which     would require an           Stat. 349; and Section 35.107, Title 28, Code
                                 or  non-p    erfor  mance    in   assigned work
  escort, or cause avoidance                                                            HISTORY:
                                                               not  give any form                                                            ency; operative 5-18-89
  and program activit  ies. Inmat  es  ar  parole  es  shall                              1. New section filed 5-18-89 as an emerg
                                                      or  receiv   e  any form of                           No.  21). A   Certifi cate  of Compl    iance must be trans-
  of compensation for receiving assistance                                                  (Register 89,
                                                                                                                               days  or  emerg   ency   language will be
                                           prepar  ation   of   anothe  r's appeal.          mitted to OAL within 120
  compensation for assisting in Che
                                compe   nsati   on  is consid    ered  misconduct            repealed on 9-15-89.
  The giving or receiv  ing  of                                                                                                              order transmitted to OAL
                                                                                          2. CeRificate of Compliance as to 5-18-89
  and is subject to disciplinary action.                                                     9-7-89 and filed ]0-10-89(Register 89, No.
                                                                                                                                                   41).
                                                      t an appeal on behalf of                                                                            operative 5-6-92
    (g) An inmate or pu~olee shall not submi                                              3. New subsec   tion (g) file d 5-6-92   as an  emerg   ency;
                                                                                                                       A  Certifi  cate of Compl    iance   must be trans-
 another person.                                                                            (Register 92, No. 19).
                                                     s/parolees intend to ap-                                                            langua    ge  will be repealed by
   (h) Group appeal If a group of inmate                                                      mitted to OAL 9-3-92 or emergency
                                                     or  omission affecting all              operation of law on the following day.
 peal apolicy, decision, action, condition                                                                                                            transmitted to OAL
                                  CDCR      Farm     602.   Inmate/Parolee Ap-            4. Certificate of Compliance as to 5-6-92 order
 members of the group, one                                                                                                                  No. 4]).
                              descri  binc  [he    appeal    issues) and action              8-31-92 and filed 10-7-92 (Register 92,
 peal, shall be   submit ted                                                                                                                   filed 4-7-95 as an emer-
                                                       602-G (08/09), Inmate/             5. Amendment of subsection (a) and Note
 requested, accompanied by a CDCR Form                                                        aency pursuant to Penal Code           sectio n   5058; operative 4-7-95
                                       is incorp   orated    by reference, with                                                                      iance must be trai~s-
 Parolee Group Appeal, ~~Ilich                                                              (Register 95, No. 14). A Certificate of Compl
                      depart  mental   identi  ficati  on  numbe  r, assignment,                      to OAL   by 9-14-9   5 or emerg   ency  langua    ge will be repealed
 the legible name,                                                                            mitted
                                                      or parole who prepared
                                                                 e                            by operation of law   on   the  follow ing  day.
 housing, and dated signature of the inmate                                                                                                           transmitted to OAL
 the appeal. Each page of the CDCR            Form     602-G must contain Che             6. Certificate of Compliance as to 4-7-95 order
                                                                                                        and filed 7-25-9  5  (Regis ter  95, No,    30).
                                 ted,  and   a  statem    ent that all the under-             6-26-95
 appeal issue, action reques                                                                                                                       . (c) and (f)(]j filed
                                   issue/  action    reques  ted.                          7.Amendment of subsections (a)(1), (a)(2)
 signed agree    with the  appeal                                                                                                                        96 (Register 96,
                                                           inmates/parolees, de-               1 2-23-96 as an emergency; operative 12-23-
    (]) The legible names of the participating                                                                  nt to Penal    Code   sectio n  5058(e   ), a Certificate of
                                                                                              No. 52). Pursua
                                                     ments, housing, and dated                                                                  by  6-2-97  , or emergency
  partmental identification numbers, assign                                                   Compliance must be transm        itted to  OAL
                                                      provided on the Inmate/                                                                       law on the following
  si~nat~~res shall  be includ  ed in   thesp   ace                                            language will be repealed by operation of
                                                        signature pale shall be                 day.
 Parolee Group Appeal form and no other                                                                                                            , (c) and (fl(]) refi]ed
                                     nator.                                                 8. Amendment of subsections (a)(]), (a)(2)
  accepted by the appeals coordi                                                                                                                    (ReLister 97, No. 22).
                                                         appeal shall be respon-                5-29-97 as an emergency; operative 6-2-97
    (2) The inmate or parolee submitting the                                                   .4 Certifi  cate of   Compl  iance   mus[    be   tran smitted to OAL by
                                                 with the inmates or parolees                                                                            ed by operation of
  sible for shari~~ the appeal response                                                         9-30-97 or emergency       langua  ge  will  be  repeal
  who signed the appeal attach      ment.                                                       law`on the following day.
                                                      the appeal is transferred,            9. Editorial correction of History 8 (Register 97,
                                                                                                                                                        No. 24).
    (3) If the inmate or parolee submitting
                                                       raw from the group ap-                                                                  7 order, including amend-
  released, discharged, or requests to withd                                               10. Certificate of Coin~liance as l0 5-29-9
                                                                                                                                                         9-25-97 and filed
  peal,responses shall be directed to the         next   inmate or parolee listed               ment of subsection (c), transmitted to OAL
                                                ns. at   the facility/region, and                1 1-7-97 (Regis ter 97,  No.  45).
  on the appeal attachment       ~~ho   remai
                                                                                                                                                     and new section and
                                 for  sharin   g  the  respo   nse with the other          l 1. Amendment of section heading, repealer
   wbo shall be    respon sible
                                                                                                amend   ment  of  Note  filed  12-13-  2010   as  an  emergency; operative
                                                         .                                                                                              to Penal Code sec-
   inmates or parolees identified on the appeal                                                  1 -28-20] 1 (Register   2010.   No.  51).  Pursua   nt
                                                       processed as a group ap-                                                                            be transmitted to
     (~j An appeal shall not be accepted or                                                     tiun 5058.3, a Certificate of Compliance must
                                                               se to a specific set                                                                 will be repealed by op-
   peal if the matter  under  appeal    requir  es  a respon                                     OAL by 7-7-20] 1 or emergency language
                                                           aint appeals) that are                eration of law on the following day.
   of facts ('such as disciplinary and stafif compl                                                                                                         order, includinv
   not the same for all participants       in   the   appea   l [n such case, the           I?. Certificate of Compliance as ro 12-13-?OJO
                                                                                                        ment   of subsec  tions  (b), (e) —(f)  and   (h~(6) , transmitted to
                             screen  ed   out  and   return   ed to the inmate or                amend
   group appeal shall be                                                                         OAL 6-15-201 1    and   file d7-28 -20]  1 (Rea    step 30]  7, No. 30j.
                                                         c~ns to advise all those
   parolee submittinc the appe~~ with direeu
                                                                                      73
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                                          DEPARTMENT OF CORRECTIONS AND REHABILITATION                                                TITLE 15
§ 3084.3
3084.3. Supporting Documents.                                                   (1) The submittal of more than one appeal for initial review
                                                                              within a 14 calendar clay period is considered excessive, unless the.
  (a) An inmate or parolee shall obtain and attach all suppor[-
                                                                              i nmate or parolee is submitting an emergency appeal.
ina documents, as described in section 308a(h). necessary for the
                                                                                (2) The repeated filing of appeals that have been cancelled pur-
clarification and/or resolution of his or her appeal issue prior to
                                                                              suant to subsection 3084.6(c).
slibmittino the appeal to the appeals coordinator.
                                                                                 (3) The appeal submission contains information the appellant
   (bj The innate or parolee shall not delay s~ibmit[in~ an appeal
                                                                              knows to be faEse or consists of a deliberate attempt at distorting
 within time limits established in section 3034.8 if unable to obtain
                                                                              the facts.
supporting documents,-but shall submit the a~pe~l with all avail-
                                                                                (~) The appeal contains threatening, grossly derogatory, slander-
 able supporting documents and in Part B of their CDCR Form 602
                                                                              ous or obscene statements and/or organic contamination is included
(Rev. 08/09), Inmate/Parolee Appeal, provide an explanation why
                                                                              in or makes up any part of the appeal package.
 any remaining supporting documents are not available. Time limits
                                                                                (S) The description of the problem and/or requested action
for filing an appeal are not stayed by fuifiure to obtain supporting
                                                                              deliberately exceeds the space provided on the 602 forms or the
documentation and commence as set forth in subsection 3084.8(b).
                                                                              appeal is intentionally filed contrary to instructions.
   (cj Failure to attach X11 necessary supporting documents may                 (b) When an inmate or parolee submits appeals as described
 result in the appeal being rejected as specified in subsection               above in subsections 3084.4(a)(1)—(aj(5):
3084.6(b)(7). The appeals coordinator shall inform the inmate or                (1) The first appeal received shall be screened for routine
parolee that the appeal is rejected because necessary supporting              processing.
 documents are missine. The appellant shall be allowed an addition-             (2) All subsequent non-emergency appeals submitted by that in-
 al 30 calendar days to secure any missing supporting documents               dividual shall be screened and the appeals coordinator shall begin
 and resubmit the appeal.                                                     documenting anv abuse as evidenced by the screeninc results.
  (dj The appeals coordinator may grant additional time exten-                  (c) If an inmate or parolee persists in submitting excessive, de-
 sions beyond the initial 30 calendar day extension if the inmate or          monstrably false, noncompliant or abusive appeals, as described in
 parolee submits a reasonable explanation of why the supporting               subsection 3084.4(a), he or she shall receive a warning letter from
 documents still are not available.                                           the appeals coordinator that will document the history and nature
 NOTE: Authority cited: Section 5058, Penal Code. Reference: Section          of appeal system abuse.
 504,Penal Code.                                                                (d) If the abuse of process continues after the issuance of a warn-
HISTORY:                                                                      ing letter, the appeals coordinator shall meet with the inmate or
  L New sectio❑ filed 5-18-89 as an emergency; operative 5-18-89              parolee in a timely manner before imposition of any restriction to
   (Register 89, No. ? L ). A Certificate of Compliance must be trans-        provide instruction for the appropriate use of the appeals process
     mitted to OAL within l20 days or emergency language will be              and to rule out any unintended basis for non-compliance. If a face-
     repealed on 9-15-89.                                                     to-face meeting is not possible, an agent acting on behalf of the
  2. Certificate of Compliance as to 5-18-89 order transmitted to OAL         appeals coordinator shall conduct the meeting.
     9-7-89 and filed LO-10-89 (Register 89, No. 41).                           (e) Excessive, demonstrably false, noncompliant or abusive ap-
  3. Amendment of subsection (b)and new subsections (b)(1}-(2) filed          peals, as described in subsection 3084.4(a), submitted by an inmate
     5-6-9'_ as an emereency; operative 5-6-92(Register 92, No. 19). A        or parolee after the issuance of a warning letter, pursuant to subsec-
     Certificate of Compliance must be transmitted to OAL 9-3-92 or           tion 308~.4(c) above, shall be screened by the appeals coordinator
     emer,ency lan~uaoe will be repealed by operation of law on she
                                                                              to ensure they do not contain qualifying emergency issues.
    following day.
                                                                                (1) If the appeal contains emergency issues, as described in sub-
  4. Certiftcate of Compliance as to 5-6-93 order transmitted to OAL
     8-31-92 and filed 10-7-92 (Register 92, No. 41).                         section 30849(a}(1), it shall be processed as an emergency appeal.
  5. Amendment of subsection (aj filed 12-23-96 as an emergency; op-            (2) If no such issue is determined to be present, the appeal shall
     erative 12-23-96 (Register 96, No. 52). Pursuant to Penal Code            be retained by the appeals coordinator pending placement of the
     section 5058(e), a Certificate of Compliance must be transmitted          appellant on appeal restriction by the third level Appeals Chief. The
     to OAL by 6-2-97. or emergency language will be repealed by               appellant shall be informed in writing why the appeal constitutes
     operation of law on the followins day.                                    abuse of the appeal process and informed that appeal processing
  6. Amendment of subsection (a) refiled 5-29-97 as an emer;ency;              has been suspended pending determination of appeal restriction
     operative 6-2-97 (Register 97, No. 22). A Certificate of Compli-          status.
     ance must be transmitted to OAL by 9-30-97 or emergency lan-
                                                                                (fl If the appeal abuse conrinues after the issuance of a warn-
     guase will be repealed by operation of law on the following day.
                                                                               ing letter and aface-to-face meeting, the request for placeme~C
  7. Editorial correction of History 6 (Register 97, No. 2d).
                                                                               on restriction shall be referred [o Che third level Appeals Chief for
  8. Certificate of Compliance as to 5-29-97 order transmitted to OAL
     9-2~-97 and filed 11-7-97 (Register 97, No. 45).                         approval
  9. Repealer and new section heading and section and amendment                 (~) Upon confirmation of continued abuse and verification that
     of Note filed 12-13-2010 as an emergency; operative 1-28-2011            a face-to-face interview and warning letter have occurred, the third
    (Register ?010. No. 51). Pursuant to Penal Code sectio❑ 50583,            level Appeals Chief shall have the discretion to authorize preparn-
     a Certificate of Compliance must be transmitted to OAL by                [ion of a notice by the Appeals Coordinator restricting the inmate or
     7-7-2011 or emergency lan~uaQe will be repealed by operation of          parolee to one non-emergency appeal every 30 calendar days for a
     law on the followin, day.                                                period of one year. Any subsequent violation of the appeal re.stric-
 l0. Certificate of Compliance as [0 12-13-2010 order, including              tion shall result in an extension of the restriction for an additional
     amendment of subsection (b), transmiCted ro OAL 6-15-201 l and
                                                                              one-year period upon approval by the third level Appeals Chief.
     filed 7-?8-201 l (Register 301 I. No. 30).
                                                                                (h) If the third level Appeals Chief makes a decision not to place
 3084.x. Appeal System Abuse.                                                 the inmate or parolee on appeal restriction, any appeal submitted by
  (a) The following ~e deemed nususe or_ abuse of the appeals                  the inmate or parolee and retained pursuant [o subsection X08-1.4(e)
 process and may lead to appeal restriction as described in subsec-           (2) shall be returned to [he inmate or parolee who may then resub-
 tion 308=3.4(x).                                                              mit areturned appeal if he or she desires to do so. Resubmitted

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TITLE 15                                     DEPARTMENT OF CORRECTIONS AND REHABILITATION                                                      § 3084.6
appeals are not exempt from the standard submittal requirements                  (A) Processed as a routine appeal but not as a staff complaint.
set forth in this Article, except that the appellant's original submit-           ~B) Processed as a staff complaint appeal inquiry.
tal date of the appeal may ser~~e to satisfy filing tine requirements.           (C) Referred to Internal Affairs for an investigation inquiry.
 NOTE: Authority cited: Section 5058, Penal Code. Reference: Sections
                                                                                 (5) If an appeal classified as a staff complaint includes other
 148.6(x), 832.5(cj and 5054, Penal Code.                                       non-related issue(s), the provisions of 30849(1)(2) shall apply.
HISTORY:                                                                        NOTE: Authoriry cited: Section 5058, penal Code. Reference: Sections
  I. New sec[ion filed 5-18-89 as an emergency', operative 5-]8-$9              832.5, 832.7, 832.8. 5054 and 5058.4(x), Penal Code; Americans With
   (Register 89, Ago. 21). A Certificate of Compliance must be trans-           Disabilities Act, Public Law ]O1-336, July 26, 1990, 104 Stat 328:
     mitted to OAL within l20 days or emergency language will he                Civil Rights of Institutionalized Persons Act; Title 42 U.S.C. Section
     repealed on 9-15-~59.                                                      1997 et seq.,Public Law 96-247,94 Stat. 349; and Section 35.107, Title
 2. Certificate of Compliance as to 5-18-89 order including a clarify-          28, Code of Federal Regulations.
     ine change of subsections (a) and (b) transmitted to OAL 9-7-89            HISTORY:
     and filed 10-]0-89 (Register 89, No. 41).
                                                                                    1. New section filed 5-18-89 as an emergency; operative 5-18-89
 3. Amendment of subsections (a), (a)(1) and (a)(3), repealer and
                                                                                      (Register 89, No. 2]). A Certificate of Compliance must be tra~s-
     new subsection (a)(4j. and amendment of subsections (b) and (d)
                                                                                       mitted to OAL within ]20 days or emergency language will be
     filed 12-23-96 as an emergency; operative 12-23-96 (Register 96,
    I~To. 5~'). Pursuant to Penal Code section 5058(e), a Certificate of
                                                                                       repealed on 9-15-89. For prior history, see section 3003(x) and (b).
     Compliance must be transmitted to OAL by 6-2-97, or emergency                 2. Certificate of Compliance as to 5-18-89 order includin~amend-
     language will be repealed by operation of law on tl~e following                   ment of subsections (a) and (~) transmitted to OAL 9-7-89 and
     day.                                                                              filed 10-10-89 (Register 89, No. 41).
 4. Amendment of subsections (a), (a)(1) and (a}(3), repealer and                  3. New subsection (a)(3)(Fj, amendment of subsection (b). new sub-
     new subsection (a)(4), and ameud~n~nt of subsections (b) and (d)                  sections (g) and (h), and reletterin~ of subsection (g) to (i) filed
     refiled 5-29-97 as an emergency; operative 6-2-97 (Register 97,                   5-6-92 as an emea~~ency; operative 5-6-92 (Register 92, No. 19). A
     No. 22). A Certificaie of Compliance must he transmitted to OAL                   Certificate of Compliance must be transmitted to OAL 9-3-92 or
     by 9-30-97 or emergenc}~ ]anguaae will be repealed by operation                   emergency language will be repealed by operation of law on the
    of law on the followins day.                                                      follow~ino day.
 5. Editorial correction of History 4 (RecisCer 97. No. 24).                       4. Certificate of Compliance as to 5-6-92 order transmitted to OAL
 6. Certificate of Compliance as to 5-29-97 order, including amend-                    8-31-92 and filed 10-7-92 (Register 92. No, 4l).
     ment of subsection (d), transmitted to OAL 9-25-97 and filed                  5. New subsection (a)(3}(G) filed 2-]-93 as an emergency; opera-
     7 1-7-97 (Register 97, No. ~5).                                                   Cive 2-1-93 (Register 93, No. 6). A Certificate of Compliance must
 7. Repealer and ne~~ section and amendment of Note filed 12-13-20]0                   be transmitted to OAL 6-1-93 or emergency ]an~uage will be re-
    as an emergency; operative 1-28- 011 (Register ?010. No. S]).                      pealed by operation of law on the following day.
    Pursuant to Penal Code section 5058.3. a Certificate of Compli-                6. Certificate of Compliance as to 2-1-93 order transmitted ~to OAL
    ance mint be transmitted to OAL by 7-7-2011 or emergency lan-                     5-?0-93 and filed 6-8-93 (Register 93, No. 24).
    gaage will be repealed by operation ~f law on the follow°ink day.
                                                                                   7. New subsection (a)(3)(Hj and amendment of Note filed 4-7-95
 8. Certificate of Compliance as [n 1?.-73-'?O10 order, including
                                                                                       as an emergency pursuant to Penal Code section 5058: operative
    amendment of subsection (a)(3). transmitted to OAL 6-15-2011
                                                                                      4-7-95 (Resister 95. No. 14). A Certificate of Compliance must
    and filed 7-'?8-?O] 1 (Register 20ll, Nn. 30).
                                                                                       be tra~smi[[ed to OAL by 9-]4-95 or emerbency language will be
3084.5. Screening and Managing Appeals.                                               repealed by operation of law on the following day.
  (a) Each institution head and parole region administrator shall                  8. New subsection (b)(4) filed 5-5-95; operative 6-5-9~ (Register 95.
                                                                                       No. 18).
designate an appeals coordinator at a staff position level no less
                                                                                   9. Certificate of Compliance as to 4-7-95 order transmitted to OAL
than a Correctional Counselor II or Parole Arent II.
                                                                                      6-26-95 and filed 7-25-95 (Register 95, No. 30).
  (b) The appeals coordinator or a delegated staff member under
                                                                                 10. Amendment of subsections (c), (d) and (e)(1) filed 1?-23-96 as
the direct oversight of Che coordinator shall screen all appeals prior
                                                                                      an emergency; operative 12-23-96 (Register 96. No. 52). Pursuant
to acceptance and assignment for reeiew.                                              to Penal Code section 5058(ej, a Certificate of Compliance must
 (I) When an appeal indicates the inmate or parolee has difficulty                    be transmitted to OAL by 6-2-97, or emerae~cy language will be
describing the problem in writing or has a primary language other                     repealed by operation of law on die following day.
than English, the appeals coordinator shall ensure that the inmate               1 1. Amendment of subsections (c), (d) and (e)(1) refiled 5-29-97 as
or parolee receives assistance in completing and/or clarifying the                    an emergency; ope,atiti~e 6-2-97 (Register 97, No. 22). A Certifi-
appeal.                                                                               cate of Compliance must be transmitted to OAL by 9-30-97 or
 (2) When an appeal is received as an emer~enc}~ appeal that does                     emergency language will be repealed by operation of law on the
not meet the criteria for an emergency appeal as defined in subsec-                   following day.
tion 30849(aj, the appellant shall b~ notified that the appeal does              1 2. Editorial correction of History l ](Register 97, No. 24).
not meet the criteria for proces~tiin~ as an emergency appeal and has            1 3. Certificate of Compliance as to 5-29-97 order transmitted to OAL
been either accepted for regular processing or is rejected for tl~e
                                                                                      9-25=97 and filed 11-7-97 (Register 97. Nu. 45).
specific reasons) cited.
                                                                                 14. Repealer and new section heading and section and amendment
                                                                                      ofNote filed 12-]3-010 as an emergency; operative 1-28-201]
  (3) When an appeal is not accepted, the imnate or parolee shall
                                                                                     (Register 2010, No. 51). Pursuant [o Pena] Code section 5058.3,
be notified of the specific reasoi~(s) for the rejection or cancellation              a Certificate of Coinplia~ce must he transmitted to OAL by
of the appeal and of tl~e co~Tection(s) needed for the rejected appeal                7-7?01 ] or emergency language will be repealed by operation of
to be accepted.                                                                       law on the follou~ina da}~.
  (4j When an appeal is received that describes staff bel~a~ for or              I S. Certificate of Compliance as to 12-13-'010 order transmitted to
activity in violalioi~ of a law. re~u]ation. policy, or proced~ue or ap-              OAL 6-15-201 I and filed 7-28-201 ] (Register 2011, No. 30).
pears contrar}~ to an ethical or profcssion~~ standard that could be
considered misconduct as defined in subsection 30840), whether                  3084.6. Rejection, Cancellation, and Withdrawal Criteria.
such misconduct is specific2lly all~eed or not, the matter shall be              (a) Appeals may be rejected pw~suant Yo subsection 3084.6(b),
refen-ed purtivanr to subsection 30849(i)(])and (i)(3). to determine            or cancelled pursuant to subsection 30&4.6(c), as determined by the
w hether it shall be:                                                           appeals coordinator.

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    3Og4.G                                    DEPARTMENT OF CORRECTIOtiS AND REHABILITATION                                              TITLE 15
       (1) Unless the appeal is cancelled. the appeals coordinator shall           (15) The inmate or parolee has submitted the appeal for process-
     provide clear and sufficient instructions regarding f~irther aceions        in~ at xn inappropriate level bypussin~ required Lower levels) of
     the inmate or parolee must take to qualify the appzal for processing.       review, e.g., subinittin~ a❑ appeal a[ the third level prior to lower
       (2) An appeal that is rejected pursuant to subsection 3084.6(b)           level review.
     may later be accepted if the reason noted for the rejection is cor-           (16) The appeal issue or complaint emphasis has been changed
    rected and the appeal is returned by the'~inmate or parolee to the           at some point in the process to the extent that the issue is entirely
    appeals coordinator within 30 calendar days of rejection.                    new, and the required lower levels of review and assessment have
      (3) At the discretion of the appeals cq~rdinator or third level            Yhereby been circumvented.
    Appeals Chief, a cancelled appeal may later be accepted if a de-               (c) An appeal may be cancelled for any of the followine reasons,
    termination is made that cancellation was made in error or new               which include, but are not limited to:
    information is received which makes the appeal eligible for further            (1) The action or decision being appealed is not within the juris-
    review.                                                                      dictio~ of the department.
      (4) Under exceptional circumstances any appeal may be accept-                (2) The appeal duplicates an inmate or parolee's previous appeal
   ed if the appeals coordinator or third level Appeals Chief conclude           upon which a decision has been rendered or is pending.
    that the appeal should be subject to further review. Such a conclu-            (3) The inmate or parolee continues to submit a rejected appeal
   sion shall be reached on the basis of compelling evidence or receipt          while disregarding appeal staff's previous instructions to correct
   of new information such as documentation from health care staff               the appeal including failure ro submit necessary supporting docu-
   that the inmate or parolee was medically ar mentally incapacitated            ments, unless the inmate or parolee provides in Part B of the CDCR
   and usable to file.                                                          Form 6U2 (Rev. 08/09), Inmate/Parolee Appeal, a reasonable ex-
      (5) Erroneous acceptance of an appeal at a lower level does not            planation of why the correction was not made or documents are
   preclude the next level of review from takine appropriate action,            not available.
   including rejection or cancellation of the appeal.                              (4) Time limits for submitting the appeal are exceeded even
      (b) An appeal may be rejected for any of the following reasons,           though the inmaCe or parolee had the opportunity ro submit within
   w hich include, but are not limited to                                       the prescribed time constraints. In determining whether the time
      (1) The appeal concerns an anticipated action ar decision.                limit has been exceeded, the appeals coordinator shall consider
      (2} The appellant has failed co demonstrate a material adverse            whether the issue being appealed occurred on a specific date or
   effect on his or her welfare as defined in subsection 3084(c).               is ongoing. If the issue is ongoing, which may include but is not
     (3j The inmate or parolee has exceeded the allowable number of             limited to, continuing lockdowns, retention in segregated housing,
   appeals filed in a 14 calendar day period pursuant to the provisions         or an onQoin~ program closure, the inmate or parolee may appeal
   of subsection 3084.10.                                                       any time durinff the duration of the event; however, the inmate or
      (4) The appeal contains tln~eatenin;, obscene, demeaning, or              parolee is precluded from filing another appeal on the same issue
  abusive language.                                                             unless a change in circumstances creates a new issue.
     (5) The inmate or parolee has attached more than one CDCR                    (5) The appeal is submitted on behalf of another person.
  Form 602-~ (08/09), Inmate/Parolee Appeal Form Attachment.                      (6) The issue is subject to a department director level review
     (6) The appeal makes a general allegation, but Fails to state facts       independent of the appeal process such as a Departmental Re-
  or specify an act ar decision consistent with the alleviation.               view Board decision, which is not appealable and concludes the
     (7) The appeal is missing necessary supporting documents as               appellant's deparm~ental administrative remedy pursuant to the
  established in section 3084.3.                                               provisions of section 3376.1.
     (8) The appeal involves miiltiple issues that do not derive from             (7) The appellant is deceased before the time limits for respond-
  a single event, or are not directly related and cannot be reasonably         ing to an appeal have expired and the appeal is not a group appeal.
  addressed in a single response due to this fact.                                (8) The appellant refuses to be interviewed or to cooperate with
    (9) The appeal issue is obscured by pointless verbiage or vo-              the reviewer.
  luminous unrelated documentation such that the reviewer cannot                  (A) The appellant's refusal to be interviewed or to cooperate
  be reasonably expected to identify the issue under appeal. In such           with the reviewer shall be clearly articulated in the cancellation
  case, the appeal shall be rejected unless the appellant is identified        notice.
  as requiring assistance in filing the appeal as described in subsec-            (B) If the appellant provides sufficient evidence to establish that
  tion 3084.1(c).                                                              the interviewer has a bias regarding the issue under appeal, the ap-
     (10) The inmate or parolee hits no[ submitted his/her appeal              peals coordinator shall assign another interviewer.
  printed legibly in ink or typed on the lines provided on the ap-                (9) The appeal is presented on behalf of a private citizen.
  peal forms in no smaller than a 12-point font or failed to submit               (10) F~ili~re to correct and ret~~rn a rejected appeal within 30 cal-
 an oricinal.                                                                 endar days of the rejection.
    (1 l) The appeal documentation is defaced or contaminated with               (l l) The issue under appeal has been resolved at a previous
  physical/organic objects or samples as described in subsection              level.
 3084.2(b)(4). Appeals submitted with hazardous or toxic material                (d) Group appeals shall not be cancelled at the request of the
 that present a threat to the safety and security of staff, inmates,          submitting individual ❑mess all of the inmate signatories are re-
 or the institution may subject the appellant to disciplinary action          leased, transferred, or agree to withdraw the appeal.
 and/or criminal chac~es commensurate with the specific act.                     (e) Once cancelled, an appeal shall not be accepted except pur-
    (12j The appellant has attached dividers or tabs to the appeal            suan[ to subsection 3034.6(x)(3); however, the application of the
 forms and/or supportinv documents.                                           rules provided in subsection 308~1.6(c) to the cancelled appeal may
   (13) The appeal is incomplete; for example, the inmate or pa-              be separately appealed. If an appeal is cancelled at the third level of
 rolee has not provided a signature and/or dote on the appeal forms           review, any appeal of the third level cancellation decision shall be
 in the desi;nated si~naCure/date blocks provided.                            made directly to the third level Appeals Chief.
   (1-~j The inmate or parolee h1s not s~ibulitte~l his/her appeal on             (t) An appeal may be withdrawn by the appellant by reques[-
 the departmentally approved appeal forms.                                    ing to have the processinv stopped at any point up to receiving a

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                                                                                                                                                             § 3084.7
                                                                                                   REHABILITATION
                                                   DEPARTA~ENT OF CORRECTIONS AND
TITLE 15
                                                                                                                                                Only Rules Violation
                                            withdrawal shall identify tl~e                 infrac~ions documented on the Counseling
signed response. TI1e request for the                                                                                                  , and   shall   exhaust adminis-
                                                of the CDCR Form 602,                      Report, pursuarn to section 3312(a)(2)
reason for the withdrawal in secti H     on
                                                                                           trative remedy on these    matte rs.
                         l and  shall be  sieve  d and dated by the appel-                                                             given a rating of other than
Inmate/Parolee Appea                                                                         (2) Movies/videos that have been
                                                   in writing at the time of
lant. if there is an agreed upon relief noted                                              "G", "PG", or "PG-13" by the            Moti  on Picture Association of
                                   not pro~~  ided  when and as promised,                                                                     al inmate viewing pur-
a withdrawal and the relief is                                                              America are not appro    ved  for  either  gener
                   to proei de the  agree d  upon   relief may be appealed                                                                within the classroom, and
 then the failure                                                                          suant to section 3220.4 or for viewing
                                                 Qrant  the promised relief.
 within 30 calendar days of the failure to                                                  will not be accepted for appeal at     any  level.  The first level shall be
                                l  does  not precl  ude  ftntl~er administra-                                                                       exclusion of a "G",
The withdrawal pf an appea                                                                  waived for appeals relat   ed to  the  selec tion  or
                                                the issue under appeal. A
 tive action by the department regarding                                                   "PG", or "PG-13" rated or non-rated movie
                                                                                                                                               /vide   o for viewing and
                                          retur ned  to the hiring authority
 withdrawn staff complaint shall be                                                         the second level response shall    const itute  the   depar  tment's final re-
                          furth er admin istra rive  actio n.
 to review for possible                                                                     sponse on appea  ls of this natur  e.
                                                  Code.   Refer ence: Sections                                                                   ls not resolved at the
 NOTE: Authority cited: Section 5058. Penal                       19583.5 and                  (c) The third level is for review of appea
                    Penal  Code;   Secti ons  19570  , 19575 .5.
 832.5 and 5054,                                                                            second level, or:
  19635, Government Code.                                                                                                                  ls alleged third level staff
                                                                                               (1) When the inmate or parolee appea
                                                                                                                                           llati   on decision or action.
 HISTORY:                                                                                    nvsconduct or appeals a third level cance
                                                           ency; operative 5-18-89                                                       iatri  c  transfers as provided
   I. New section filed 5-18-89 as an emerg                                                    (2) In the event of invol  untar  y psych
                                                   of   Compl   iance must be trans-
     (Register S9, No. 2]). A Certificate                                                   in subsection  3084. 9(b).
                  OAL    withi n   120    days  or  en~er    eency   language will be                                                       review.
      mitted   to                                                                              (d) Level of staff member conducting
      repealed on 9-]   5-89.                                                                                           shall  not  be  revie   wed and approved by a
                                                            order including ~nend-             (1) Appeal responses
   2. Certificate of Compliance as to 5-18-89
                  subse ction  (b)     tran, mitte d    to  OAL 9-7-89 and fled              staff person who:
      ment of                                                                                                                                ion being appealed. This
      10-10-89(Register 89,        No.   41).                                                  (A) Participated in the event or decis
                                                          repealer and new subsec-                                     invol  vemen  t  of  staff   who may have par-
   3. Amendment of subsections (b)(l?—(5).                                                   does not preclude the
                                                            s (b)(7) and (c), and re-                                                       appea   led,  so long as their
      tion (b)(6)(D),    amen dmen     t  of subse ction                                     ticipated in the event or decision being
                                        )  and (c)('   ) filed  ]2-23-96 as an emer-                                                 nse  is  neces  sary  in order to de-
      pealer of subsections (c)(1                                                             involvement with the appeal respo
                                                    96,   No.   52).  Pursuant to Penal                                                                   dy, and the staff
      gency; operative 12-23-96 (Register                                                     termine the facts or ro provi  de admin istra  tive   reme
                                             icate of    Compl   iance must be trans-
      Code   sectio n  5058( e),  a  Certif                                                                                                       r their involvement in
                                                           ]aneuage will be repealed          person is not the reviewing authority and/o
       mitted to OAL by 6-3-97, or emergency                                                                                         the  integr  ity or outcome of the
       by operation oY law on the       follo  wing   day.                                    the process will not compromise
                                                           repealer and new subseo-          process.
    4. Amendment of subsections (b)(1)—(5),                                                                                                         any participating staff.
                                        t of  subsec cioi~s   (b)(7) and (c), and re-          (B) Is of a lower administrative rank than
       tion (b)(6j(D), amendmen
                                               (c)(2  )  refire d 5-29-97 as an emer-                                              of  staff,   at  a lower level than the
       pealer of subsection (c)(1) and                                                       This does not preclude the use
             ;  opera tive 6-2-9    7 (Regi  ster   97.    No.   2?). A Certificate of                                 decis ions  are  being    appea  led, to research the
       gency                                                                                 staff whose actio   ns or
                            be trans    mitte d to O.AL     by  9-30-   97 or emergency
       Compliance must                                                     the following     appeal issue.
                                          by  opera tion    of   law   on
       lan~ua~e will be repealed                                                                                                           lower level appeal refired at
                                                                                                (C) Participated in the review of a
       day.
                                                              97, No. 24).                   a higher level
    5. Editorial connection of History 4(Register                                                                                                  cted by the hiring au-
              icate of  Compl  iance      as to 5-29-    97 order, including amend-            (2) Second le~~el review shall be condu
    6. Certif
                                                          filed ]1-7-97 (Register 97,                                           no  lower    than   Chief Deputy Warden,
        ment, transmitted to OAL 9-25-97 and                                                 thority or designee at a level
                                                                                                                                              or the equivalent.
        No. 45).                                                                             Deputy Regional Parole Administrator,
                                                             section and amendment                                                           s the decision of the Secre-
    7. Repealer and new section heading and                                                     (3) The third level review constitute
                             3-20]    0  as  an  emerg    ency;    operative 1-'~8-2011                                       tment   of Corre   ctions and Rehabilitation
        of Note filedl2-]                                                section 5058.3,      tary of the California Depar
                                        Pursu  ant  to   Penal    Code                                                                        a designated representative
       (Register ?010, No. 51).                                           d to OAL by         on an appeal, and shall be conducted by
                                                        he   trans  mitte
        a Certificate of Compliance mu~s[                                                                                                   Appea    ls Chief or equivalent.
                             ency     langu  age  will    be repea   led by operation of      under the supervision of the third level
        7-7-2011   or emerg                                                                                                        sts   admin  istra  tive remedies: how-
                                                                                              The third level of revie    w  exhau
        law on the followi~is day.                                                                                                             a finding previously made
                                                           -2010 order transmitted to         ever, phis does not preclude amending
     8. Certificate of Compliance as to I2-13
                     2011  and   file d  7-?8-  20]  1 (Regi  ster 2011, No. 30).             at the third level
        OAL 6-]5-
                                                                                                                                                   shall be conducted with
                                                     Disposition.                                (e) At least one face-to-face interview
   3084.7. Leiels of Appeal Reyiew and                                                                                                       w, or the second level if the
                                                                                              the appellant at the first level of revie
                               be  initia lly submi   tted and screened at [he                                                       anles  s:
     (aj All appeals shall                                                                     first level of review is bypassed,
                                                       The appeals coordinator                                                              view by initialing the appro-
   first level unless the first level is exempted.                                               (1) The appellant waives the inter
   may bypass the first level for. appea     l of:                                                                                         (Rev. 08/09), Inmate/Parolee
                                                                                               priate box on the CDCR Form 602
                                                  ation implemented by the                                                                   interview shall not preclude
      (1) A policy, procedure ar regul                                                         Appeal. An appellanC's waiver       of  the
   department.                                                                                                           an inter view   in  the   event of staff determina-
                                                                                               staff from conduccin~
                                                     d by the institution head.
      (2) A policy or procedure implemente                                                     tion that an interview is necessary.
                           canno  t  be  resol  ved  at the division head level                                                                  the appeal in its entirety.
      (3) An issue    that
                                                         nal Parole Administra-                   (2) The reviewer has decided to grant
   such as Associate Warden, Associate           Regio
                                                                                                                  l is ~ reque st for  a  Compu    tation Review Hearing,
                                                                                                  (3) The appea
                              or equiv alent  .                                                                                                   occur  at the second level
    tor, CALPIA manaser                                                                         in which case the initial interview shall
      (4j Serious disciplinary infi~actions.                                                    of review.
                                                    appeals denied or not other-                                                                       ution or parole region
      (b) The second level is for review of                                                       (4j The appellant is not present at the instit
                            appel lants   satisf  action  at the first level, or for
    wise resolved to tl~e                                                                       where the appeal was filed.
                                                      by  these regulations. The                                                             view with the appellant shall
    w hich the first level is ~ther~~~ise waived                                                  (Aj In such case, a telephone inter
                                           prior   to the  appellant hlin~ at the                                                               view. If the appeal concerns
    second leti~el shall he completed                                                            meet the requirem  ent of a perso  nal  inter
                         ibed  in  subse ction   3084.  7(c).                                                                                     view may be waived if the
    third level as descr                                                                        a disciplinary action, the telephone inter
                                                    constitute the department's                                                                        would not provide ad-
       (1) A second ]evEl of review shall                                                        appeals coordinator determines      an  inter  view
                                  disci plina  ry  actio ns classified as "admin-
    final action nn appeals of                                                                  ditional facts.
                                              3314, or oT minor disciplinary
     istrative" as described in section
                                                                                           77
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    3084.7                                   DEPARTMENT OF CORRECTiOhS AND REH~BILITAI'ION                                                TITLE' iJ

   (B) The response must note that[he interview was conducted by             Disabilities Act, Public La~v 101-336, July 26, 1990, 104 Stat. 328;
 telephone, explain the extraordinary circumstances that required it,        Civil Rights of Institi~tio~alized Persons Act; Title 42 U.S.C. Section
 and state why aface-to-face interview was not possible under the            1997 et seq., Public Law 96-247,94 Stat. 349; and Section 35.107, Title
                                                                             28, Code of Federal Regulations.
 circumstances.
  (C) If the appellant is not available for a telephone interview, the       HISTORY:
 reviewer may request that a suitable employee in the jurisdiction               I. New section filed 5-18-89 as an emer_ency; operative
 w here the appellant is located complete the interview and provide                 5- 18-89 (Register 89, No. 21). A Certificate of Compliance must
 a report.                                                                           be transmitted to OAL wi[hin 120 days or emergency Language
                                                j
                                                                                    will be repealed on 9-15-$9. For prior history', see section 3335(c).
  (fj An interview may be conducted at any subsequent level of
                                                                                2. Certificate of Compliance as to 5-18-89 order including amend-
   review when staff determine that the issue ❑der appeal requires                  ment of subsections (aj and (d) transmitted to OAL 9-7-89 and
  further clarification.                                                            filed 10-10-89 (Re~~ister 89, No. 41).
     (g) When a group or multiple appeal i~ received, one or more of             3. Editoria] correction of printing errors in subsections ft)(1)(B) and
  the participating inmates/parolees shall be interviewed to clarify              (~)(2)(Register 9? No. 5).
  the issue(s).                                                                 4. Amendment of subsection (e)(4) and new subsections (h)(3),
    (h) At the first and second level of review, the original appeal,             (i)(2)(c)1. and 2., and (k) filed 5-6-92 as an emergency; operative
  within the time limits provided in section 3084.8, shall be returned              5-6-93 (Register )2, No. 19). A Certificate of Compliance must
                                                                                    be transmitted Co OAL 9-3-92 or emergency language will be re-
  to the appellant with a written response to the appeal issue provid-
                                                                                    pealed by operation of law on the following day.
  ing the reasons)for each decision. Each response shall accurately             ~. Certificate of Compliance as to 5-6-92 order including amendment
  describe the matter under appeal and fully address the relief re-                of subsections (e)(d) and (i)(2)(C)1. transmitted to OAL 8-31-92
  quested. If the decision is a partial grant, the response shall clarify          and filed 10-7-9~ (Register 92, No. 4l ).
  for each requested action whether it is granted, granted in part, or          6. New subsection (1) and amendment of Note filed 4-7-9~ as an
  denied, and shall also state the action taken.                                   emergency pursuant to Pena] Code section 50 8; operative d-7-95
    (i) Modification orders issued by the institution, parole region,             (Register 9~, No. 14). A Certificate of Compliance must be trans-
  or by the third level of review shall be completed within 60 calen-               mitted to OAL by 9-14-95 or emer4ency language will be repealed
                                                                                   by operation of law on the following day.
  dar days of the appeal decision which determined the need for a
                                                                               7. Certificate of Compliance as to 4-7-95 order transmitted to OAL
  modification order. Reasonable documented proof of completion                    6-26-95 and filed 7-25-95 (Register 95, No. 30).
  of the modification order shall accompany the completed order, or             8. New subsections(m)—(m)(3)and amendment of Note filed 6-28-96
  a statement shall be added by the responder clarifying the action                as an emergency; operative 6-28-96 (Register 96, No. ?6). A Cer-
 taken and why documentation is not available.                                     tificate of Compliance must be transmitted to OAL by ]-6-97 or
    (t) If iC is not possible to comply with the modification order                emergency language will be repealed by operation of law on the
  within 60 calendar days, staff responsible for complying with the                following day.
  modification order shall advise the local appeals coordinator every          9. Editorial correction of subsection (m)(3)(Register 96, No. 51).
 30 calendar days of the reason for the delay and provide a projected        10. New subsections (m)—(m)(3) and amendment of Note refiled
                                                                                   12-19-96 as an emereency; operative 12-19-96 (Register 96.
 date of completion. If the modification order was imposed by the                  No. 51). Pursaant to Penal Code section 5058(e), a Certificate of
 third level of review, the local appeals coordinator shall notify the             Compliance must be transmitted to OAL by ~-23-97 or emergency
 third level Appeals Chief every 30 calendar days of the reason for               language will be repealed by operation of law on the following
 the delay and provide a projected date of completion.                             day.
   (2) When it is clear that the modification order cannot be com-           1 1. Repealer of subsection (a)(1)(D), amendment of subsec-
 pleted in the allotted time, the appeals coordinator shall advise the            tions (a)(2)(A), (b)(2). (d)(4), (d)(4)(A) and (e)(1), repealer
 appellant of the reason for the delay and the anticipated date of                of subsections (h) and (h)(1). renumbering of ofd subsections
                                                                                  3084.7(h)('_) and (h)(3) to new subsections 339L(b) and (c),
 completion. This process shall occur every 30 calendar days un-                  subsection relettering, and amendment of newly designated sub-
 til the modification order is completed. All time consCraints for                section (k) filed 1?-23-96 as ~n emer,ency; operative 12-23-96
 an appellant to submit an appeal to the next level are considered               (Register 96, No. 52). Pursuant to Penal Code section 5058(e), a
 postponed up to 120 days until the completion of a previous level                Certificate of Compliance must be transmitted to OAL by 6-2-97,
 modification order. Thereafter, the appellant must submit his/her                or emergency language will be repealed by operation of law on the
appeal to the next level within 30 calendar days of receiving the.                following day.
 modification order response.                                                l2. Certificate of Compliance as to 12-19-96 order. incorporating re-
                                                                                  lettering from 12-23-96 order and further amending section and
   (3) If the modification order is not completed after 120 calendar              Note, transmitted to OAL 4-14-97 and filed 5-23-97 (Register 97,
days of the issuance, the appellant may submit the appeal to the                  No. 21).
next level for administrative review within 30 calendar days.                1 3. Repealer of subsection (a)(I)(D), amendment of subsec-
  (4) If the appellant transfers prior to the completion of the modi-             tions (a)(2)(A), (b)(?), (d)(4), (d)(4)(A) and (e)(1), repealer
fication order, the originally assigned instit~ition or parole region             of subsections (h) and (h)(l), renumberine of old subsections
shall retain responsibility for completion of the modification order              3084.7(h)(2) and (h)(3) to new subsections 3391(b) and (c), sub-
as specified in subsection 308~.7(i), including cases where the re-               section reletterin~, and amendment of newly designated subsec-
                                                                                  tion (k) refiled 5-29-97 as an emergency; operative 6-2-97 (Regis-
ceivinginstitution or parole region provides the actual relief.                   ter 97, No. 22). A Certificate of Compliance must be transmiCted
  (5) In cases where a modification order is issued on an emeraen-                to OAL by 9-30-97 or emergency languace will be repealed by
cy appeal, the order shall specify the timeframe for the completion               operation of law on the followine day.
of the action granted. The appeals coordinator, if granted at the sec-       l ~. Editorial correction of subsection (j)(1) and History f3 (Register
ond level of review, and the third level Appeals Chief or designee, if           97. No. ?4).
granted at the third level of review, shall notify the hiring authority      1 5. Certificate of Compliance as to ~-29-97 order, includine amend-
by elecho~ic transmission of the emergency timeframe for comple-                  ment of s~bsec[ions (b)(2) and (k), transmitted to OAL 9-25-97
tion of the granted action.                                                       and filed 1 I-7-97 (Register 97, No. 45).
                                                                             16. New subsections (m)—(m)(4) and amendment of Note filed 9-13-
NOTE: Authority cited: Sections SOSg and 10006(6), Penal Code.                    200~; operative 9-13-200 pursuant to Government Code section
Reference: Sections ~OS~} and 10006(6), Penal Code; Americans With                1 13 3.4 (Resister 2005, No. 37).

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 TITLE 15 - -          -- - - ---- -          DEPARTMENT OF CORRECTIONS AND REHABILITATION                                                    §3084.9

  1 7. Repealer and new section heading and section and amendment                  NOTE: Authority cited: Section 5058. Penal Code. Reference: Section
       of Note filed 12-]3-2010 ati an eu~ergency; operative ]-28-2011             5054, Penal Code; Civil Rights of ]nslitutionalized Persons Act; Title
     (Register 2070, No. 51). Pursuant to Peua] Code section 5058.3,               42 U.S.C. Section 1997 et seq., Public La~v 96-247, 94 Stat. 349; and
       a Cerlificnte of Compliance must be transmitted to OAL by 7-7-              Section 35.]07, Title 28. Code of Federal Regulations.
       201 1 or emer,ency language will be repealed by operation of law            HISTORY':
       on the following day.                                                         1. New section filed 12-13-2010 as an emer,ency; operati~~e
  1 8. Certificate of Compliance as to 12-13-?010 order transmil~ted to                 1 -28-2011 (Register 2010, No. Sl). Pursuant to Penal Code sec-
       OAL 6-15?011 and filed 7-28-201 1 (Register 2011, No. 30).                       tion 5058.3, a Certificate of Compliance must be transmitted to
  l9. Chanee without regiilatory efFect amending subsection (a)(3) filed                OAL by 7-7-?O1] or emergency language will be repealed by op-
       1-8-20]4 pursuant to section 100, title 1, California Code of Regu-              eration of law on the following day.
       lations (Register -014, No. 2).                                              2. Certificate of Compliance as to 12-13?O]0 order transmitted to
  20. Change without regulatory effect repealing subsection (b)(3) filed                OAL 6-15-201] and filed 7-28-20] 1 (Register 2011, No. 30).
       4-22-201 i pursuant to section 100, title I, California Lode of Reg-
                                                                               ~c 3084.9. Exceptions to the Regular Appeal Process.
       ulations (Register ?015, No. 17).
  21. Amendment of subsection (b)(1) filed 6-2-2016 as an emergency;                (a) Emergency appeals. Emereency appeals should not be used
       operative 6-2-2016 (Register ?016, No. 23). Pursuant to Penal              by inmates or parolees as a substitute for verbally or otherwise
       Code section 5058.3, a Certificate of Compliance must be trans-            infonninQ staff of an emergency situation requiring immediate
       mitted to OAL by 11-9-2016 or emergency language will be re-               response.
       pealed by operation of law on the following day.                             (1) When circumstances are such that the regular appeal tine
  22. Certificate of Compliance as to 6-2-2016 order, including amend-            limits would subject the inmate or parolee to a substantial risk of
       ment of subsection (b)(]), transmitted to OAL l 1-7-2016 and filed         personal injury or cause other serious and irreparable harm, the
       1 2-22-20]6; amendments effective 12-22-20]6 pursuant to Gov-              appeal shall be processed as an emergency appeal. Emergency cir-
       emmentCode section 113d3.4(bj(3j (Register 2076, No. 52).                  cumstances include, but are not limited to:
                                                                                   (A) ThreaC of death or injury due to enemies or other placement
 3084.8. Appeal Time Limits.
                                                                                  concerns.
  (aj Time limits for reviewing appeals shall commence upon Che
                                                                                    (B) Serious and imminent threat to health or safety.
 date of receipt of the appeal form by the appeals coordinator.
                                                                                    (~j An emergency appeal shall be submitted directly to the
  (b) An inmate or pa~~olee must submit the appeal within 30 cal-
                                                                                  appeals coordinator and shall include a clear description of the
endardays of:
                                                                                  circumstances warranting emer~ei~cy processing. A request for
  (]j The occurrence of the event or decision being appealed, or;                 emergency processing of an appeal that clearly does not meet the
  (2) Upon first having knowledge of the action or decision being                 criteria for emergency processing or is made for the purpose of cir-
appealed,.or;                                                                     cumventing normal procedures or ob[ainin~ an expedited response
  (3) Upon receiving an unsatisfactory departmental response to                   may be considered misuse or abuse of the appeals process.
an appeal filed.                                                                    (3j If the appeals coordinator determines emergency processing
  (c) All appeals shall be responded to and returned to the inmate                is unwarranted. the inmate or parolee shall be notified and the ap-
or parolee by staff within the following time limits; unless exempt-              peal shall be processed pursuant to subsection 308~.5(b)(2).
ed pursuant to the provisions of subsections 3084.80 and (g):                       (4) If emergency processing is ~~arranted, the first level shall. be
  (I j First level responses shall be completed within 30 working                 waived and the second level re~~iew shall be completed within five
days fi-oiu date of receipt by the appeals coordinator.                           working days.
  (2) Second level responses shall be completed within 30 work-                     (~) Prison Rape Elimination Act (PREA) Sequa] Violence (Iu-
ine days from date of receipt by the appeals coordinator.                         mate on Inmate) and Staff Sexual Misconduct Appeals.
  (3) Third level responses shall be completed within 60 working                     A grievance in whole or part containing allegations of sexual vio-
days from date of receipt by the third level Appeals Chief.                       lence or staff sexual misconduct shall be processed as an emergency
  (d) Exception to the time limits provided in subsection 3084.8(c)               appeal. The appeal shall be immediately reviewed by the Hiring
is authorized only in the event of:                                               Authority or designee and processed directly at the Seco»d Level of
  (1) Unavailability of the inmate or parolee, or staff, or witnesses.            Review. When the appeal alleges or indicates that the innate may
                                                                                  be in substantial risk of imminent sexual violence or imminent staff
  (_2) The complexity of the decision, action, or policy requiring
                                                                                  sexual miscondtiict, a risk assessment shall be undertaken.
additional research.
                                                                                    (A) Staff Complaints: While the department maintains the ri,ht
  (3) Necessary involvement of other agencies or jurisdictions.
                                                                                  ro defend a=ainst an inmate lawsuit on the grounds of the appli-
 (4) State of emergency pursuant to subsection 3383(c) requiri~~
                                                                                  cable statute of limitations, a time limit shall not be imposed upon
the postponement of nonessential administrative decisions and ac-
                                                                                  when an appellant may file such a grievance. The time limits for
tions, including normal time requirements for such decisions and
                                                                                  processing an emergency Staff Complaint are as follows:
actions.                                                                             1. There shall be no time limit for allegations of staff sexual mis-
 (e) Except for the third level, if an exceptional delay prevents                 conduct, but once received by the appeals coordinator, the appeal
completion of the review within specified time limits, the appel-                 shall be screened in accordance with subsection 3084.5(b)(4).
lant, within the time limits provided in subsection 3084.8(c), shall                2. A risk assessment determination of all staff sexual miscon-
be provided an explanation of the reasons for the delay and the                   duct related appeals shall be immediately completed by the Hiring
estimated completion date.                                                        A uthority to determine if the appellant is in substantial risk of
  (fj An appeal accepted as an emergency appeal shall be pro-                     imminent staff sexual misconduct. If the assessment results in a
cessed within the time frames set forth in subsections 30849(a)                   determination of the appellant being in substantial risk of imminent
(4) and (a)(5).                                                                   staff sexual misconduct, the Hiring Authority shall take immediate
   (~j An appeal of the in~~oluntary psydiiatric transfer of an in-              corrective action.
 mate or parolee sha71 be made directly to the third level pursuant                 3. The appeals coordinator shall provide an initial response to the
 to subsection 30849(bj, within 30 calendar days of receipt oY the                appellant within 48 hours that shall include whether or not the ap-
 hearing decision nn the need for involuntary transfer.                           pea] is being processed as an emergency Staff Complaint.

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                                           DEPARTMENT OF CORRECTIONS AND REHABIL[TATION                                                  TITL,: 1~
§3084.9
   4. An initial risk assessment shall be documented within 48 hours              (1 j Any current or former Joint Venture inmate-employee who
and the completed risk assessment determination by the Hiring                   believes he/she has a grievance regarding a wade and hour or re-
Authority shall be documented within 5 calendar days describing                 taliation claim against a JVP employer shall submit the written
whether the appellant was determined to be in substantial risk of               grievance to the JVP Chief.
i mminent staff sexual misconduct and the,action(s) taken in re-                  (2j The .TVP Chief shall attempt to resolve all complaints.
sponse to the appeal.                                                            (3) Time frames- for filing grievances will be governed by the
   5. If the conditions of exceptional delay exist as described in s~ib-        Division of Labor Standards Enforcement's (DLSE) statutes of
section 3084.8(d), the time constraints of Sedond Level of Review               limitations, including but not limited to, Labor Code section 98.7
or Third Level of Review may be extended in increments of 30                    and Code of Civil Procedure sections 337, 338, and 339, for the
days, but shall not exceed 160 days from the date the appeal was                appropriate type of complaint.
received by the appeals coordinator. Any extension shall require                  (4) If the inmate is dissatisfied with the JVP Chief's decision,
written notification Yo the appellant and shall include the estimated           the inmate may file a complaint with the Labor Commissioner.
completion date. The time consumed by the appellant in preparing                  (d) Parole period and term computation appeals. Parole period
the appeal shall not count in the calculation of a timely response.             and term computation appeals shall be reviewed at the first level by
   6. The appellant may consider an absence of a timely response at             thz department"s records staff. The inmateor parolee must state in
any level, including that of any properly noticed extension, a denial           detail the alleged error or reason for disputing the calculation of his
at that level.                                                                  or her release date.
   7. The appellant is required [o respond to the Second Level                    (1) Records staff shall research the relevant case factors and
Review within 30 calendar days in accordance with subsection                    document [he findings. If the appeal is denied, the denial shall be
3084.8(b)(3).                                                                   delivered by records staff or by the appropriate caseworker to the
  (B) PREA Alleeations Against Another Offender: A time limit                   appellant who shall sign and date a CDC Form 1031 (8-88), Ac-
shall not be imposed upon when an appellant may file a grievance                knowled~ement of Receipt.
alleging inmate on inmate sexual violence. The time limits for pro-               (2) The inmate or parolee may request a Computation Review
cessin~ an emergency sexual violence appeal are as follows:                     Hearing that constitutes the second level review. The inmate or
   1. Once received by the appeals coordinator, the appeal shall be             parolee shall be notified at least 24 hours prior to the hearin; via
screened in accordance with section 30848. When [he appeal al-                  the CDC Form 1032 (12186), Notice of Time, Date, and Place of
leges or indicates that the inmate is at substantial risk of imminent           Computation Review Hearing, but may sign a voluntary waiver of
sexual violence, a risk assessment shall be undertaken.                         such notice.
   2. A risk assessment determination of all sexual violence related              (:3j The inmate or parolee shall be provided a copy of the CDC
appeals shall be immediately completed by the Hiring Authority to               Form 1033 (8-88), Computation Review Rearing Decision, at the
determine if the appellant is in substantial risk of imminent sexual            conclusion of the hearing.
violence. If the assessment results in a determination of the ap-                (e) California Prison Industry Authority (CALPIA) health and
pelLant being in substantial risk of imminent sexual violence, the              safety complaints.
Hiring Authority shall take immediate corrective action.                         (1) A health and safety complaint should not be used by inmates
   3. The appeals coordinator sha11 provide an initial response to [he          as a substitute for verbafly or otherwise informing staff of an urgent
appellant within 48 hours that shall include whether or not the ap-             health or safety situation requiring immediate response.
peal is being processed as an emergency PREA appeal.                             (2) Pursuant to Labor Code and Industrial Relations regula-
   4. An initial risk assessment shall be documented within 48 hours            tions, an inmate who believes a health or safety hazard exists in
and the completed risk assessment determination by the Hiring                   a CALPIA operation shall deposit a written complaint in a readily
Authority shall be documented within 5 calendar days describing                 accessible complaint box or give the complaint to any CALPIA
whether the appellant was deternlined to be in substantial risk of              staff member who shall submit it to the CALPIA health and safety
imminent sexu~il violence and the actions) taken iR response to                 committee for review and response. The committee shall undertake
the appeal.                                                                     all authorized levels of review and referral.
   5. If the conditions of exceptional delay exist as described in sub-           (t) Property appeals. All property loss or damage arising from
section 3084.8(d), the time constraints of Second Level of Review               the same event or action for a single appellant shall be included in
or Thud Level of Review may be extended in increments of 30                     one appeal.
days, but shall not exceed 160 days from the date the appeal was                 (l) An inmate or parolee who is appealing missing/damaged
received by the appeals coordinator. Any extension shall require                property that he or she believes occurred as a result of an error
written notification to the appellant and shall include the estimated           made by the receiving entity or by the transportation unit during the
completion date. The time consumed by the appellant in preparing                transfer of his/her property shall submit the appeal to the appeals
the appeal shall not count in the calculation of ~ timely response.             coordinator of the receiving institutioi~/reQion.
   6. The appellant may consider an absence of a timely response at               (2} An inmate or parolee who is appealing missing/damaged
any level, including that of any properly noticed extension, a denial           property that he or she alleles occurred as a result of an error made
at that]evel.                                                                   by the sending entity during the transfer from one institution/region
   7. The appellant is required to respond to the Second Level                  to another institution/region, shall submit the appeal to the appeals
Reviewwithin 30 calendar days in accordance with subsection                     coordinator of the receiving institutionhe~ion who will forward it
3084.8(b)(3).                                                                   to the sending institution/region for processing.
  (b) Involuntary psychiatric transfers. An inmate or parolee may                 (3) The appeals coordinator sha11 process the appeal for n first
appeal the written decision of an invoL~~ntary psychiatric transfer.            level response.
pursuant to subsection 3379(d), directly to the third 1zveL A copy of             (A) An attempt shall be made by sCaff to assess the damaged
the hearing decision shall be attached to the CDCR Form 602(Rev.                property and/or conduct a thorough search to locate the missing
08/09), Inmate/Parolee Appeal, but the 2bsence of such documenta-               property.
tion shall not be cause for rejection of the appeal.                              (B) An attempt shall be made by staff to research the appellant's
   (c) Joint Venture Pro~r~m (JVP)employer related grievances.                  claim utilizing departmental inmate property records.

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 TITLE 15                                    DEPARTMENT OF CORRECTIONS AND REHABILITATION                                               §3084.9
   (4) If an~~dmii~istrative decision is made that the deparm~ent is        a citizen's complaint However, any appeal alle;ing misconduct by
 responsible for loss or daiva~e to tl~e appellant's property pursu-        a departmental peace officer as defined in subsection 329](b) shall
 ant to section 3193, an attempt by staff to use donated property           be accompanied by the subsection 3391(d) Rights and Responsibil-
 to substitute for or replace lost property at no cost to the state, or     iry Statement.
 any effort to repair damaged property aY institution expense, will be        (]) An iml~ate or parolee alleging staff misconduct by a
 made prior to awarding monetary compensation far the loss.                 departmental employee shall forward the appeal to the appeals co-
   (5) An appellant's refusal to accept repair, replacement, or sub-        ordinator. Only after the appeal has been reviewed and categorized
 stitution of like items and ~~alue shall be cause to deny the appeal.      as a staff complaint by the hiring authority or designee at a level not
 When denying an appeal on this basis. the reviewer must state why          below Chief Deputy Warden, Deputy Regional Parole Administra-
 the replacement offered to the appellant is considered an equivalent       tor, or equivalent level shall it be processed as a staff complaint If
 item and value.                                                            the hiring authority makes a determination thaC the complaint shall
   (6) The provisions of subsection 3193(b) shall apply when mon-           not be accepted as a staff complaint, it shall be processed as a rou-
 etary compensation is determined to be the appropriate remedy.             tine appeal pursuant to subsection 30845(b)(4)(A).
   (7) Before payment of any granted claim, the inmate or parolee             (2) When an appeal is accepted alleging staff misconduct that
 shall discharge the state from further liability for the claim if re-      also includes any other issue(sj, tl~e appeals coordinator at the tine
 quired pursuant to Government Code section 965.
                                                                            the appeal is accepted as a staff complaint shall notify the inmate or
   (8) The document denying a property claim appeal shall inform
                                                                            parolee that any other appeal issues) may only be appealed sepa-
 the appellant of the right to submit a claim directly with the Victim
                                                                            rately and therefore resubmission of those issues is required if the
 Compensation and Government Claims Board and shall provide the
                                                                           intention is to seek resolution of such matters. Upon receiving such
 mailing address for such filing.
                                                                            a notice, the inmate or parolee has 30 calendar days to submit sepa-
   (9) An imnate or parolee who intends to submit a claim with the
                                                                            rate appeals) re~ardina the ocher issue(s).
 Victim Compensation and Government Claims Board shall adhere
                                                                              (3j All appeals alleging staff misconduc~ will he presented by
 to the rules and timefi-ames governing those claims, which may be
                                                                            the appeals coordinator to the hiring authority or designee within
 more restrictive than those of the CDCR appeals process.
   (g) Disciplinary Appeals.
                                                                            five working days. The hiring authority will review the complaint
   (lj A disciplinary action cannot be appealed until the hearing           and determine if:
 process is completed, including any re-hearing.                              (A) The allegation wan-ants a request for an Internal Affairs
  (2) Inmates who wish to exhaust their administrative remedies            investigation as the alleged conducC would likely lead to adverse
 for "serious" disciplinary issues pursuant to section 3315 must ap-       personnel action. The case will be refen~ed for an Internal Affairs
 peal through the third level of review.                                    investigation as instructed by the hiri~~ authority.
  (h) Transfer Appeals. A decision for transfer to another insti-             (B) The allegation does not warrant a request for an Internal
 tation may be appealed by the affected inmate after the transfer           Affairs investigation in which case a confidential inquiry shall be
 endorsement by the classification staff representative.                   completed by the reviewer. An inquiry shall be conducted whenev-
  (1) Filing of ail appeal of a transfer decision shall not normally       er the appeal is desisnated as a staff complaint but is not referred to
 be cause to stay or delay a transfer except in extraordinary circum-      the Office of Internal Affairs(OIA) or when the matter is declined
 stances and at the discretion of the Warden or designee.                   by the OIA.
  (2) Regular transfer appeals:                                                1. A confidential report shall sum»~arize the review and include
  (A) The first level of appeal shall be waived.                           a determination of the findings concenlino the allegation. This doc-
  (B) If the appeal is granted at second level, the appellant's case        ument shall not be provided to the appellant. It shall be kept in the
 shall be presented to a second classification staff representative for    appeal file in the Appeals Office and no other copies shall be kept or
 reconsideration.                                                           maintained except as herein described or as needed for Third Level
  (C) If the second classification staff representative disagrees          review or ]iticarion. This document is strictly confidential to all in-
 with institution's recommendation, the institution head may submit         mates and any staff except [hose involved in the inquiry process or
 thecase to the departmental review board for final decision.              litigation im~olvin~ the department.
  (D) Ifxhe appeal is denied at second level or the institution head          2. The accused staff may review the confidential report in the
 does not refer the case ro the departmental review board. the appel-      appeals office upon approval of the litigation coordinator, but if any
 lant may appeal at the third level.                                       information relating to other staff is contained in the confidential
   (3) Reception center transfer appeals:
                                                                           document, a copy shall be made and that informaCion redacted prior
   (A) First level review shall be conducted by the reception cen-
                                                                           ro the review. Neither the original nor the copy shall leave the ap-
 ter's correctional administrator.
                                                                           peals office except as required for litigation and any redacted copy
    B)If the appeal is granted, the appellant may be retained at the
                                                                           shall be placed with the original after review.
 reception center until the case is presented to a second classification
                                                                              3. The assigned reviewer will intervie~a~ the appellant and as
 staff representative only if the proposed transfer poses a threat to
                                                                           many witnesses as nec~ssa~y to reach a determination concerning
 the health or safety of the appellant.
                                                                           the allegation. The subjects) of the staff complaint may be inter-
  (C) If the second classification staff representative disagrees
 with the first level appeal decision, the appellant may resubmit the
                                                                           viewed by a person trained to conduct administrative interviews
 appeal for second level review.                                           and will be liven notice-~f the interview at least 24 hours prior to
  (D) Second level review shall be conducted by the institution            the interview. If the subject chooses to waive the 24-hour require-
 head, who may retain the appellant at the reception center as a sec-      ment, he/she must indicate this at the time they are gi~~en notice. If
 ond level review action and refer the appeal to the departmental          waived, the subject may be interview=ed immediately.
 review board for resolution. The board's decision shall constitute           4. A confidential inquiry shsll review the information available
final review.                                                              to determine whether policy was violated.
~ (i) Staff complaints. A staff complaint filed by an inmate or pa-          (4} The insCitution's appeal response to a staff complaint shall
 rolee shall be processed as an appeal pursuant to this Article, not as    inform the appellant of either:
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   §3085                                       DEPARTMENT OF CORRECTfO[~IS AND REHABILITATION                                               TITLE 15
    (A) The referral for investigation and the status of the im~estiga-                       Article 8.5. Written Request Process
  lion. Additionally, the appellant shall be notified of[he outcome at
  the conclusion of the investigation.                                               3086. Inmate/Parolee Request for Interview, Item or Service.
    (B) The decision to conduct a confidential inquiry and whether                     (a) Inmates and parolees may request inter~~iews with staff
  the fi ndings determined that the staff in question did or did no[                 and/or request items and services via a written request process. The
  violate departmental policy with regard~to each of the specific                    objectives of timely resolution of routine matters throush an effec-
 allebation(s) made.                                                                 tive and noo-conflictive communication process shall be facilitated
~ (5~) A staff complaint alleging excessive ~r inappropriate use of                  by the practices set forth in this article, which shall be henceforth
 force shall be addressed pursuan[ to the procedures described in                    applied uniformly toward that end. Department staff shall attempt
 sections 3268 through 3268.2.                                                       to resolve inmate and parolee issues expeditiously.
   (6) An appeal alleging staff misconduct by an appeals coordina-                     (b) The written request process may be used when the inmate or
 tor shall be reviewed by the hiring authority for detenninatio❑ of                  parolee seeks a response to an issue or concern related to his or her
 processing.                                                                        confinement or parole.
   NOTE: Authority cited: Section 508,Penal Code; and Section 6304.3,                 (c) The department shall ensure that inmates and parolees will
   Labor Code. Reference: Sections 148.6, 832.5, 832.7, 833.8, 504 and              have access to the CDCR Form 22(f 0/09), Inmate/Parolee Request
  5058,4, Pena] Code, Sections 935.6, 965, 3300-33 f 3, 1970-]9575.5,               for Interview, Item or Service, which is incorporated by reference.
  ]95835 and 1963 , Government Code; Sections 98.7 and 6304.3,
                                                                                    This form shall be made readily available in:
  Labor Code: Sections 337, 338 and 339, Code of Civil Procedure; Sec-
  tions 34-x.40, 344.41, 344.x2 and 344.43, Title 8, Industrial Relations,            (1) All inmate housing units, general or segregated.
  California Code of Regulations; Americans With Disabilities Act.                     (?) All institutional libraries.
  Public Law 101-336, July 26, 1990, 104 Stat. 328; Civil Rights of In-               (3) Any facility under the department's jurisdiction, whether
  stitutionalized Persons Act; Title 43 U.S.G Section 1997 et seq., Public          residential or medical, where inmates are required to remain more
  Law 96-?~7. 94 Stat. 3x9; 28 CFR Sections 3 .107 and 1 15.52. Wolff              than 24 hours.
  v. McDonnell (1971) X18 LT. S. 539. X58-560; and vasy~re;, v. S~nte of
                                                                                      (4) All parole field offices.
  Cnliforriin, 105 Ca].App.4th 849 (2003) as implemented by the Stipu-
                                                                                      (d) The Inmate/Parolee Request for Interview, Item or Service
  lated L~junction and Order entered by the Superior Court of San Diego
  County in Case No.GIC-74083?.                                                    form will provide:
                                                                                      (1) A written method for an inmate or parolee to address issues
  HISTORY:
                                                                                   and concerns with staff and/or to request items and services.
    L New section filed 12-]3-2010 as an emergency; operative
                                                                                      (2) A record of the date the form was first presented to staff, and
      1-28-20ll (Register 2010, No. il). Pursuant to Penal Code sec-
      tion 5033, a Certificate of Compliance must be transmitted to                the date of each staff response.
      OIL by 7-7-2Q11 or emersency language will be repealed by op-                  (e) When seeking response to a written request for an interview,
      eration of law on the following day.                                        item, or service, the inmate or parolee shall complete the Request
   2. Certificate of Compliance as to 12-13-2010 order. including re-             for Interview, Item or Service form to describe his or her request.
      pealer of subsection (al(5), transmitted to OAL 6-15-3011 and               The inmate shall deliver or mail via institutional mail the completed
      filed 7-28-201 I (Register 201 1, No. 30).                                 form to any staff member who is able to respond to the issue. The
   3. New subsections (a)(~)—(a)(5)(B)7. and amendment of Note filed              parolee shall deliver or mail via the United States Postal Service tt~e
      10-?0-2016; operative 10-20-2016 pursuant to Government Code
                                                                                  completed form to his or her parole agent, who shall respond to the
     section 1 13~3.4(bj(3)(Register 2016, No. -~3).
                                                                                  issue or, as appropriate, route the form to another staff member who
 3085. Americans With Disabilities Act.                                          is able to respond to the issue.
   Explanation: Departmental compliance with the Americans with                      (1 j If she inmate or parolee mails the form, the receipted copy of
 Disabilities Act(ADA)is currently under[he supervision of federal               their request may also be returned by staff via the mail.
courts as specified in Court Ordered Remedial Plans articulated in                  (2) As the written request process does not stay the time con-
 the Ar~mstro~ig v. Schrrnr~e~2egger (previously: Arn~strong v. Dati~is)         straints for filing an appeal, the inmate or parolee is not precluded
case. Accordingly, departmental ADA practices, ineludin~ offender                from filing an appeal on the same issue prior to receiving a response
ADA appeal rights are currently carried out in accordance with                   to their written request. However, the appeal may be rejected by the
an Armstrong Remedial Plan (ARP) established by the court of                     appeals coordinator or designee with instructions to complete the
jurisdiction.                                                                    request form process before resubmitting the appeal.
NOTE: Arnistronb v. Scltwar~~enegger (2002] USDGND (No. C-94-                      (~ Upon receipt of an inmate or parolee completed Request for
2307-CW); Amgricans Wi[h Disabilities Act, Public Law 101-336, July             Interview, Item or Service form, the employee shall:
26. 1990, 10~i Stat 323.                                                            (l) Accept, date and sign the form.
                                                                                   (2) Provide to the inmate or parolee the bottom copy of the em-
HISTORY:
                                                                                 ployee signed form, which shall serve as the inmate's or parolee's
  1. New section and forms filed 4-7-95 as an emergency pursuant to
     Penal Code section 508; operative 4-7-9~ (Register 9J, Nu. 14).            receipt to verify the date of submittal. The employee, at his or her
     A Certificate of Compliance must be transmitted to OAL by                  discretion, cai~ respond to the request at this time or wait until he or
    9-L4-9~ or emergency lan~ua~e will be repealed by operation of              she has more time to respond within the constraints of this article.
    ]aw on the following day.                                                      (3) The receipt of an inmate- or parolee-completed form does
 2. Certificate of Compliance as to 4-7-95 order transini[ted to OAL            not preclude a staff member from forwarding the document to a
    6-26-95 and filed 7-25-9~ (Register 95, No. 30).                            room appropriate responder; however, employees shall either de-
 3. Repealer of sec[io~ and Form CDC 1824, new explanatory para-                liver the form to the staff member or place it in i~stitupooal mail
    ~raph and amendment of Note filed 12- I3-2010 2s an emergency;
                                                                                addressed to the intended staff member within 24 hours.
    operative 1-28-201 L (Register ?010, No. 51). Pursuant to Penal
    Cocle section 5058.3, a Certificate of Compliance must be trans-              (4) Within three working days after receipt of the form, the re-
    mitted to OAL by 7-7-201 L or emergency fanoua~e will be re-                spondin~ employee shall:
    pealed by operation of law on [he follow~in~ day.                             (A) Note his or her decision or action on the form.
 ~. Certificate of Compliance as to L-13-'_Ol0 order transmitted to               (B) Sign and date the form.
    OAL 6-15-201 l and filed 7?8-011 (Re~_ister ZOl 1, No. 30).                   (C) Retain a copy for his or her records.

                                                                           8?
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TITLE 15                                    DEPARTMENT OF CORRECTIONS AND REHABILITATION                                                        §3092

  (D) Re[urn the original and remaining copy oY the form to the                 HISTORY:
inmate or parolee.                                                               l.Amendment filed 2-2J-77; effective thirCieth day thereafter (Reg-
  (a) If the inmate or parolee is dissatisfied ~~~ith or disagrees with             ister 77, No. 9).
                                                                                 2. Amendment filed 9-30-77: erfecti~-e thirtieth day thereafter (Reg-
[he stab member's response. he or she may suUmit the Request for
                                                                                    is[er 77. Nn. ~0).
Interview, 1[em or Service form to the employee's super isor for
                                                                                 3. Amendment filed 3-~2-78; efiecti~~e thirtieth day thereafter (Reg-
review, while retaininv a copy for his or her records. Ouly in the.                 ister 78. No. ]'_).
absence of the staff member's supervisor may the inmate or pa-                   4. Amendment of subsections(a) and (c) filed 2-16-83; effective thir-
rolee subnvt the form to another supe~yisor of the office or unit in                tieth day thereafter (Register 83: No. 8).
question.                                                                        ~. Amendment of section heading, test and Note filed 10-14-93; op-
 (h) Within seven calendar days of receipt of thF. Request for In-                  erati.-e l 1-15-93 (Register 93, No. 42j.
terview, Item or Service form, the supers isor shall:                            6. Amendment of subsection (b) filed 3-8-2001; operative 4-7-3001
 (1) Indicate a decision or action on the fornl.                                  (Register?007, No. 10).
 (2) Sign and date the form.                                                     7. Amendment of subsections (b) and (c) filed 5-25-2010; operative
                                                                                   6-24-2010(Resister 20]0, No. 22).
 (3) Ensure a copy is made and retained iii the f~cili[y records for
                                                                                 8. Amendment of subsection(d)filed 7-19-'Ol 1; operative 8-}8-20i 1
a period no less than prescribed for inmate correspondence in the                  (Register 20]1, No. 29).
approved departmental records retention schedu]e.
 (4) Return the original to the inmate or parolee.                              3091. Inmate Canteen Operation.
 (ij An inmate or parolee's documented use of a Request for In-                   (a) A current list of approved available merchandise, the pi7ce of
terview, Item or Service form does not constit~ite exhaustion of                each item, and t1~e ca~lteen operating hours shall be conspicuously
administrative remedies as defined in subsection 3084.1(b).                     posted at each canteen. Copies shall be made available to inmates
NOTE: Authority cited: Section SU58, Penal Code. Reference: Sections            denied direct access to the canteen.
148.6, 832.5 and 5054, Penal Code; Section 19583.5, Govermnent                    (b) Canieen draw schedules shall:
Code; Americans With Disabilities Act, Public Law 101-336, July                   (1) Be published at least once every six months.
?6, ]990, 104 Stat 328; Civil Rights of Institutionalized Persons Act;            (2) Be posted in each housing unit at each facility and camp.
Title 42 U.S.C. Section ]997 et seq., Public Law 96-247, 94 Stat. 349;            (3) Include no less than three canteen draw dates each month
Section 35.107, Tide 28. Code of Federal Regulations, and i~olff v. P9c-
                                                                                based on the last two digits of the inmate's department identifica-
Dwznell(1974) 418 U.S. 539. 558-560.
                                                                                tion number.
HISTORY:                                                                          (4) Each inmate shall be entitled to nn less than o.ne draw each
  1. Ne~v article 8S (section 3086) and section filed 12-13-2010 as an          month.
     emergency; operative 1-28-?011 (Register?010, No. 51). Pursuant              (c) When purchasing merchandise, inmates shall be required to:
     to Penal Code section 5058.3, a Certificate of Compliance must be
     transmi[ted to OAL by 7-7-201] or emergency language will be                 (1) Complete an itemized order list prior to purchasing canteen
     repealed by operation of law on the following day.                         items.
 2. Certificate of Compliance as to 12-13-2010 order h~ansiuitted to              (2) Place a clear thumbprint ar three fingerprints on the canteen
     OAL 6-15-?011 and filed 7-28-'O1](Register 2011, No. 30).                  sales receipt.
                                                                                  (3) Sien the canteen sales receipt to authorize the Trust Account
                                                                                withdra~~•al and verify the amount purchased.
           SUBCHAPTER 2. INMATE                                                   (4) Segregated inmates shall sign the approved canteen shopping
                RESOURCES                                                       list prior to submiztino it to the segregation unit staff autharizing the
                                                                                Trus[ Account withdrawal, and upon receipt of the merchandise,
                      Article 1. Canteens                                       shall sign the approved instiTution distribution forms to verify the
                                                                                amount purchased and received.
3090. Inmate Canteen Establishment and Draw Limits.                             NOTE: Authority cited: Section 5058. Penal Code. Reference: Sections
  (a) Each facility shall establish an inmate canteen pursuant to               5005, 5006 and 5054, Pena] Code.
penal code section 5005 enabling inmate purchases of approved                   HISTORY:
 merchandise. Facility staff sl~al] consult with representatives of the           1. Amendment filed 2-24-77; effecCive thirtieth day thereafter (Re~-
inmate population when determining items to be stocked in the can-                   ister 77. Ivo. 9).
teen for resale to the inmates.                                                  2. Amendmen[ of section heading. text and Note filed 10-14-93: op-
  (b) The maximum monthly canteen draw authorized by tl~e Sec-                       erati~~e 1 1-15-93 (Register 93, No. 42).
retary is $220.00. An inmate's regular canteen purchase shall not                3. Repealer of subsection (b)(2), subsection renumbering. amend-
exceed the limits specified in section 3044 or the inmate trust ac-                  ment of newly designated subsection (b)(3j, new subsection (b)
countbalance, whichever is less.                                                   (4), amendment of subsections (d)(2j—(3) and repealer and new
                                                                                     sUbsec[ion (d)(4) filed 5-25-?010; operative 6-?4-2010 (Register
  (c) Inmates shall be permitted to deduct from their trust accounts
                                                                                     2010, No. 22j.
for canteen purchases by si~_ning a canteen s~iles receipt.
                                                                                 4. Repealer of subsection (c) and subsection relet[erin~ filed
  (dj An inmate's trust account deductions for canteen purchases                     ]0-22-20]?; ope ~itive ]I -21-?012 (Register 2012. Nn. 43).
shall not be restricted beyond IimiCs established b}' the Secretary for
all inmates in like work groups. except by formal disciplinary ac-              3092. Special Inmate Canteen Purchases.
tion for a violation involvin_ canteen or [he intentional or negligent          NOTE: Authority cited~Section 5058,Penal Code. Reference: Sections
destruction, damage. or misuse of stare property, or in accordance              5006 and 5054. Penal Code.
with subsections 3315(f)(5)(KI and 3315(f)(5)(M).
                                                                                HISTORY:
  (e) Trust account statements 5how~inR current balances shall be
                                                                                 ].Amendment of section heading and text and new Note filed
issued to those imnates subiuittin2 ~a~ritten requests, provided 90
                                                                                    1 0-14-93; operative ]]-15-93 (Register 93, No. 42).
days have elapsed since their previous request                                   2. Amendment relocating former section 3092 to section 3790(ej—(f)
NOTE: Authority cited: Section 5058, Penal Code. Reference: Sections                filed 12-30-2003 as an emergency; operative 1-]-?004 (Register
5005 and 5054. Penal Code.                                                          2004, No. l). Pursuant to Penal Code section 5058.3(a)(1), a Cer-

                                                                           83
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                                                                                                              ~~~-
 TITLE 1S                                   DEPARTMENT OF CORRECTIONS AND REHABILITATION                                                      § 3ZGg.1
    (e) In facilities contracted to house CDCR inmates outside of                 3268.1. Reporting and Investigating the Use of Force for
  California, the use of deadly force shall only be applied in accor-                        Institution/Facility Staff.
  dance with applicable law in the state where the facility is located.             (a) Use of Force-Reporting Requirements. Every staff use of
    (t) A firearm shall not be discharged if there is reason to believe           force is an incident that shall be reported.
  that persons other than the intended target will be_in~jured.                     (1) Any employee who uses force or observes a staff use of force
    ("gj Firearms may be discharged as a warning only in an insti-                shall report it to a supervisor as soon as practical and submit the
  tutio~al/facility setting and only when deadly force is pemlitted               appropriate documentation, prior to being relieved from duty. In an
  under Section 3268(d).                                 ~                        insti[ution/facility setting the documentation shall be on a CDCR
   (h) Immediate Use of Force. A verbal warning shall be given be-                Form 837-A (Rev. 10/15), Crime/Incident Report Part A-Cover
 foreforce is used unless the circumstances requiring the immediate               Sheet, CDCR Form 837-A1 (Rev. 10/IS), Crime/Incident Report
 force preclude such a verbal warning.                                            Part A1-Supplement, CDCR Form 837-B1 (Rev. 10/15), Crime/In-
   (i) Controlled Use of Force. In an instituCion/facility setting,               cident Report Part B 1-Inmate, CDCR Form 837-B2 (Rev. 10/IS),
 controlled use of force may be used when time and circumstances                  Crime/Incident Report Part B2-Staff, CDCR Form 837-B3 (Rev.
 permit advance planning, staffing and organization. A controlled                 10/15), Crime/Incident Report Part B3-Visitor, Other, CDCR Form
 use of force requires authorization and the presence of a First or               837-C (Rev. 10/15), Crime/Incident Report Part GStaff Report,
 Second Level Manager, or during non-business hours, an AOD,and                   CDCR Form 837-C.1 (Rev. 10!15), Crime/I~cident Report Part
 musC be documented on a CDCR Form 837-C (Rev. 10/15), Cnme/                      C]-Supplement, or a CDCR Form 837-C2 (Rev. 10/15), Crime/
 Incident Report Part C -Staff Report, which is hereby incorporated               Incident Report Part C2-Review Notice, which are hereby incor-
 by reference.                                                                    porated by reference.
   (j) Tactical Use of Force. In a field or community setting, the                 (2) The supervisor shall document his or her review on a CDCR
 tactical use of force is part of an operation plan at a predetermined
                                                                                 Form 3010 (Rev. 10/15), Incident Commander's Review/Critique
 location with intended targets. All use of force options available
                                                                                 Use of Force Incidents, which is hereby incorporated by reference,
 shall be considered. The Tactical Use of Force shall require prior
                                                                                 and forward it with the employee's document tl~rouah the desia-
 supervisory approval during the operation planning.
                                                                                 nated chain of command, to the institution head for approval or
   (k) Chemical Agents. Departmentally approved chemical agents
                                                                                 follow-up action.
 include, but are not limited to the following: oleoresin capsicum
                                                                                   (b) Additional Reporting Requirements for Use of Deadly Force.
(OC), chloroacetophenone (CN), and orthochlorobenzalmalononi-
                                                                                   (I) An employee who intentionally or accidentally uses deadly
 trile (CS).
                                                                                 force, whether on ar off duty, shall ensure that a supervisory em-
   (l) Decontamination from Chemical Agents. Any person ex-
                                                                                 ployee is notified of the incident without delay. This reporting is
 posed to a chemical agent shall be afforded an opport~mity to
                                                                                 not required for the lawful discharge of a firearm during weapons
decontaminate as soon as practical. If the person refuses to decon-
                                                                                 qualifications, firearms training, or other legal recreational use of
taminate, no other action is necessary. If an inmate was exposed in
                                                                                 a firearm.
a cell and not removed from the cell where the exposure occurred,
                                                                                   (2) The response supervisor shall ensure that the chain of com-
in-cell decontamination shall be afforded to the inmate, Co include
                                                                                 mand is notified and all necessary health and safety, medical and
but not be limited to:
                                                                                 security measures are initiated.
   (A) Health care staff advising the inmate how to self decont~uni-
                                                                                   (A) If the incident is in an institution/faciliry, the response super-
nate in the cell.
                                                                                 visor shall obtain a public safety statement(sj(oral statement)from
  (B) Health care staff monitoring the in-cell inmate at least every
                                                                                 the staff employing deadly force and shall document the essence
 15 minutes for a period not less than 45 minutes.
                                                                                 of the oral statement in writin; and submit it to the incident com-
NOTE: Authority cited: Section 5058, Penal Code. Reference: Sections             mander. Providing a public safety statement does not relieve the
196, 835a, 2651, 2652 and 5054, Penal Code; Section 50, Civil Code;
                                                                                staff of the responsibility to submit a written report in accordance
Whitle~~ v. Albers (1985) 475 U.S. 312, 106 S.Ct. 1078; and Mntfrict v.
Cnte (U.S.D.C. N.D. Cal. C90-3094 TEH).                                          with 32681(a), or within 24 ho~irs after the incident.
                                                                                   (B) For incidents occurring in a community setting, the on-duty
HISTORY:                                                                        supervisor shall ensure local law enforcement is contacted.
  1. New article 1.5 (sections 3268-3268.2) and section filed 3-12-99
                                                                                   (3) The incident commander shall notify the Office of Internal
     as an emergency; operative 4-1-99 (Register 99, No. 11). A Cer-
     tificate of Compliance must be transmitted to OAL by 9-8-99 or              Affairs(OIA)and the Bureau of Independent Review (BIR)as soon
     emergency language will be repealed by operation of law on the             as possible, but no later than one hour from the time the incident is
    following day pursuant to Pena] Code section 5058(e)(1).                    discovered, of any use of deadly force and every death or GBI that
 2. Editorial correction of History ](RegisCer 99, No. 24).                     could have been caused by a staff use of force.
 3. Certificate of Compliance as to 4-1-99 order, including amend-                 (c) Any employee who observes a use of force that is unneces-
     ment of first paragraph, transmitted to OAL 9-8-99 and filed               sary or excessive shall attempt to stop the violation. Any employee
     LO-20-99(Register 99, No. 43).                                             who becomes aware of an allegation of unnecessary or excessive
 4. Amendment of section and Note filed 8-19-2010; operative
                                                                                use of force, whether it occurs during a reportable incident or
    8-19-2010 pursuant to Government Code section 11343.4 (Regis-
    ter 2010, No. 3~).                                                          not, shall verbally report the alle,ation to a custody supervisor as
 5. Amendment of subsection (a)(4), new subsection (aj(5), sabsec-              soon as possible, followed by the submission of the appropriate
    tion renumbering, amendment of newly designated subsection (a)              documentation.
   (17) and subsections (d)(1) and (i) filed 6-17-2015 as an emer-                 (d) Video Recording Requirements.
    gency; operative 6-17-2015 (Register 2015, No. 25), pursuant to                (1) A video recording is req~~ired for all Controlled Uses of
    Penal Code section 5058.3, a Certificate of Compliance must he              Force occun~ences. A video recardin~ of the inmate is also required
    transmitted to OAL by ]1-24-2015 or emergency lan~ua~e will he
                                                                                following a use of force occ~n-rence resulting in SBI or GBI to the
    repealed by operation of law on the following day.
 6. Certificate of Compliance as to 6-(7-2015 order, including further          inmate and shall be documented on a CDCR Form 3013-1 (Rev.
    amendment of subsection (i), transmitted to OAL 11-17-2011 and              10/15), Inmate Interview for GBI and SBI Worksheet and a CDCR
    filed 12-30-2015: amendments opera~ive 12-30-20]~ pursuant to               Form 3014 (Rev. 10/15), Report of Findings—Inmate Interview,
    Government Code section 1 1343.4(b)(3)(Register 2016, Nu. 1).               which are. hereby incorporated by reference.

                                                                          133
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         3268.2                                          DEPARTMENT OF CORRECTIONS AND
                                                                                                        REHABILITATION                                      TITLE 15
             (2j A video recording of the inmate shall
                                                              be made when the in-           of   wheth  er   the
           mate has made ~n allegation of an unnec                                                                incide nt occurs in an institutional or community
                                                          essary or excessive use            setting.
           of force and shall be documented on a CDCR
                                                                 Form 3013-2 (Rev.             (e) Use of Force Joint Use Committee (JUCj.
           10/15), Inmate [iiterview for Allegation Works                                                                                              The Use of Force
                                                                 heet and a CDCR            JUC shall review and evaluate recommended
           Form 3014 (Rev.: 10/15), Report of                                                                                                     revisions to the CD-
                                                   Findings—Inmate Interview,               CR's Use of Force Regulations and Procedures
           which are hereby incorporated by reference.                                                                                              . The JUC shall be
                                                                                            comprised of the following field staff:
            (e) Reviewing Use of Force Requirements.
                                                                                              (1) At Ceast one Institution Head, as chairperson,
            (1) For reported incidents, a good faith eFto~t
                                                                   must be made at            (2) At least one staff member from each DAI
          all levels of review in order to reach ajudQ~nent                                                                                          mission based re-
                                                                 whether the staff's        gion, at the level of Lieutenant or Captain,
       ~ actions prior to, during, and subsequent to
                                                            the force used wad in             (3)At least one Use of Force Coordinator,
          compliance with regulations, procedure and applic
                                                                   able law and de-          (4)At least three representatives from the
          ternline if follow-up action is necessary.                                                                                          California Correctional
                                                                                           Peace Officer Association (CCPOA), as design
           (2} Use of Force levels of review include the follo                                                                                   ated by the CCPOA,
                                                                      wing:                  (5)The Chief of BIR, or designee, and
           (A) Incident Commander Review, CDCR Form
                                                                        3010 (Rev.           (6) Others as needed and assigned by the Deput
      ~ 10/15), Incident Commander's Review/Critique                                                                                                 y. Director, DAI.
                                                                     Use of Foroe             The JUC shall meet quarterly as necessary, but
         Incidents.                                                                                                                                   not less than an-
                                                                                           nually, to review recommended revisions.
           (B) First Level Manager P.eview, CDCR
                                                                Form 3011 (Rev.            NOTE: Authority cited: Section 5058, Penal Code.
         10/15), Manager's Review—First Level                                                                                                      Reference: Sections
                                                        Use of Force Incidents,            196, 835a,?651, 2652 and ~05~, Penal Code; Sectio
         which is hereby incorporated by reference.                                                                                                   n 50, Civil Code;
                                                                                          and Madrid v. Cate (U.S.D.C. N.D. Cal. C90-3094
          (C) Second Level Manager Review, CDCR                                                                                                    TEH).
                                                                Form 3012 (Rev.
     j 10/15), Manger's Review—Second Level                                               HISTORY:
                                                         Use of Force Incidents,
         w hich is hereby incorporated by reference.                                          1. New section pled 3-1~-99 as an emergency;
                                                                                                                                                      operative 4-1-99
          (D) Use of Force Coordinator Review. The                                             (Register 99, No. 11). A Certificate of Compliance
                                                              Use of Force Coor-                                                                         must be trans-
                                                                                                 mitted to OAL by 9-8-99 or emergency language will
     i dinator shall norm~illy schedule all                                                                                                                 be repealed
                                               logged use of force cases for                     by operation of law on the following day pursua
        review within 30 days of their logged occurrence                                                                                             nt to Penal Code
                                                               . The Use of Force                section 5058(e)(1).
        Coordinator shall document their review on                                          2. Editorial correction of History L (Register 99,
                                                            a CDCR Form 3034                                                                      No. 24).
     (Rev. 10/15), IERC Allegation Review,                                                  3. Certificate of Compliance as to 4-1-99 order,
                                                     and a CDCR Form 3036                                                                           including amend-
      (Rev. 10/15), IERC Critique and Qualitative                                                ment of subsections (a)(I j and (b)(2), transmitted to
                                                          Evaluation, which are                                                                           OAL 9-8-99
       hereby incorporated by reference.                                                        and  filed 10-20-99 (Register 99, X10.43).
         (E) Institutional Executive Review Committee                                       4. Amendment of section heading, section and
                                                                (IERC). Normal-                                                                Note filed 8-19-2010;
      ly, Che IERC is comprised of the following                                                operative 8-19-?010 pursuant to Government
                                                       staff:                                                                                           Code sec[io❑
                                                                                                ]1343.4 (Register 2010, No. 34).
   `i 1. Institution Head or Chief Deputy Warde
                                                          n, as chairperson and            5. Ame~dmentof subsections (a)(1)—(2).(dj(1)—(2),
      final decision maker.                                                                                                                          (e)(2)(A)—(e)(2)
                                                                                              (E)4. and (e)(2)(E)7. filed 6-f7-201 as an emerg
                                                                                                                                                      ency; operative
 1        2. At least one other manager assigned on
                                                          a rotational basis.                  6-17-2015 (Register 2015, [Vo. 25). Pursuant to Penal
                                                                                                                                                            Code sec-
  '~' 3. In-Service Training Manager.                                                          tion 5058.3, a Certificate of Compliance must be
                                                                                                                                                        transmitted to
         4. One health care practitioner or clinician.                                         OAL     by I 1-24-201.5 or emergency lan~uaoe will
                                                                                                                                                       be repealed by
         5. A Use of Force Coordinator.                                                        operation of law on the following day.
         6. Other designated supervisors and rank and                                      6.  Certifi cate. of Compliance as to 6-J 7-2015 order, including
                                                              file staff may also             amendment of section, transmitted to OAL 11-17                   further
  ~ aCtend, as determined by the Institution                                                                                                          -2015
                                                  Head. A representative of                    1 2-30-2015; amendments operative 12-30-2015 pursua and filed
     the BIR may also attend and monitor IERC                                                                                                              nt to Gov-
                                                       meetings.                              ernment Code section 1 1343.4(b)(3)(Register 2016,
         7. The IERC shaIl meet to review its eases                                                                                                      No. 1).
                                                          on at least a monthly
    basis, or on a schedule ro ensure all cases                                         3268.2. Use of Restraints.
                                                      are reviewed within 30
   days. The IERC shall document their                                                   (a) Only state issued restraint gear and equip
                                                 review on a CDCR Form                                                                          ment that has been
   303 (Rev. 10/15), IERC Use of Force Revie                                           authorized by the CDCR for use at the discre
                                                           w &Further Action                                                                 tion of staff shall be
       ecommendation, which is hereby incorporated                                     issued/assigned to an employee or carried used
                                                             by reference.                                                                        by an employee
      (F) Department Executive Review Commi                                            while on duty. Any use of unauthorized restraint
                                                      ttee(DERC).                                                                               gear or equipment
      (~ Investigating Deadly Force and Any Use                                        or use of approved restraint gear or equipment
                                                           of Force that could                                                                  in ~ manner other
   have caused Death or Great Bodily Inj~~ry                                           than specified in (b) shall require apre-appro
                                                  .                                                                                         val in writing by the
      (1) Every use of deadly force (except                                            Hiring Authority of the institution/Facility/unit
                                                  those meeting the criteria.                                                                  that is making the
  set forth in 3268(x)(20)) and every death or                                        request.
                                                     great bodily injury that
  could have been caused by a staff use of force                                         (b) Mechanical means o1 physical restraint may
                                                          will be investigated                                                                        be used only
  by the Deadly Force Investi;atio~ Team (DFI                                         under the following circumstances:
                                                          T) and reviewed by
  the Deadly Force Review Board (DFRB).                                                 (1) When transporting aperson between locati
                                                                                                                                                ons.
    (2) DFIT shall conduct criminal and admini                                         (2) When a person's history, present behavi
                                                           strative investi~a-                                                                or, apparent emo-
 tions of every death or great bodily inj~iry                                         tionaf state, or other conditions present a reaso
                                                       that could have been                                                                 nable likelihood that
 caused by a staff use of force and every                                             he  or she may become violent or attempt to escap
                                                   use of deadly force, ex-                                                                     e.
 cept those meeting the criteria set forth                                              (3) When directed by licensed health care clinic
                                                in 3268(x)('0), the lawful                                                                        ians, to prevent
 discharee of a firearm during weapons qualif                                        a person from attempting suicide or inflictinb
                                                         ications or firearms                                                               injury to himself or
 trai~ina, or other legal recreational uses                                          herself.
                                                of a firearm.                          (c) Mechanical restraints shall nut be:
   (3j DFRB shall conduct a full and compl
                                                      ete review of all in-            (1) Used as punishment.
cidents involving a Ilse of deadly force (exce
                                                       pt those meeting the            (2) Placed around a person's neck.
criteria set forth in 3268(a)(?0)) and every
                                                  death or great bodily in-            (3) Applied in a evay likely to cause un~i~ie physic
jury that could have been caused by ~~ staff                                                                                                        al discomfort
                                                    use of force, re *ardless        or restrict Mood How or breaChinc. e.~., hod-ty
                                                                                                                                           inc.
                                                                             1.34
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                                                                                           ~x                ~ ~ ~~~
TITLE IS                                     DEPARTMENT OF CORRECTIONS AND REHABILITATION                                                       §3000

  DIVISION 3. ADULT INSTITUTIONS,                                               limited to the fobowing overt acts: acquiring unauthorized cloth-
                                                                                ing or identificatiol~ preparing a hiding place in an unaut         azed
       PROGRAMS AND PAROLE                                                      area, lying in wait fox,,a potential hostage, attemptin        cess to a
                                                                                perimeter that was imsu~ervised, unlawfully obta~ ~ g tools to aid
            CHAPTER 1.                 RULES ANA                                in an escape, manufacturing,a likeness of a         on in order to sub-
                                                                                stitute for the inmate's presence, or rece~ g assistance from other
             REGULA,I,I~NS ~F, A~UL,T                                           conspirators who acted u}~on an ~e€,c~a¢e plan, e.g. a plan to escape
        ~PERATI~NS ANA PROGRAMS                                                 uncovered from verbal, telepho~"or~nail communication.
                                                                                    Automated Needs Assessment Tool rrt~ans a systematic process
HISTORY:                                                                         which consists of a sexies~of questions and a''teview of the inmate's
 1. Change without regulatory effect repealing preface filed 10-29-90
                                                                                 criminal data in ,en-der to establish a baseline'"f~r the offender's
    pursuant to section 100, Utle 1, California Code of Regulations
  (Register 91, No. 6).                                                          criminogenic~needs to assist in determining appropr e placement
                                                                                 in a r ha~Silitative program.
                      Article 1.      Behavior                                      Beh or Management Unit is alternate gener                  opulation
                                                                                 housing and programming wh ch rs designed               reduce inmate's
3000. Definitions.                                                               continuing involvement in disruptive               avior, aiolence, or
   The following are definitions ofterms as used in these regulations:           noncompliance with CDCR rules an egulations, allowing non-
   Accessory means a person who, after a felony ha           n commit-           disniprive inmates in the ~~gener• population the opportunity to
ted, harbors;~c~nceals or aids a principal in         felony, with the           program without continual i' eruption due to the behavior of a
intent that the princip' nay avoid puni      ent, and has knowledge              smaller, more disniptive bment of,.~he inmate population.
that said principal commit the ony.                                                 Board of Parole H mgs (Board) meags the state agency which
   Administrative Officer of           (AOD) means an administra-                ~s responsible fo. e administration of par~l~ for those persons
tive staff member pos       mg managers     •supervisory experience             committed t~o,~.ttie department under Penal Codes`ec~tion 1168 and
and authority to a e decisions in the abse           of an Institution          those co       fitted under Aenal Code section 1170 who~ats~mee~t the
Head or Re n ParoleAdministrator.                                               criter~~ ound in Penal Code secrion 2962.
   Adv e 'tness means a person mho has ~                  or -will give             Califo~-rria,Agency Parolee means a person eel        d from depart-
information aga~~t a prisoner or parolee. F        e purpose of con-             meat facility to'parole supervision in a Cal nia caminuniry who
ducting parole revocatjon hearings, adv e witness means aperson                 subsequently is witliir~,.the custody ny California agency, or
whose expected testimoi~~,support e violation charged.                          subdivision thereof excep~~~e de„~r~i-tme~lt.
   Affiliate means individual"'o riders validated as members, as-                  California Agency Prisoner ems a prisoner who has been trans-
sociates, or monitored stat who~are connected or interact with a                ferred from the custody          the depar~,~ent to the custody of any
certified or recognized curity ThreaC~roup.                                     other California age         ar subdivision thereof.
   Air Scan Search      ans when a departm tal canine is insri•ucted               California Co        rrent Parolee means a pe non parole for a
to "scan" or snif fie air in an attempt to dete he odor of drugs,               California s ence and a sentence of another jur' fiction who is
tobacco, or c~13~phones on a person or within spe ' c articles of               being su rvised in a California community pursuan o the Uni-
property. T e canine handler will allow the dog to move ely past                form ct for Out-of-State Parole Supervision (Penal Cod             ctions
individ~and objects. Should the canine detect the odor of any                   11175—ll 1?9).
drugs, tobacco, or ce11 phones the canine will display a positive                  Cait€ci~-nia Law Enforcement Tetecommunic~rions System
canine alert.                                                                  (CLETS)means a statewide telecommunications systet                 the use
  Altern five Custody Program (ACP) mea                voluntary pro-           of 11w enfarcemeh4,agencies maintained by the              ornia Depart-
gram develo        for female inmates w e current commitment                    merit of Justice.          -.,
offense is neither vioTer~t.,~or Seri    and whose prior or current                California Out-of-State' onectio             Facility (COCF). 'The
commitment offense is noY a ' terable sex offense pursuant to                   COCF is a program through w ~ • male CllCR inmates are trans-
PC section 1170.05 that ows eligib 'mates committed to state                    ferred to out-ofstate come ~onal` cilities that have co~itracted
prison to serve thei     ntence in the comm ~ in Lieu of confine-               with the CDCR t~ prov~ housing; sec ~t ~, health care and reha-
ment in state ~ on. Provisions for ACP are to              iq Title 15,         bilitative progra~' g services to CDCR irr           es.
Division 3      apter 1, Article 6.8 commencing with section 3078.                 CalParolz~eans a centralized. statewide par              information
  Al      ative Custody Program Participant means any offender                  data sys
                                                                                   Ca irie-means a dog that is trained specifically to assist CDCR
                                                         —~                     personnel. De}~artmental canines are primarily responsib for
~ Appeal means a formal request for, or the act of requesring, an               searching for illegal drugs, tobacco, and cell phones. e deparf-
official change of a decision, action, or policy.                               merit's most commonly, used breeds are Lab or Retrievers,
                                                                                German Shepherds, and Belgian Malinois: waver, Beagles and
procu                th~,State's Civil Service         ~es-afic~hich            German Short Hair Pointers m~~ also             used. Departmental ca-
are rendered by an            or              t may include ancillary          nines are designated as Peace Qf rs and. the intentional injury
services logically or ~       ly pe o               ec ion kerewith.           of a deparkmental canine will b rose'~ted as described in Penal
                                                                               Code section 600.                               `'~
aYmanner aut       ed by law.                                                      Canine Handler means a departmental Peac Officer trained in
  Asylum State mead he state other than California in which a                  the handling, care, ip5'~ruction, and use of a depa nental canine,
parolee-at-laege is in Gusto .~~,~ ...--""~                                    including recognttfon of the canine's alert Co the odo f items the
  Attempted Escape means   ..,. arr°tins~cessful effort to breach a se-        canine is tra~ d to detect.
curedperimeter or th~.~s'eofforce against a~~r~qn to attempt access                Case nference means a documented communication b wean
into an unaut     zed area. Some progress toward ii''       meriting an        the p le agent and the parole unit supervisor concerning a pa lee
escape      t be made to implement a plan. This includes,         is not       (i.e., placing a parole hold).

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 3000                                        DEPARTMENT OF CORRECTIONS AND REHABILITATION                                                TITLE 15

    Case Conference Review means a docutrtented review of the                     Contraband means anything which is not permitted, in excess of
progress made in the Case Plan and the ,effectiveness of the cur-              the maximum quantity permitted, or received og obtained from an
rent plan to determine necessary modifigations. It will also include           unauthorized source.
a review to determine if the parole s~{iervision/case management                  Contro] Service me s the middle supervision category of a per-
expectations have been met.                                                    son on parole.                                  ~`
    Case records file eans the file ~hich contains the information                Controlled Substance        ans any substance, drug, narcotic, opi-
concerning an inmate         ~ch is co piled by the deparCment pursu-          ate, hallucinogen, depressa ,or stimula't as defined by California
ant to Penal Code Section             .5 and includes such components          Health and Safety Code se ion 110p'7. Also included are pre-
as the central file, education fil ,            file and parole field file.    scribed medications containing ny o the substances identified in
     Central File (C-File)  mea     a  master  file ma      ned by the de-     the H&SC section above.
partment containing record regarding each person committed to                      Cooperative Parolee means a p son on parole fora Califor-
its jurisdiction.                                                              nia sentence who is under parole up rvision in a state other than
     Central Office Calend means the calendar which is composed                Califort~l~a pursuant to the Unifo Act r Out-of-State Parole Su-
of administrative hearitag offic rs as designated by the deputy                pervisivn (Penal Code sections 1175-11 9).
director, parole hearings divisio They are authorized to make de-                  Corse of conduct means tw or more act over a period of time,
cisions regarding matters reporte to the parole hearings division,             ho~ever short, evidencing a c ntinuity of pu se.
including the decision to order a lr~aring scheduled.                              Court Order means a cust dy determination             ree, judgment,
     Central Office Hearing Coordit't~tor means tl~e parole hearings           br order issued by a court - competent jurisdiction, whether per-
division employee at headquarters who is responsible fur hear-                 manent or temporary, initial or modified, that affects the custody
 ing schedules, attorney appointments, and other hearing-related               or visitation of a child, when issued in the context of a custody
services.                                                                      proceeding. An order, once made, shall continue in effect until it
     Certification means that a business concern has obtained veri-;           expires, is modified, is rescinded, ar terminates by operation oflaw.
fication that it meets the definition o disabled veteran business                  Criminal Identification and Investigation (Cl&I) Report means
 enterprise pursuant to Military and Vet ans Code section 999,~g)              the report defined by Penal Code section ]1105,commonly referred
from an agency that has been authoriz by law to issue such                     to as "Rap Sheet".
 certification.                                                       f'           Criminogenic Need means an attribute of the inmate that is di-
     Chaplain means an individual duly desi nated by a rgligious               rectly linked to criminal behavior.
 denomination to discharge specified religiou duties, in~uding a                   Cumulative Case Sum ary means the cumulative summary of
 native American Indian spiritual leader.                                      specific portions of the rcord maintained by the dep~-tment re-
     Child means a person under the age of 18 year            '~                garding each prisoner f m reception to discharge.
     Chronological History means a CDC Form 2;`(Rev. 9/83),                        Custody of the de artm nt means the inmate ~ in the physical
 Chronological History, prepared for each inmate, u' n which sig-               Gusto        the de rtment.       'nmate woul e considered out of
 nificant dates and commitment information affecting t e inmate are            the custody o             artment wh         u     court and housed in a
 logged.                                                                        County ar deral facility,               a no           ed to departmen-
     Classification and Parole Representative (C&PR)                ans the     tal Gust y, in a non-departmen men                     fac ~      ~lin a
 department employee designated at each instigation to be th insti-           Lme ~ al facility under non-d artmental supervision.
 tutiods liaison with releasing boards and pantile staff.                          dangerous contraband~theans materials or substances that could
     Cognitive Behavioral Treatment is evi~Ience based treat nt                 be used to facilitate~~ crime or could be used to aid an escape or
  which helps inmates understand the tho~rghts and feelings whi                 that have been altered from their original manufactured state or
  influence behaviors. Treatment is gener~Tly short-term and focuse             purpose and which could be fashioned into a weapon. Examples
  on helping inmates deal with a specifiC~problem. During the course            would include, but not be limited to, metal, plastic, wood, or wire.
  of treatment, inmates learn how to it ntify and change destructive            Also included are: sharpened objects such as scissors or other tools
  or disturbing thought patterns whi have a negative influence on               not authorized to be in the inmate's possession, as well as poison,
  behavior.                             r                                         austic substances, flame producing devices i.e. matches or light-
      Collateral Contact means any ¢communication between a Division               s or cellular telephones ar wireless communication devices ar
  of Adult Parole Operations sta#f and another person concerning a              a components thereof, including, but not limited to, a subscriber
  parolee.                                                                      identity module(SIM card), memory storage device, cellular phone
      Concurrent Parolee meads a person on parole for a California              charger.
  sentence and a sentence of another jurisdiction who is being su-                 Deadly weapon means any weapon identi ed in Penal Code sec-
  pervised in a state otherthan CaLifomia,pursuant to the Uniform               rion 4502. Any item or substance not read' identified as a weapon
  Act for Out-of-State Parole Superv~on (Penal Code sections                    becomes a deadly eapon when used i a manner that could rea-
   1 1175-11179).                          fi~                                  sonably result in serio s bodily injury r death.
      Conditions of Parole mean the specific conditions under which a               Debriefing is the fo al process y which a Security Threat
   prisoner is released to parole supe ision.                                   Group (STG) coordinate vesti for determines whether an of-
      Confinem t to Quarters(CT )means an authorized disciplin-                 fender has abandoned ST            1' tion and dropped out of a STG.
   any hearing act whereby an' mate is restricted to their assigned              A subject shall only be debri       upon their request, although staff
   quarters for a perio of to ex eed five days for administrative rule           may ask if he or she wants to        ief.
   violations and ten days         rious rule violations.                           Department means the C ifom            epartment of Corrections and
      Confirmed Security Thr a roup (STG) Behavior means be-                     Rehabilitation.
   havior with a nexus to an 5TG w ~ is discovered and confirmed                    Deputy Regional Par e Administra            means the department's
   to have occurred. Confirmation can be             ained through either a      administrator within ~~~ivision of Adult prole Operations region.
   guilty finding  in a STG,related   Rules   Violations Report and/or any          Detainer means a~'written document received from an official
   document that clearly describes the STG behavior/activities incor-           representing a district attorney office, court, or correctional or law
   porated within the validation or continued STG behavior package               enforcement agent which indicates that an inmate is wanted by that
   which is affirmed by an STG Unit Classification Committee.                    office and the basis for the detainer.

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TITLE 15                                  DEPARTMENT OF CORRECTIONS AND REHABILITATION                                                     §3000
   Determinate Sentencing Law (DSL) Prisoner means a person                   assistant. If the inmate's Test of Adult Basic Education (TABE)
 sentenced to prison under Penal Code section 1170 for a crime                score is 4.0 or lower, employees are required to query the inmate to
 committed on or after July I, 1977.                                          determine whether or not assistance is needed to achieve effective
   Direct and Constant       ervision means an inmate shall be moni-          communication. The employee is required to document on appro-
 tored and observed by C CR staff, either custody staff or work               priate GDCR forms his/her determination of whether the inmate
 supervisor as indicated in th e regulations, sufficiently to account         appeared to understand, the basis for that determination and how
for the specific whereabouts o e inmate at all times.                         it was made. For contacts invo ing due process, employees shall
   Direct Link means any conne 'on between a subject and any                  give p~iority to the inmate's rimary means of co~~iunication,
 person who has been validated as an TG affiliate. This corm ction            which~may includ ut is not invited to; auxiliary mmunication
 does not need to be independently in native of STG associ ion                aids, gn language in      re r, and bilingual int reter.
 beyond the requirements for validations rce items listed in Tit ~                 c pe History refers      any reliable i rmation or inmate
 15, Section 3378.                                                            self-a mission in the ce al file to an es pe, attempted escape,
   Disabled Veteran Business Enterprise mean a business conce~i               walk way, or plan to e cape. The avai le information describ-
as defined in Military and Veterans Code section 99(g).            f          ing t e circuinstances;of the escape     attempted escape shall be
   Disabled Veteran Business Enterprise focus pape eans a publi-              eval ted in determiging the level o risk to correctional safety and
cation that meets all of the following criteria:(1) has orientation           secu ty posed by the inmate.
relating to the disabled veteran business enterprise; (2 is lrnown               Ex minee means a person ho voluntarily takes a polygraph
and utilized by members ofthe disal~ed veteran business e terprise
community;(3) primarily offers articles, editorials (if any), d ad-              Exceptional Circumstattces means circumst ces beyond the
vertisements of business opportunities aimed at disabled ve ran               contr 1 of the departmer~i or the inmat that pr ent the inmate or
business enterprises; and (4) is ~adily available within the g -
                                                                              requ'ted witnesses fYom participating i       e disci    ary hearing
graphical area for which the adv~`rtisement is placed and for whic
                                                                              with established ~ir'~iie limitations. Exampl s of this as applied to
the services are to be     forme `                                            an in ate would~nclude a serious temp ary mental or physical
   Disabled Veteran Busines                    cus paper and trade pa-
                                                                              impa' ment ve fied in writing by a licen5'ed clinical social worker,
per means a publication that eets all of the criteria of a disabled
                                                                               icen d psy ologist, psychiatrist, or,physician. Some examples
veteran business enterprise f cus paper and all of the criteria of a
                                                                              o ex epti al circun7stances preventing staff witnesses, to include
trade paper.
                                                                              the po ing employee, from attending the disci                hearing
   Disciplinary Detention eans a temporary housing status which
                                                                              wou      e extended sick lea            ement leave, personal emer-
confines inmates so assigned to designated rooms or cells for pre-
                                                                                en               e military duty. Exceptional circumstances, as
scribed periods of time as punishment for serious rule~~   viola
                                                                              de cr~be above, would allow for suspension of time limitations
   Disciplinary Free means without~..f~i o guilt of a disci-
                                                                                 ndi~~g re olution of the instances.
p~.~--         *~ ~~~:':, a DC Form 115, Rule Violation Report,
classified as either administrative or serious.                                  Ex ffen r means a person previously convicted a felony in
   Disciplinary Free Period means the period that commences im-               Calif rnia or y other state, or convicted of an offe se in another
mediately following the date and time an inmate is identified (date           state hich wo d have been a felony if committed ' California.
of discovery ofinformation leading to the charge) as committing                  Fa -to-Face C ntact means an in erson contact(with a parolee,
rules violation classified as serious.                                        or an lternative C study Program P~~icipant, by~a CDCR parole
   Disruptive Behavior means behavior which might disrupt o er-
ly operations within the institutions, whi~iicould lead to vi ence                         means anv\institution; commanit
or disorder, or otherwise endangers fac~xity, outside comm ity or             corn unity correctional acility; or any camp r other subfacility
another person as defined in sections 3Q`04(b), 3005(a) an 023(a).            of an nstitution under the 'urisdiction of the d artment.
   Disruptive Group 1—means any g ng, other than a p 'son gang.                 Fa ility Security Perime r is any combi tion of living unit,
   Distribution means the sale or lawful dispersin , by an in-                work rea and recreation area erimeters tha s set aside to routine-
mate or arolee, of any controll substance; or t e solicitation                ly res rict inmate movement ba don Gusto y level. This perimeter
of or con ~ ing with others in rranging for, the ntroduction of               will c ntract and expand depends upon t~e weather, lighting con-
controlled subs ces into any institution, cam ,contract health                dition and hours of operation.
facility, or commum       orrect'onal facility for e purpose of sales           Federal Consecutive Prisoner mea s a~~alifornia prisoner who is
or distribution.                                                              also udder sentence ofthe United Stat s and is confined in a federal
   District Administrator m ns        departm is administrator of a           corregtional facility, and whose Cali rnia term shall commence
Division of Adult Parole perations it, istrict, or geographical               upon(completion of the United States' s tence.
area.                                                                           Fe~ony means a crime which is pum bable with death or by
   Dropout means a va dated affiliate ho             cooperated in and        impr sonment in the state prison. Every o er crime or public of-
successfully complet Phase One nd Two o                   e debriefing        fens is a misdemeanor except those offens s that are classified as
process.
   Drug parapherna a means any evice, contrivance, instrut~ent,                 F eld Co ct means ace-to-face contact           Division of Adult
or paraphernalia i tended to be sed for unlawfully injecting or               Par le Operation       f ith a parolee away fro the parole office
consuming into e human bo a controlled substance as identi-                   or ffice parking area. J        -----~'"
fied in Health at~d Safety C      section 11007.                                  irm means any in vidual, firm, partnership, orporation, as-
   Drugs means`substances tended for use in the diagnosis, cure,              so iation, joint ventur or other legal entity perm ted by law fo
mitigation, trearinent or p evention of disease, and as defined in            p dice the professio of architecture, landscape ar itecture, en-
Health and Safety Code section l 1014.                                        g Bering, environme ta( services, land surveying or onstruction
   Effective communication means providing the inmate, to the                 p oject management.
extent possible, the means to understand and participate in the                 Force, as applied Yo escape or attempted escape refers o physi-
disciplinary process to the best of their ability. This may be accom-         c 1 contact or threat of physical harm against a person to enable or
plished through reasonable accommodation or assignment of a staff             attempt the escape.

                                                                         11
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                                                 DEPARTMENT OF CORRECTIONS                D RF,HA      ITATION                                   TITLE 15
   OOO
  Fr uent and Direct Supervision means that staff supervision                            I five Status ~ liate means a validated affiliate who as e-
an 'nma shall be sufficient to ensure that the inmate is                sent         lease rom Security lousing Unit(SHU)prior to imp me tion
with the         a permitted.                                                        of the       p Down Prog m. This inmate was not pre ous identi-
   Frien ly Wi ss means any witness who is                       an adverse          fied as       ~ng been. invo din gang-related beh for r a period
witness.                                                                             of six yea ,was reviewed             a Departmental evie Boar ,and
   Gang mea ~ any on ing formal or info at organi ion, as-                           released fro        e SHU.
sociation or gro of thre r more per s which                       a common               Incarceratin      risdiction me• s the jur' dicti        ere an Inter-
nairie or identifyin sign ors bol              ose me ers and/or asso-               state or Western          rstate Correc 'ons omp         federal contract,
ciates, individually of oilectiv , engage r have engaged, on                         federal concurrent, o oncunent pn er is' arcerated.
behalf of that organizatio            ocia ~o r group, in two or more                    Indecent Exposure m ns every rs                o willfully and lewdly,
acts which include, plan g, r i .~ ~ threaCening, financing,                         either: exposes his or her p son r the 'vate parts thereof', in any
soliciting, or comrnitti unla               ts, or is of misconduct out-             public place, or in any place         ere ere a present other persons
side ofthe Californi epa ent of C'o ctio7 and Rehabilitation                         to be offended or annoye            er ; or, proc res, counsels, or as-
jurisdiction.                                                                        sists any person so toe ose m                her sel r take part in any
   General Chr o          ans a CDC Form 128-B ev. -74) which is                     model artist exhibitio , or t make an ther ex ibition of him or
used to doc e nformation about inmates and ' m e behavior.                           her self to public vi ,or e view of any tuber f persons, such
Such in m 'on may include, but is not limited t                    cumenta-          as is offensive to ece , or is adapted to ex ' e to 'cious or lewd
tion ~ ..e      ies, records of disciplinary or classificari          afters,        thoughts or ac
pa e ~ crions or     inability  to satisfactorily perfor~n~ a job, r   ~al to            Indeterm' ate entence Law (lSL) means a p o sentenced
        y with grooming standards, removal from a program, r               ds        to prison ar         rime committed on or before June 3            77, who
of par le or social service matters.                                     ~            would ave een sentenced under Penal Code section ~ 0 if he/
   Gener Conditions of Parole mean general rules re                  ing be-          she d c mmitted the crime on or after July 1, 1977.
bavior requir or prohibited during parole for all              olees.                       di nt Inmate means an inmate who is wholly witho t ands
   Goal means a           erically expressed disab        veteran business              t t time they were eligible for withdrawal of funds for nteen
ente~7~rise objective         set out in Publi ~ ontracY Code section                 p        ses.
 IOl l 5(c), that. awarding        artments d contractors are required                   Inma means a person under the jurisdiction ofthe S cretary and
to make efforts to achieve,                                                           not parole .Inmate and prisoner are synonymous t             s.
   Good Cause means a findin             sed upon a preponderance of the                 Inmate        ch means aone-on-one match of a itizen volunteer
evidence    that there is  ~ fact   1 bas   and good reason for the deci-             and an inmate io receives few or no visits to stablish a relation-
sion made.                                                                            ship which encour es positive inmate bebad rand programming.
   Good Faith Effort         ans a concerted e         on the part of a po-               Institution means a rge facility or com ex of subfacilities with
tential contractar t eek out and consider disc ed veteran-owned                       a secure (fenced or wal          perimeter h ded by a warden.
 and operated b mess enterprises as potential co ractors, and/or                          Institution Head means a arden, gional parole administrator,
subcontract in order to meet the program ~aarticipa ~on goals.                        or designated manager of a fac~ ~ty ousing inmates.
   Great dil ~                        ans an bodily injury tha reates a                  Intake Control Unit(TCU) m             a unit that schedules and co-
 sub      is r~s o             ~"`~`-`°`~.                                            ordinates weekly movement f CD                new commitment inmates
   Grievance means a complaint about a decision, action, or policy                   from the counties to the C R Receptio Centers. Tl~e ICU is also
 which au inmate, parolee or staff wish to have changed.                              a liaison between the co nties and CDCR i he event that CDCR
                                                                                      is unable to accept d ivery of its new comm~ ent inmates and
                                                                                      payments are duet the counties.
terrorize                                    _                    _ e iti-
                                                                                          Interstate Uni means the Division of Adult Paro Operations
mate
                                                                      0               which coordi tes the supervision of California coo rative pa-
                                                  ctional Lieutenant   or             rolee and t return of parolees-at-large from asylums tes. The
H earing-~f3fficei~~~comprised   of: one
                                           ~ /Correctional Captain or                 unit is res onsible for Interstate and Western Interstate Co ctions
Correctional Counselor I , o
                            ,and one staff mem era                     of             Compa s, federal contrast, federal concurrent, and copse utive
Correctional Coups
                 nor above, or any combination thereof.                               priso rs and multijurisdiction parolees incarcerated in the p son
Associate W
                                                                                      of        her jurisdiction.
  High Control means the highest supervision category of a person
                                                                                           ntox ant not identified as a controlled substance m s tolu-
on arole.
                                                                                      ene or an i-product i.e. paint thinners, paint, fi mail polish,
  ? ld means to retain an inmate ar parolee, who is der the Sec-
                                                                                      lacquers, gaso ' e, kerosene, adhesives or o r substance that
retary Jurisdiction, in custody at an institution o local detention
                                                                                      markedly diminis            hysical and/or ment control.
facility in     onse to the legal request of aw enforcement or
                       epresentative.                                                     Joint Venture Emplo r(JVE)mean              y public entity, nonprofit
correctional aged
                             tiers mean egal spouse; registered do-                   or   for profit entiky, organi    ion, o   usiness  which contracts with
   Immediate Family
                                       optive parents, if the adoption                the director for the purpose o         ploying inmate labor.
mestic partner, natural pare
occurred and a family relatio i          fisted priar to the inmate's in-                 Joint Venture Program (J )m s a contract entered into be-
carceration; step-parents       foster par s, grandparents; natural,                  tween the director and •           public en ~ ;nonprofit or for profit
step, or foster brothers r sisters; the inma 's natLiral and adop-                    entity, organization, o usiness for the p ose of employing in-
tive children; grated ~ bldren; and legal stepchil         of the inmate.              matelabor.
Aunts, ucicles an cousins are not immediate family embers un-                             Laboratory m ns any toxicological or forensic oratory which
less a verified ster relationship exists.                                              has been recd ized by the state, other certifying age ,or which
   hlactive- onitored Status Affiliate mews a validated a late                         is accepte y any local, county, or state prosecuting a arity to
who w~ released from the Security Housing Unit concurrent ' h                          proved evidence as to the presence of controlled substa es in
the i plementation of the Step Down Program through a Depar -                          hu        body fluids ar confirm that a substance is or contains y
    utal Review Board hearing.                                                        cofitrolled substance.

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                                                                               Institution: LAC                             California Department of Corrections and Rehabilitations
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                                                                                                                                                                                                       12/6/2016
                                                                                                                            Inmate /Parolee Appeals Tracking System - 18~ II
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                                                                                                                                          A ppeals Listing Report
                                                                               CDC Number         Last Name                   Area of Origin                   Issue                         Log Number
                                                                               G05794             TURNER                      FACILITY D                       FUNDS                         LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       LIVING CONDITIONS             LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       PROPERTY                      LAC-D-08-01915
                                                                               Level I Review:    Received Date: 12/23/2008 Due Date: 2/6/2009                 Completed Date: 2/5/2009      GRANTED IN PART
                                                                               Level II Review:   Received Date: 3/9/2009     Due Date: 4/7/2009               Completed Date: 4/912009      DENIED
                                                                               G05794             TURNER                      FACILITY D                       PROPERTY                      LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       PROPERTY                      LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       PROPERTY                      LAC-D-
                                                                               G05794             TURNER                      FACILITY D                        MAIL                         LAC-D-
                                                                               G05794             TURNER                      FACILITY D                        MAIL                         LAC-D-
                                 #:1218




                                                                               G05794             TURNER                      FACILITY D                       PROPERTY                      LAC-D-
                                                                               G05794             TURNER                      FACILITY D                        MAIL                         LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       STAFF COMPLAINTS               LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       PROPERTY                       LAC-D-09-00647
                                                                               Level I Review:    Received Date: 6/25/2009 Due Date: 8/7/2009                  Completed Date: 8/13/2009     CANCELLED
                                                                               G05794             TURNER                      FACILITY D                       PROGRAM                        LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       PROPERTY                       LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       STAFF COMPLAINTS               LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       PROPERTY                       LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       STAFF COMPLAINTS               LAC-D-09-00664
                                                                               Level II Review:   Received Date: 6/25/2009 Due Date: 8/7/2009                  Completed Date: 8/7/2009       WITHDRAWN
                                                                               G05794             TURNER                      FACILITY D                        LEGAL                         LAC-D-
                                                                               G05794             TURNER                      FACILITY D                        ADA                           LAC-D-09-00961
                                                                               Level I Review:    Received Date: 9/1412009 Due Date: 10/12/2009                 Completed Date: 10/6/2009     GRANTED IN PART
                                                                                                                                                                                       12/6/2016 8:00:44 AM         1
                                                                               Institution: LAC                             California Department of Corrections and Rehabilitations                   12/6/2016
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                                                                                                                                          Appeals Listing Report
                                                                               CDC Number         Last Name                   Area of Origin                   Issue                         Log Number
                                                                               G05794             TURNER                      FACILITY D                       MEDICAL                       LAC-D-
                                                                               G05794             TURNER                      FACILITY D                       DISCIPLINARY                  LAC-D-
                                                                               G05794             TURNER                      FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       FUNDS                         LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       MAIL                          LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       CUSTODY/CLASS.                LAC-A-
                                 #:1219




                                                                               G05794             TURNER                      FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       DISCIPLINARY                  LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       LEGAL                          LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       LEGAL                          LAC-A-
                                                                               G05794             TURNER                      FACILITY A                        LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       PROGRAM                        LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       ADA                            LAC-A-10-00248
                                                                               Level I Review:    Received Date: 2/10/2010 Due Date: 3/4/2010                  Completed Date: 3/4/2010      CANCELLED
                                                                               G05794             TURNER                      FACILITY A                       PROGRAM                        LAC-A-10-00290
                                                                               Level I Review:    Received Date: 2/10/2010 Due Date: 3/25/2010                  Completed Date: 3/26/2010     GRANTED IN PART
                                                                               Level II Review:   Received Date: 4/1/2010     Due Date: 4/29/2010               Completed Date: 5/3/2010      GRANTED IN PART
                                                                               G05794             TURNER                      FACILITY A                       PROGRAM                        LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       STAFF COMPLAINTS               LAC-A-10-00324
                                                                               Level II Review:   Received Date: 2/10/2010 Due Date: 3/25/2010                  Completed Date: 3/17/2010     WITHDRAWN
                                                                                                                                                                                       12/6/2016 8:00:44 AM        2
                                                                               Institution: LAC                             California Department of Corrections and Rehabilitations                   12/6/2016
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                                                                                                                                          Appeals Listing Report
                                                                               CDC Number         Last Name                   Area of Origin                   Issue                         Log Number
                                                                               G05794             TURNER                      FACILITY A                       LEGAL                         LAC-A-10-00361
                                                                               Level II Review:   Received Date: 2/22/2010 Due Date: 4/29/2010                 Completed Date: 4/28/2010     GRANTED IN PART
                                                                               G05794             TURNER                      FACILITY A                       LEGAL                         LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       LEGAL                         LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       PROPERTY                      LAC-A-10-00397
                                                                               Level I Review:    Received Date: 3/112010     Due Date: 4/13/2010              Completed Date: 3/29/2010     WITHDRAWN
                                                                               G05794             TURNER                      FACILITY A                       TRANSFER                      LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       LEGAL                         LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER                      FACILITY A                        LIVING CONDITIONS            LAC-A-
                                 #:1220




                                                                               G05794             TURNER                      FACILITY A                        LIVING CONDITIONS            LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       LEGAL                         LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       TRANSFER                      LAC-A-
                                                                               G05794             TURNER                      FACILITY A                        FUNDS                        LAC-A-
                                                                               G05794             TURNER                      FACILITY A                        MAIL                         LAC-A-
                                                                               G05794             TURNER                      FACILITY A                        CUSTODY/CLASS.                LAC-A-
                                                                               G05794             TURNER                      FACILITY A                       STAFF COMPLAINTS               LAC-A-10-00854
                                                                               Level II Review:   Received Date: 5/21/2010 Due Date: 7/6/2010                   Completed Date: 6/23/2010     GRANTED IN PART
                                                                               G05794             TURNER                      FACILITY A                        ADA                           LAC-A-
                                                                               G05794             TURNER                      FACILITY A                        LEGAL                         LAC-A-
                                                                               G05794             TURNER                       FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                       FACILITY A                       ADA                           LAC-A-10-00934
                                                                               Level I Review:    Received Date: 6/18/2010 Due Date: 7/12/2010                  Completed Date: 7/12/2010     DENIED
                                                                               G05794             TURNER                       FACILITY A                       STAFF COMPLAINTS              LAC-A-
                                                                                                                                                                                       12/6/2016 8:00:44 AM        3
                                                                               Institution: LAC                          California Department of Corrections and Rehabilitations                   12/6/2016
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                                                                               CDC Number         Last Name                Area of Origin                   Issue                         Log Number
                                                                               G05794             TURNER                   FACILITY A                       LEGAL                         LAC-A-10-01002
                                                                               Level I Review:    Received Date: 6/30/2010 Due Date: 8112/2010              Completed Date: 8/18/2010     GRANTED IN PART
                                                                               Level II Review:   Received Date: 8/25/2010 Due Date: 9/2312010              Completed Date: 9/20/2010     GRANTED IN PART
                                                                               G05?94             TURNER                   FACILITY A                       TRANSFER                      LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       LIVING CONDITIONS             LAC-A-10-01057
                                                                               Level I Review:    Received Date: 7/14/2010 Due Date: 8/25/2010              Completed Date: 8/2/2010      GRANTED
                                                                               G05794             TURNER                   FACILITY A                        LEGAL                        LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                   FACILITY A                        LIVING CONDITIONS            LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       PROGRAM                       LAC-A-
                                 #:1221




                                                                               G05794             TURNER                   FACILITY A                        LIVING CONDITIONS            LAC-A-
                                                                               G05794             TURNER                   FACILITY A                        LIVING CONDITIONS            LAC-A-
                                                                               G05794             TURNER                   FACILITY A                        LEGAL                        LAC-A-
                                                                               G05794             TURNER                   FACILITY A                        LIVING CONDITIONS            LAC-A-
                                                                               G05794             TURNER                    FACILITY A                       PROPERTY                     LAC-A-
                                                                               G05794             TURNER                    FACILITY A                       STAFF COMPLAINTS             LAC-A-
                                                                               G05794             TURNER                    FACILITY A                       LIVING CONDITIONS            LAC-A-
                                                                               G05794             TURNER                    FACILITY A                       LIVING CONDITIONS            LAC-A=
                                                                               G05794             TURNER                    FACILITY A                       TRANSFER                      LAC-A-
                                                                               G05794             TURNER                    FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                    FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                    FACILITY A                       PROGRAM                       LAC-A-
                                                                               G05794             TURNER                    FACILITY A                       DISCIPLINARY                  LAC-A-10-01114
                                                                               Level II Review:   Received Date: 7/27/2010 Due Date: 9/8/2010                Completed Date: 9/8/2010      DENIED
                                                                               G05794             TURNER                    FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                                                                                                                                    12/6/2016 8:00:44 AM        4
                                                                               Institution: LAC                         California Department of Corrections and Rehabilitations                   12/6/2016
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                                                                               CDC Number         Last Name               Area of Origin                   Issue                         Log Number
                                                                               G05794             TURNER                  FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                  FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER                  FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                   FACILITY A                      LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER                   FACILITY A                      LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER                   FACILITY A                      STAFF COMPLAINTS              LAC-A-
                                                                               G05794             TURNER                   FACILITY A                      PROGRAM                       LAC-A-
                                                                               G05794             TURNER                   FACILITY A                      PROPERTY                      LAC-A-
                                                                               G05794             TURNER                   FACILITY A                      PROPERTY                      LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       DISCIPLINARY                 LAC-A-
                                 #:1222




                                                                               G05794             TURNER                   FACILITY A                       CUSTODY/CLASS.               LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       LIVING CONDITIONS            LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       MAIL                         LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       MEDICAL                      LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       DISCIPLINARY                 LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       LEGAL                        LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       PROPERTY                     LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       PROPERTY                     LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       PROGRAM                       LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       DISCIPLINARY                  LAC-A-10-01201
                                                                               Level II Review:   Received Date: 8111/2010 Due Date: 912312010              Completed Date: 9/15/2010     DENIED
                                                                               G05794             TURNER                   FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER                   FACILITY A                       CUSTODY/CLASS.                LAC-A-
                                                                                                                                                                                   12/6/2016 8:00:44 AM        5
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                                                                                                              Inmate /Parolee Appeals Tracking System - I & II
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                                                                               CDC Number         Last Name     Area of Origin                   Issue                         Log Number
                                                                               G05794             TURNER        FACILITYA                        LIVING CONDITIONS            .LAC-A-
                                                                               G05794             TURNER        FACILITY A                       LEGAL                         LAC-A-
                                                                               G05794             TURNER        FACILITY A                       CUSTODY/CLASS.                LAC-A-
                                                                               G05794             TURNER        FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER        FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER        FACILITY A                       STAFF COMPLAINTS              LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROGRAM                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROGRAM                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                       STAFF COMPLAINTS              LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                      LAC-A-
                                 #:1223




                                                                               G05794             TURNER        FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER        FACILITY A                       STAFF COMPLAINTS              LAC-A-
                                                                               G05794             TURNER        FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROGRAM                        LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROGRAM                        LAC-A-
                                                                               G05794             TURNER        FACILITY A                        LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                        LEGAL                         LAC-A-
                                                                               G05794             TURNER        FACILITY A                        CASE INFO./RECORDS            LAC-A=
                                                                               G05794             TURNER        FACILITY A                        LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                       LAC-A=
                                                                               G05794             TURNER        FACILITY A                        LEGAL                         LAC-A-
                                                                               G05794             TURNER        FACILITY A                        LIVING CONDITIONS             LAC-A=
                                                                               G05794             TURNER        FACILITY A                        PROPERTY                      LAC-A=
                                                                               G05794             TURNER        FACILITY A                        ADA                           LAC-A=
                                                                                                                                                                         12/6/2016 8:00:44 AM        6
                                                                                 Institution: LAC                             California Department of Corrections and Rehabilitations                   12/6/2016
                                                                                                                              Inmate /Parolee Appeals Tracking System - 18~ II
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 81 of 138 Page ID




                                                                                                                                            Appeals Listing Report
                                                                                 CDC Number         Last Name                   Area of Origin                   Issue                         Log Number
                                                                                 G05794             TURNER                      FACILITY A                       LEGAL                         LAC-A-
                                                                                 G05794             TURNER                      FACILITY A                       PROPERTY                      LAC-A-
                                                                                 G05794             TURNER                      FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                                 G05794             TURNER                      FACILITY A                       DISCIPLINARY                  LAC-A-10-01509
                                                                                 Level II Review:   Received Date: 10/21/2010 Due Date: 12/14/2010               Completed Date: 12/14/2010 DENIED
                                                                                 G05794             TURNER                      FACILITY A                       DISCIPLINARY                  LAC-A-
                                                                                 G05794             TURNER                      FACILITY A                       DISCIPLINARY                  LAC-A-10-01524
                                                                               ~ Level II Review:   Received Date: 10/2112010 Due Date: 12/24/2010               Completed Date: 12/24/2010 GRANTED IN PART
                                                                                 G05794             TURNER                      FACILITY A                       LEGAL                         LAC-A-10-01683
                                                                                 Level I Review:    Received Date: 1217/2010 Due Date: 1119/2011                 Completed Date: 1/18/2011     GRANTED IN PART
                                 #:1224




                                                                                 Level II Review:   Received Date: 2/1/2011     Due Date: 3/16/2011              Completed Date: 3/18/2011     WITHDRAWN
                                                                                 G05794             TURNER                      FACILITY A                        LIVING CONDITIONS            LAC-A-
                                                                                 G05794             TURNER                      FACILITY A                        CUSTODY/CLASS.               LAC-A-
                                                                                 G05794             TURNER                      FACILITY A                        LEGAL                        LAC-A-
                                                                                 G05794             TURNER                      FACILITY A                        FUNDS                        LAC-A-
                                                                                 G05794             TURNER                      FACILITY A                       PROGRAM                        LAC-A-10-01613
                                                                                 Level I Review:    Received Date: 11/15/2010 Due Date: 12/29/2010                Completed Date: 12/24/2010 DENIED
                                                                                 Level II Review:   Received Date: 1/18/2011    Due Date: 2/18/2011               Completed Date: 2/18/2011     DENIED
                                                                                 G05794             TURNER                      FACILITY A                        DISCIPLINARY                  LAC-A-10-01651
                                                                                 Level II Review:   Received Date: 11/24/2010 Due Date: 1/18/2011                 Completed Date: 1/18/2011    CANCELLED
                                                                                 G05794             TURNER                       FACILITY A                       PROPERTY                      LAC-A-
                                                                                 G05794             TURNER                       FACILITY A                       PROPERTY                      LAC-A-
                                                                                 G05794             TURNER                      AD SEG                            LEGAL                         LAC-A=
                                                                                 G05794             TURNER                       AD SEG                           PROPERTY                      LAC-A=
                                                                                 G05794             TURNER                       AD SEG                           PROGRAM                       LAC-A-
                                                                                                                                                                                         12/6/2016 8:00:44 AM        7
                                                                               Institution: LAC               California Department of Corrections and Rehabilitations                   12/6/2016
                                                                                                              Inmate /Parolee Appeals Tracking System - 18~ II
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 82 of 138 Page ID




                                                                                                                            Appeals Listing Report
                                                                               CDC Number         Last Name     Area of Origin                   Issue                         Log Number
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER        FACILITY A                       LEGAL                         LAC-A-
                                                                               G05794             TURNER        FACILITY A                       MAIL                          LAC-A-
                                                                               G05794             TURNER        FACILITY A                       LIVING CONDITIONS             LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROGRAM                       LAC-A=
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                      LAC-A-
                                                                               G05794             TURNER        FACILITY A                       LEGAL                         LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROGRAM                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                       DISCIPLINARY                  LAC-A-
                                                                               G05794             TURNER        FACILITY A                        MAIL                         LAC-A=
                                 #:1225




                                                                               G05794             TURNER        FACILITY A                        MAIL                         LAC-A-
                                                                               G05794             TURNER        FACILITY A                        MEDICAL                      LAC-A=
                                                                               G05.794            TURNER        FACILITY A                       LEGAL                         LAC-A=
                                                                               G05794             TURNER        FACILITY A                       TRANSFER                       LAC-A=
                                                                               G05794             TURNER        FACILITY A                       LEGAL                          LAC-A=
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                       LEGAL                          LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                       LAC-A=
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                        MEDICAL                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                       LAC-A-
                                                                               G05794             TURNER        FACILITY A                       STAFF COMPLAINTS               LAC-A-
                                                                               G05794             TURNER        FACILITY A                       PROPERTY                       LAC-A-
                                                                                                                                                                         12/6/2016 8:00:44 AM        8
                                                                               Institution: LAC                                   California Department of Corrections and Rehabilitations                   12/6/2016
                                                                                                                                  Inmate /Parolee Appeals Tracking System - 18~ II
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 83 of 138 Page ID




                                                                                                                                                 Appeals Listing Report
                                                                               CDC Number                  Last Name                  Area of Origin                 Issue                         Log Number
                                                                               G05794                      TURNER                     FACILITY A                     PROPERTY                      LAC-A-11-00439
                                                                               Level I Review:             Received Date: 6/24/2011 Due Date: 8/16/2011              Completed Date: 8/16/2011     DENIED
                                                                               G05794                      TURNER                     FACILITY A                     DISCIPLINARY                  LAC-A-
                                                                               G05794                      TURNER                     FACILITY A                     DISCIPLINARY                   LAC-A-
                                                                               G05794                      TURNER                     FACILITY A                     DISCIPLINARY                   LAC-A-11-00589
                                                                               Level II Review:            Received Date: 8/29/2011   Due Date: 10/11/2011           Completed Date: 10/11/2011 DENIED
                                                                               G05794                      TURNER                     FACILITY A                     PROGRAM                        LAC-A-
                                                                               G05794                      TURNER                     FACILITY A                     PROGRAM                        LAC-A=
                                                                               G05794                      TURNER                     FACILITY A                     PROGRAM                        LAC-A-
                                                                               G05794                      TURNER                     FACILITY D                     PROPERTY                       LAC-D=
                                 #:1226




                                                                               G05794                      TURNER                     FACILITY D                     PROPERTY                       LAC-D-12-00556
                                                                               G05794                      TURNER                     FACILITY D                     PROPERTY                       LAC-D-12-00560
                                                                               G05794                      TURNER                     FACILITY D                     LIVING CONDITIONS              LAC-D-12-01273
                                                                               G05794                      TURNER                     FACILITY D                     DISCIPLINARY                   LAC-D-12-01360
                                                                               Level II Review:            Received Date: 4/16/2012 Due Date: 6/15/2012              Completed Date: 6/13/2012      DENIED
                                                                               G05794                      TURNER                     AD SEG                         TRANSFER                       LAC-S-12-01507
                                                                               G05794                      TURNER                     AD SEG                         LEGAL                          LAC-S-12-01525
                                                                                                  Total:                        186
                                                                                                                                                                                             12/6/2016 8:00:44 AM        9
            Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 84 of 138 Page ID
                             .               #:1227                       PooR
  STgTE ~F GALbFORNIA                                                                                                      oarclN~ll~ ~
                                                                                     DEPAftT~OF CORRECTIONS AND REHABILITATION
                                                                                                                       DV•'V.5.4
 CRIME~I INCIDENT REPORT
 PART Al-- SUPPLEMENT                                                                          INCIDENT LOG NUMBER
 ~~CR 837-A1 (REV. 10!06)                                           Page 3 of 9             LAC-A04-70-06-0349
       fITU710N          FACILITY                                     INCIDENT DATE                 INCIDENT TIME
  LAC                    A04 - FACILITY A                             06!26/2010                    13:00
   YPE OF INFORMATION:
       SYNOPSISlSUMMARY OF INCIDENT      ~ SUPPLEMENTAL INFORMATION        ~ AMENDED INFORMATIQN             ❑ CLQSURE REPORT
   5cratc'h right cheek, cut under left eye, cut bridge of nose and scratch on right knee and Isft lower leg

   R.N. S, Erney completed a CDC 7219, Medical Report of Injury or Unusual Occurrence on Correctional Officer B.
   Pollard which noted the foklowing injuries: Abrasion on right thumb. CDCR 101 was completed on Officer Pollard

   VIDEO INTERVIEWS)
   Video interview was conducted due to facial injuries noticed on the CDC 7219, Medical Report of Injury and placed into
   A/B Sub-evidence locker #26 by Officer Mendoza

   NnTIFIGATIQ
   Watch Commander Lt. T. Cromwell was notified of this incident.
   Captain Fortson Administrative Officer of the Day (A.O.D,) was notified of this incident.

  ESCAPE(S):
  There was no escape during this incident.

   CONCLUSION:
   I nmate Turner, G-05794 will receive a CDCR-115 Rules Violation Report, Log #X10-06-0067 for violation of the
  .California Code of Regulations,(CCR)Title 15, Section 3005 (b), for the specific act of:.~i~~beyl~,~A Direct„grd~F.

  There was injury to Officer B Pollard and no damage to state property as a result of this incident.,

    Mere was approximately 16 hours of overfime due to this incident

  You will be informed of any further developments that arise through supplemental reports.




(~_} CHECK I~ NARRATIVE IS CONTINUED ON ADDITIONAL Al
 NAME OF REPORTING STAFF (PRfNT/TYPE)            TITLE:                                   I6il                BADGE 11
    ARTHUR CAIN                                   CORRECTkONAL LIEUTENANT                 2160318             66028
5lGN    U .£ OF EPARTING STAFF                                               PHONE EXT. INCIDENT SITE         DATE
                 ~~' / /r~                                                     8084                            6/26/2010
NAM OF WARpEN 1 AOD (PRINT/ SIGN)                                           .TITLE                            PATE
       Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 85 of 138 Page ID
                                        #:1228
           ,_
STATE OF CAL:iFORNIA
                                                                                                     PSBR ORIG~NA@.
                                                                          DEPAR7~ OF CORRECTIONS AND REHABILITATION
CRIME /INCIDENT REPORT
PARTC1•-SUPPLEMENT                                                              INCIDENT LOG NUMBER
~~CR 837=C1 (REV. 90/0fi)                                                       LAC-A04-10-06-0349
  +ME LAST                                         FIR                                                          MI
CAIN                                                                                                            nn
TYPE OF INFORMATION
    ❑ CONTINUATION OF REPORT             ❑ CIARiF1CATION OF REPORT            ~ ADDITIONAL INFORMATION

 On Wed~~esday June 30, 2010 Captain C. Fortson Retired from the Department of Corrections and Rehabilitation. A
 837 Incident Report of Force observed will not be forthcoming due to Captain Fortson's retirement.




CHECK IF NARRATIVE IS CONTINUED ON ADDITIONAL C1
~t l TURE fd~ REPORTING STAFF          TITLE                              BADGE ii     Staff ID #  DATE
     ~~(/(;~C~~                         CORRECTIONAL LIEUTENANT           66028         216Q378    7!7/2010
   E AND TITLE OF REVIEW R (PRINT /SIGNATURE) DATE RECEIVED                    ~~RIFICATION NEEDED DATE
                                                                  Yes o ❑ No ❑Yes ~;No             ~ ~~
      ~~~~1 ,C~c`~J'~ ~                        ~ ~~ 1 J(1 /                                              >>   / r\
    Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 86 of 138 Page ID
                                     #:1229
   STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                                           EDMUND G. BROWN JR., GOVERNOR
   OFFICE OF APPEALS
                                                                                                             4cQ7,q,ECTiONs~o
   1 515 S Street, Sacramento, CA ~' X814
   P.O. Box 942883                                                                                         Woo.              ~s
   Sacramento, CA 94283-0001                                                                              ~ .~
                                                                                                          g                       o
                                                                                                          o           `~          r
                                                                                                                      CPLIFOP~P
                                                                                                           ff4rE OF

  J une 20, 2017


  TURNER, LAFONZO, G05794
  Salinas Valley State Prison
  P.O. Box 1020                                              -
  Soledad, CA 93960-1020                          ~~~ ~ 3 ~~~~

  RE: TLR# 1704763           PBSP-16-02469   PROPEF;TY


 The Office of Appeals, California Department of Corrections and
                                                                    Rehabilitation (CDCR) acts as the third level of
 review as established in California Code of Regulations (CCR) Title
                                                                      15, Article 8. The Office of Appeals examines
 and responds to inmate and parolee appeals, after the institutio ~ or
                                                                        parole region has responded at the Second
 Level of Appeal.

 Your appeal has been cancelled pursuant to the California
                                                                 Code of Regulations, Title 15, Section (CCR)
 3084.6(cj(4). Time limits for submitting the appeal are exceede~~ even
                                                                        though you had the opportunity to submit
 within the prescribed time constraints.




 The Second Level Response was returned to yon on 2/3/17. Th ~ appeal
                                                                         package was submitted it our office on
 5/8/17. This exceeds time constraints to submit for third level review.

 Pursuant to CCR 3084.6(e), once an appeal has keen cancelled, that appeal
                                                                                may not be resubmitted. However, a
 separate appeal can be filed on the cancellation decision. Be adv std, you
                                                                             must submit an appeal of a cancellation
 to the appeals office that issued the cancellation. The original appeal may
                                                                             only be resubmitted if the appeal on the
 cancellation is granted. You have 30 calendar days to appeal tfie cancell
                                                                             ation. Time constraints begin from the
 date on the screen out form which cancelled your ~~ppeal.


 ~,1         ~.__ ~,- ,
 ~ ~ ~,                  ,~
M. VOONG, Chief
Office of Appeals




Be advised that you cannot appeal a rejected appE~al, but should t;3ke the
                                                                            corrective action necessary and resubmit
the appeal within the timeframes specified in CCR 3084.6(a) and C CR 3084.8(
                                                                                b). Pursuant to CCR 3084.6(e), once
an appeal has been cancelled, that appeal may not be resubmitted. Howeve
                                                                              r, a separate appeal can be filed on the
cancellation decision. The original appeal may onl~~ be resubmittec if the
                                                                           appeal on the cancellation is granted.
                      '~*"*PERb1ANENT APPEAL ATTACHIVIE~NC - DO NOT REMOV
                                                                                        E****
          Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 87 of 138 Page ID
                                           #:1230                          'L


       _1FORNIR
                                                                                                                  DEPARTMENT pF CORRECTIONS AND. REHABILITATION
       ~ROLEE APPEAL
---'_3EV.03!12)                                __
                                                                                                                                                               ~          Side 1
  i             ~ ~,~~ a                                                 IAB USE ONLY     Institutron/Rarola Region:         Log #~                  Category~~




                7 7oa~s^                                                                                                                                         ~                     'jl
            .                                                                              __                           FOR STAFF(/SE ONL 1` -                                     -
    You may ` I I~~~~I I                                           Rehabilitation (CDCR) decision, action, condition, policy or regulation
    adverse ei                                                                                                                             that has a material
                                                                 '.her prescribed method of departmental review/remedy available.
    Regulation                                                                                                                         See Galifomia Code of
                                                                 s  aE~peal and any supporting documents to the Appeals Coordinator (AC)
    days of the                                 G05794                                                                                      within 30 calendar
                                                                 space is needed, ~o   ore CDCR Form 602-A will be accepted. Refer to CCR 3084 for further
  . guidance wnn-use-cpp~~~~~.—.n,,~~tiv,~ ..~.~ ..~-W~--.,~—. Wising the appeal process.
    A eal isa b~ect to re~ection it one row of text er line is exce~:ded.                                   WRIT,PRINT, or TYPE CLEARLY in t~l'ack or blue ink.
    Name (Last, F t):                                                    CDC Numoer.                       UniVCell Number:
             uf~n~                 _~ f~'r-F~r~                                    oS~~~f !3~-11 G
    State briefly the subject of your appeal (Example: damaged TV job removal, etc.):I                ~~~~

                                                                                  ~ ~-'u 1 ~`N 1 /
   ~. Explain your issue (If you need more space, use Section A of the CDCR 602-A1:~~~
                                                                                                                                                           .,.
                                                                                                                                                 leafs ~f
                                                                                                                                          P~lical                r S~!~ Prison
                                                                                                                                                 D                ~ 2Q16
    B. Action requested (If you need more space, use Section B of the CDGR 602-A): ~~~ ~~ ~~~
                                                                                                                                                 ~p              s t~f~e~

        S M ~i.~-S~ C'C~+.s►t~-t~~.l ~fL A~.1 C~                                   •~d Iron ~~~' A~s 7h ~ ~'N'~e.
   Supporting Documents: Refer toCCR 3084.3.- o~T                  ~ ~    ~f1~C
                                                                           ~i (3
      Yes, i have attached supporting documents.
    List suPPortin9 documents attached Ce.9~~ CDG 1083, Inmate ProPert Y InventorY; CDC ' 28-G, Classifi               ~~11#~p


~ ~ ~-~'►- '~.~`~ ~ ~ ~rv~ a~~~~r — - ~+~~c, ~'~ ~ ~ Lit ~N~i ~.~~--
   ❑ No, I have not attached any supporting documents. Reason                                                                               C~- Y~~   ~~
                                                                                                                                           ~
                                                  __~ __.                                                                                    M~~
   Inmate/Parolee Signature: /f
                                                                    ---~^~~



                                                                         ~'Date Submitted:
                                                                                                                                                                  za~r ,~ ~'^
                                                                                                            ~           1~'                          .~ t v°
                                                                                                                                                      v9'~             ~\
                                                                                                                                                                       ~..~
   ~~ By placing my initials ni                  s            , i waive my right to recei ✓e an interview.
                                                                                                                                                                                  (~
   C. First Level -Staff Use Only                                                       Staff -Check One: Is ~DCR 602-A Attached? ~f Yes                           ■          ~r -
   This appeal has been:                                                                                                          ~~~
                                                                                                                                                                                  /~
   ❑ Bypassed at the First Levei of Review. Go to Section E.
   ❑ Rejected (See attached letter for instruction) Date:                          Date                        Date:                        Date:
   ❑ Cancelled (See attached letter) Date:                                                                                                                        ~~~.,
   '  Accepted at the First Level of Review.                                                                                                                                  ~
      Assigned to:                         ~J                             Title: _~~Date Assigned:                       ~ ~~            Date Due: Z
   First Level Responder: Complete a First Level response. Include Interviewer's name, title, interview date, loc
                                                                                                                /a~~tion, and complete the section below.
                          Date of Interview: ~I~~q'l~                          Interview Location: ~7L- F-aTVIV~A'
   Your appeal issue is: ❑Granted         ❑Granted in Part           Denied        ❑Other:
                           /ched letter. If dissatisfied with First Level response,
                  See ~att~a                                                                 rn    e Section D.
   Interviewer:~~~A/"
                -                              Title: S~"~ _Signature:                                                                Date completed: ~~'Ll~ I~
                   (Pool Name)                              ~~(
   Reviewer~~ ~~~~~~~~~~~                            Title:
                                                  ~~~eee         a"' _Signature:
                      (Print   ~    ;


   Date received by AC:             ~'

                                                                                                         AC Use Only                                                  ~°  ~,,
                                                                                                         Date mailed/delivered to appellant~                        /~~.~
        Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 88 of 138 Page ID
                                         #:1231                                ANO REHABR.ITATION            DEPARTMENT OF CORRECTIONS
STAN i7F CALIFORNfA
1NMi4TE~AROLEE APPEAL                                                                                                                                     Side 2
  CR 2(REV. 03112)
                                                                                                                                       Appeals Coordinator
                                                     response, explain the reason below, attaoh supporting documents and submit to the
  - D. If y u are dissatisfied with the-First level                  If you need     @
                                                                                 more, s~~~e     S~ Moon d of~t C~O~A.~ / ~ ~_
                                       days  of receipt of response.
i     f processing within 3d calendar




                                                         c

                           ~~z~~ ~D-~~C, ~~'C;~.az~    Vii.`. ~       _ ~E'
  ~,r~ ~R~
  ~
                             `.. ~. ~V' ~ ~ ~i~S :6-~.P. l~~a-5 i=~m LEA~~                                                                  ~D•~J.~ ,~'•~
                                                                              ~                              Date Submitted .
    I~mate/ParoFee Signature:
                                      O y                                                      Statt —Check One: Is CDCR 6 -A Attached?             Yes   ❑ No
  E. Second Level - Staff U
  This appeal has been:                                         o,I;i
     By-passed. at Second Levei of Review. Go to Sect'~~` r
                                                                                                            .Date:                     Date:
     Rejected (See attached letter for instruction} Date: ~~—`~ ~ ~ 2~~~ Date:
     Cancelled (see attached letter)
  ~Arcepfed at the Second Levef of Review
  Assigned to:           ~                           _ Titfe: __~~~~     Date Assigned:                                  Date Due: ~"~7 % 7

     Second Level Resp nder: Complete a Second .Level response. If an interview at the Second Level is necessary, include interviewer's name and title,
     interview date and location, and complete the section below.
                               Date of Interview: _ >/~Zri — ~~__                         Interview Location:    ~j1Z

     Your appeal issue is: ❑Granted            ~  Granted   in Part       ❑ benied        ❑Other.
                             See attached letter. If dissatisfied with Second. Level response, complete Sect'        below.
  {nteruiewer:     ~J J f?                           Title:             ~ Signature; _                                            Date completed
            ~             (Pr nl FJam~~ ~/
  Reviewer:ff~                             ~i'       Title: _~~              Signature:
                       (Print Nam 1                                                   -    ~~


  Date: received by AC:
                                                                                                              Use Only                                         ,~
                                                             ._                   _                                                                ~~
                                                                                                                                                    ____  r~ L ~ t
                                                                                                                                                       li/_
                                                                                                            ate maFled/delivered to appeFfant

  F. 1f you are dissatisfies! with the Second Level response, explain reason belo~N; attach supporting documents and submit by mail far Third Level
     Review. It must be received within 30 calendar days of receiptof prior response. f~Aail toi Chief, inmate Appeals Branch,. Department of Corrections and
     Rehabilitation,
             ~  5~~  P.O.SBox
                           ~` 942883, Sacramento,
                                             _~    CA~~94283-000t ff you n eed ore space, use Section F bf the CDCR 602-A.
             t                    '~c~           ~ ` if ~—           .,       is                k : ~ s'~ ,. ~            u.~~ `~Z~ ~I~°~5~~2_..




                              v        y                                                                                                             .,   ~~'
                                                                                                                                          ~~
                                                                                     _                                                     `- ;
      Inmate/Parofee Signature;~.~                           ~i   ~'~'"'`~~~~~~"'"""'~                               Date Submitted:                         u

   G. Third Level -Staff Use Only
  This. appeal has been:
  Q Rejecfed (See attached letter for instruction}A e- y~—~-~.~— Date:                            Date:                 Date: _           Date:
  ❑ Cancelled (See attached fetter) Date: JU~ 2 U Lil i/
  ~ Accepted at the Third Levei of Review. Your appeal issue is [~ Granted            ❑Granted in Part     ❑Denied      ❑Other:
           See attached Third Level response.
                                                                                                          t Third Level Use Onfy
                                                                                                          I Date mailedJdelivered to appellant
                                                                                                                                         ,     /_/~

   H. Request to Withdraw Appeal: I request that this appeal b~ withdrawn from farther review because; State reason. (If withdrawal is conditional, list
   conditions.}




                                                    __ Inmate!Parofeea Signature:         __              _~__                           Date:
   Print Staff Name:,_                                 Title: _~__         _Signature:                                                   Date:      '
    Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 89 of 138 Page ID
                                     #:1232

                                                                                                   L J
STATE OF CALIFORNIA                                                                                DEPARTMENT OF CORRECTIONS AND REHABILITATION
INMATE/PARQLEE APPEAL FORM ATTACHMENT
CDCR 602-A (REV. 03/12]
                                                                                                                                      Side 1
                                                           IAB ~JSE ONLY   I,~sti,tutiCmZParola R~gi'~n~    l,qg~:   - -- Categgry.~-~




                                ~i~~~   ~~                  —                                -    - - F4RSTAFFU&EQ~(LY


Attach this form to the CDCR 6Q2, only if more space is nef,ded. Only one C'~CR 602-A may be used.
Appeal is subject to rejection if one row of text per line is excef;ded. WRITE, PR1NT, or TYPE CLEARLY in black or
                                                                                                                   61ue ink.
Name (Las., Fi )                                                   —~CRC Number           UniVCell Numoer.          Assig~mer


A. Continuatian of CDCR F02, Section A only (Exp                                                                         ~~_~ Q~y ~tM~ ~nsor~
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                                                                                                                          ~IAY:,O~ X017
I nmatelParolee Signature:



6. Continuation of CDCR 602, Section B only (Action request~:d): ~- i~7~ C:~ I U~ ~i'~J ~—~ ~~~N                           C,~;' 1 ~1`~ ~~~~




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                         /t ~~~/L✓'~3` /~=-GY..L~~'ci'JG~:/
InmatelParolee Signature:,QL~I(                                                                  Date Submitted:
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 90 of 138 Page ID
                             A
                                 #:1233                                          ~      {


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                                                                                 ,-.,
                            ~~ ~ FIRST LEVI~L APPEAL RESPONSE


 RE:     PELICAN BAY STATE PRISON (P~3SP)
         Appeal Log Number PBSP-B-16-02469
         First Level Revie~~~er's Response

 INMAT~~ 1'i.JRNER, G0~794

 APPEAL li~C1SI~J1~: D~ iL~

 APPEAL ISSUE: PROPERTY

 EFFECTIVE C01~1MUNIC~TI01~'

 The lllvesti~ation for this appeal way corr~pleted at the ],first Level Review. You have
                                                                                                a Test of
 Adult Basic ~~ucation score of 0.0. Based oi~ the Disability ~Ffective Communication
                                                                                              ~niericans
 ~~~~~h D~sabilitie~ Act/E fective Cc.ir~n~!~-.ication history ~eporr,, TURiv ~~,h his ~o T~BL~' score;
                                                                                                        is
 Correctional Clinical Case Managcm~nt ~3ystem level c~f care end requires eyeglasses. During;
 the appeal interview simple English vas spoken slo~~~ly :end clearly. The appeal documents ~~~ere
 read to TUR1~iER. TURNER vas not ~~e~.ring eyeglasses, ho~~~ever, an interview is oral and
                                                                                                      not
 written, and no accommodation vas mad. regarding eyeglasses. Effective communication ~~-as
 achieved in the following manner; TURTTER reiterated in his own d~~ards what vas explained.
 TURNF,R pro~~ided appropriate, substantive response.. to questions asked. "TURNER asked
 appropriate questions regarding the inforn~~atic~n provides'.

 ACTION I2E~UESTED:(MODIFIED)

TLTI~'~rER requests iv be isslie~d the fo;lowuig items initially di~atlowed tron:: iris ~er;;oi-.,.~i
property:
    1. Hot pot
   2. Fan
   3. Signal Booster
   4. Hobby craft (beads)
   ~. Pen Fillers
   6. Toothbrush
   7. 5 C.D.s

    9. I-Headphone L.~.
    10. Comb
    1 1. Extension Cord
    12. Face Shavers
    13. Etc...
FTl\?T~iN~~

J. Anderson, Correctional Sergeant w~~s assigned to inve~tiU~te your complaint b}~ the First Le~~e1
Review°er. Sergeant J. Anderson interviewed ~~ou on I`1o~ ember 29, 2016. Y"ou reiterated the
issues addressed ~ ithin the appeal. The following ab ~reviations are used in the body of the
appeal response; Allowable Personal Property Schedule (APPS), Department Operation
Manual(DOM).
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 91 of 138 Page ID
                                 #:1234
 First Level Kevietiv~er's Response                                                                                           0
 Appeal Lod Number PBSP-B-16-02469
 Inmate: TURNER, G0~794
 Page


 TURI~I~R stated during the interview that he wishes to pursue
                                                                       the appeal through the Third
 Letiel Revie~~. Sergeant J. Anderson rev;e«~ed all disal'.owed
                                                                  items of TURNER'S property and
 determined that each and e~~ery item vas appropriatel~~ disallo~~~eci
                                                                       as detailed belo~~r:
       i. Hot p~~—D:.salic~.~ed pe~~ DO~.~ 54030.1
       2, Fan—SAC powered} Disallowed per DOM 54030.1 must
                                                           be battery operated
       3. Signal Booster—Not listed as alloy-ved per APPS
       4. Hobby craft(beads) —Not listed as allowed per APPS
       5. Pen Fillers—Actually ink pens, Disallowed per L►OM 54030.1
       6. Toothbrush— Disallov~~ed per DOl✓154030.1
       7. 5 C.D.s—Had 1 ~ in property, 10 a:lo~ved per AP:?S and 5 disallowed
       8. Cosmetics (i~l container) —=Un~abrled, unk~io~vn iiqui~. Disal~~~~~~~ed,
                                                                                   unable to i~.~entify.
       9. Headphone Ex. --one extension issued to TURNER,disallowed one
                                                                                   extension.
       10. Comb—one Mowed per APPS and issued, 2 add tional combs disallo
                                                                                    `ved.
       1 1. Extension Cord— Disallowed per _DOM 54030.1
       12. Face Shavers— Disallowed per DOM 54030.1
       13. Etc... Not specific

DETERI~7INATION OF ISSUE:
Your concerns ~~~ere clearly addressed. All submitted documentation and suppor
                                                                               ting arguments
-'--   - ~~ ,.,~
               . ................~.. ,~u.,r.. .... ~._,. .._~ _   "~I'_ - .i~    )ii; u3'~~C~i; iv   iLi~i   i~~' ~1i if1C   1151
Level Review.




A. PEPIOT                                   Date                         D. I3ARNE URU                       Date
Captain (Adult Instittrtion)                                             Correc ' na1 Administrat
Central Services                                                         Cenlral Services
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 92 of 138 Page ID
                                 #:1235
  State of Califon:ia
  CDC FORM 695
  Screeni~~g For:
  CDC 6U2 lnmatz'Yarolee Appeals
  CDC 1824 Reasonable Modification or Accommodation Request


  RE: Screening at the SECOND Level

  Weclnesdcry, December ?8, ?016

 TUR.~ER, G0~79~
 B 002 1110001E
 PROPERTY,Unallowable items, 1?!?7/2016
 Log Number: PBSP-B-16-02469
(Note: Loy numbers are assigned to all appeals for tracl:in~ purposes
                                                                      . Your anneal is
subject to cancellation for failure to correct noted deficiencies.

 The enclosed documents are being returnee'. to you nor the follow=inb re~soii~

 Your appeal lr~rs been rejected pursuant to the Cali~orrtia Code of
                                                                      Regi~latiofis, Title 1S,
Section (CCR)3089.6(b)(l3). Tfte appeal is incomplete. Yorir appeal is being
                                                                             returnerlfor tfie
following reason(s):

Complete Section D on the back ofthe CL~CR 602 ifyogi are dissatisfied witla the First
                                                                                       Level
Review.


    A. Sheldon, Appeals Coordinator
    K. Royal, Appeals Coordinator
    N. Bramucci, AGPA
PBSP Appeals Office




NOTE: if you are req~iired to respondiexplain to this CDCR Forrn 69~, use only the lines provided below.




Be advised that you cannot appeal a rejected ~.ppeal, b~~t should take the corrective action necessary and
resubmit the appeal within the timeframes specified in CCR = 084.6(a) and CCR 308'~.8(b). Pursuant to
CCR 3084.6(e), once an appeal has been cancelled, that appeal may' not be resubmitted. Ho~~ever, a
separate appeal can be filed on the cancellation decision. 1~he ori~ii~al appeal may only be resubmitted if
the appeal on the cancellation is granted.
 NOTE THIS CDCR 695 IS A PERMANENT APPEAL ATTACHMENT ANll IS NOT TO BE REMOVEll
          Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 93 of 138 Page ID
                                           #:1236                                                                                                                                                                 a

STATE OF CALIFORIVIH                                                                                                           DEAR ~h9ENT OF CORRECTIONS,4~ G REHHBILITATIOfJ
INMAT~!F'AROLEE REGlU~ST FOB 1N~CERViElN, NEVI rJR SEF:IJICE
CDCR 22 (10/09)

   SECTION A; INIVI~TE/PARO~.EE ~~(~l1EST
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  SECTION C: REQ~JEST FOR SUPERVISOR REVIEW
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  SECTION D' SlJ                        RV        DR'S REVIEW
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          Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 94 of 138 Page ID
                                           #:1237                                                                                                                                                                      9
STP,TE OF CALIFORNIA
lNMRTE/PARGLEE REQUEST' FOR IHTERVIEYd, ITEM OR SERVICE                                                                                              GErf.RTAAE~iT C~ CORRECTIONS AND
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cocR zz ~~orog~
   SECTION A: INMATElP~~20LE~ REQUEST
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  SECTION B: STAFF RESPONSE
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 SECTION C: REQUEST FOR SUPERVISOR REVIEW
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 SECTION b: SUPERVISOR'S REVIEW
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              Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 95 of 138 Page ID
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  I hereby authorize the i'ollowing items~t_o be:                          _                        ~
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      per institutier~a; procedures                                                                hereby agree to release and discharge the
                                          Inma:e !Parolee Name           CllC Number
  State of California, its officers, a°ents ae~d employees from any 4nd all liability a;isina front anp under
                                                                                                              this matter.
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      SHOULD AN IN_~ZATE REFUSE TO SIGlJ THIS F~I:i~i INDICATING ONE OF THE ABOVE
      CHOICES OF D~SPO~ITIO~r'~,~THE CONFISCATEll IT]~M(S) FILL BE DONATEll TO PBSP I
      ACCOk~D~~CEJ~'I~H CCR 31~0(a), AND 3]91(a

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      L'~;~b147E/P.9ROLEESlG.A'.9TURE                                C'DC ~'~'U~~1BER                           DATE

      I\MATE REFUSED TO SIGN [ ]


      ST.~FF YY7TNESS SIG'4'.ATURE(PRINT AND SIGN)                                                                D,1 TE
         Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 96 of 138 Page ID
                                          #:1239

STATE OF CALIFORNIA
I NMATE/PAROLEE REQUEST FOR INTERVIEW, ITEM                                                                                                                                           DEPF.RTDAENT OF CORRcCTIONS AND REHHBILITA
                                            OR S'=RVICE                                                                                                                                                                          TION
CDCR 22(10/09)

   SECTION A: INMATEIPAROLEE REQUEST
    NgME (Princ):      (,LAST NAME)                                                       (FIRST NAME)                                   G7C NU➢E9`R:
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 SECTION C: REQUEST FOR SUPERVISOR REVIEW
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CFf`TI(1N I~• SIIPFRVI4(~R'S REVIEW
RECEIVED BY SUPERVISOR (NAME):                                                         DATE:                                       SIGNATU RE,                                                                DATE RETURNED:




              ~s?ribution Original - Re'um to InmatelParolee; Canary - Inmatei~arolee's 2nd Copy; Pins -Staff Nlambers Copy; Goldenrod
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    Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 97 of 138 Page ID
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                                    R OBERT A. BARYON
                                    I NSPECTOR GENERAL


                                   STATE OF CALIFORNIA
                                   S EPTEMBER 2011
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   September ?8, 2U 11




   Matthe~~ L. Cate, Secretary
   California Department of Corrections and Rehabilitation
   1 ~ 15 S Street, Room ~0? South
   Sacramento, California 9814

  Dear Mr. Cate:

  Enclosed is the Office of the Inspector General's specill report on the California Department of
  Corrections and Rehabilitation titled CDCR's Revised Inmate Appeal Process Leaves Key
  Problems Unaddressed. The purpose of this special report was to identifi~ our concerns with the
  revised appeals process, tivhich became effective on January 2S, 2011.

  In reviewing both CDCR's former and revised inmate appeal processes, eve identified the
  concerns that led CDCR to change its inmate appeal process and assessed whether the revised
  inmate appeal process addressed those concerns. The report concludes that some of the appeal
  process changes appear- to have benefited both the department and adult inmate/parolee
  population. For instance, the department implemented a new accountability measure providing a
  "receipt'' for inmate/parolee requests. Hau~~ever, the department missed an opportunity to provide
  a similar feature with the actual appeal form to minimize alleaatians of lost, stolen, misplaced, or
  destroyed appeals. This report stiunmarizes our findings and identifies three areas of concern that
  require further action by CDCR

      • The revised appeal process lacks an accoarntable means ofverifying that appeals are
        »fade and lacks an accountable means ofdelivering appeals.

          Appeals coordinators clo not pf•ovide inmates with the information necessary to resubmit
          u rejected ccppeal.

     • Rapid implementation ofthe revised appeal process caai,secl confusion and presented
       additio~zal challenges.




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          The rev;sed appeal process lacks an accountable means of verifying that appeals are
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  iblr. ,'~latthc~~~ L. Cats. Secrclary
  Pa~,e




  ~Ue would like to tl~anl: you and yotu sta17:for the cooperation e~t~nded to m~ staf-i~in c~~mpleting
  this special report. It~ you have an~~ questions concerning this report, please co~l..ict ~3ill Shepherd,
  Deputy Inspector General, In-Charge, at (916) 830-3600.

  S incerely,
             ry    _                      ____
  ~~    ~.,Jf ~         J      r-


  I~o~FkT~ a. ~.4x~ro
  Inspector General

  Enclosures

  cc:      Dcan Foston, Chief, Office of _Appeals, CDCR
           Linda ~~'on~, Extcrnai Audits ~~lanaeer, CDCR
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     The California Department of Corrections and Rehabililat~ion (CDCR)began developing
     its current iilinate appeal process in the 1970s in response to several high-profile riots
     and prison takeovers by inmates who believed their brievances were not beinc properly
     addressed. Reviews of those incidents detei-tnined that establisllin~ a rneanin~ful inmate
     appeal process that promptly resolves inmate grievances at the earliest possible stage is a cost-
     ef~fcctive st~r~tegy that reduces tensions in the prison system and is essential to tl~e security of
     California's penal system.

     Tl~e revised inmate appeal process prescribed tinder Title 15, Section 3084.1 (a) of the
     California Code of Regulations, which became effective on January ?8, 201 1, enables an
     inmate or parolee (inmate) to appeal any policy, decision, action, condition, or omission
     by CDCI~ or its employees that the inmate can demonstrate llacl a materially adverse effect
     upon the inmate's health, safety, or welfare. The objective of this process is to resolve inmate
     grievances at the lowest possible administrative level.

     In reviewing both CDCR's former and revised inmate aE~peal processes, the Office of the
     Inspector General identified the concerns that led CDCI',to change its inmate appeal process
     and assessed whether the revised inmate appeal process addressed those concerns.' This report
     summarizes our findings and identifies three areas of concern that may require further action Uy
     CDCR.

     One of the primary deficiencies CDCR identified in its former appeal process was that
     inmates were unable to prove they had attempted to informally resolve an issue. This lack
     of verification led to allegations that a number of appeals were desh~oyed or- lost, either
     intentionally or neglibently. The revised process attempts to increase CDCR's accountability
     by providing the irunate with a copy, or receipt, of his or her attempt to infornially resolve
     an issue (Forn122 request-for-interview process) before Kling a formal appeal. The revised
     inmate appeal process does not, however, provide the inmate with a receipt of any kind if the
     inmate elevates the issue to the formal appeal level at the prison's appeals office (Form 602
     appeal process}. As a consequence, CDCR's revised appeal process does not provide enough
     accountability to address imnate allegations that more significant appeals are subject to
     intentional destniction or negligence. We further found that a number ofinmates do riot trust
     that correctional employees will appropriately safeguard either the Form CO2 appeal itself or
     the information contained in the Form 602 appeal.

     Our second area of concern pertains to the responsibilities of appeals coordinators who screen
     Form 602 appeals at the appeals office. When an appeals coordinator rejects a Form 602




     1 The Office of the Inspector General anticipates conducting a second review of the revised inmate appeal
     process later this year. Our second review will focus on whether the revised process is achieving better results for
     both employees and i~unates.


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   appeal,z ne~v regulations direct the coordinator to provide clear and sufficient instniction
   necessary for an inmate to qualify an appeal for processing. In general, however, appeals
   coordinators do not adequately explain the reasons for rejecting the appeal. The inadequate or
   absent explanation for the appeal's rejection makes it difficult for the inmate to have a
   resubmitted appeal accepted. Additionally, we found that although the primary reason appeals
   are rejected is that the inmate has not attached all necessary appropriate documents to the
   appeal, inmates are not necessarily afforded an opportunity to photocopy the relevant
   documents for inclusion with their appeal.

   Finally, it appears that CDCR implemented the revised appeal process berore adequately
   training employees and inmates concerning the new process. This lack of training caused
   confusion for both inmates and employees. Information we received indicates that a number
   of correctional employees refused to si~m the receipt for the Form 22 appeal because they
   believed that signing the form could create liability for them. This refusal made it difficult for
   inmates to submit their appeals. Moreover, because employees were not adequately trained in a
   timely manner, a number of employees and inmates confused the instructions for using the ne«~
   Form ?2 l"Inmate/Pardue F~equest for InfervievY~, Item or Service") with the instructions fir
   using the standing Form G1~-22("Inmate Request for Interview").

   The above concerns notwithstanding, the Office of the Inspector General acknowledges
   CDCR's efforts to make its inmate appeals process more accountable and we note that all of
   the concerns we have identified in the revised appeal process appear to be readily correctable.

   Recommendations:
   The Office of the Inspector General recommends that the CDCR take the following actions to
   provide further accountability in the Form 602 appeal process:
    • Add a receipt feature to the Form 602 appeal form or assign a log number to all Form
      602 appeals, whether or not they are accepted, to minimize allegations of lost, stolen,
      misplaced, or destroyed appeals.

    • Consider modifying re~7ulations to allow inmates to make copies of their rejected appeals
      and supporting documentation.

     • Consider implementing other accountability measures, such as those successfully
       implemented by the Texas Department of Criminal Justice, whereby appeals office
       employees, rather than correctional officers, directly collect all inmate appeals.

     • Ensure that the appeal screen-out notice provided to inmates not only provides the specific
       reasons)for the rejection and corrections) necessary for the appeal to be accepted, but also
       includes complete instructions to the inmate by identifying all specific actions) and forms)
       necessary for CDCR to accept the appeal, as well as where and how to obtain them.

   2 An appeal that is rejected pursuant to Title 1 ~ requirements may later be accepted if the reason noted for the
   rejection is corrected and the inmate returns the appeal to the appeals coordinator within 30 calendar days of rejection.
   Representatives of the Inmate Advisory Council(Council) and CDCR employees commonly refer to appeal rejections
   as "screen-outs" since the inmate appeals coordinator screens all appeals prior to acceptance and assignment for review.


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      • Require appeals ollice employees fo re~~~ilarly il~cet ~vitl~ Inmate !1d~~isory~ Council ~uembcrs
        to discuss lh~ supporting, documents needed for the most common types oFapl~eal issues
        and remove barriers to inm~ites' obtaining these documents.

      • Lnsure t11at all all~ected employees are properly li-aiiled concei-~zin~ ne~ti~ a~~p~al procedures.

      • Develop an alternative to inmates' submitting a Form ?? Lo custody staf[~ for sit nature. We.
        siig~est designating a staflposition in each housing, unit to process Form ?2 requests at
        specific times every day.

      • Effectively explain to its employees and irunates when to use the~Form 22 and when to use
        Fornl GA-22.

      • 1vlalce copies of t~l~e revised appeal regulations available in prison lativ libraries.




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   In the «~ake of several hig~~-profile inmate riots and takeovers of prisons nationwide during
   tl~e 1960s and 1970s, reviews of those incidents determined that one of the primary reasons
   for inmate unrest was inmates' belief that no process existed for them to have their legitimate
   concerns and grievances addressed by correctional management. As a result, the state
   determined that it was in the best inteFests of the inmates, the correctional employees, and the
   public to create an inmate appeal process. That process, now commonly referred to as the 602
   appeal process, commenced in the mid-1970s and has continually evolved since that time.

   More recently, on January 28, ?0 L 1, CDCR implemented emergency regulations that amended
   the existing 602 appeal process. On that date, CDCR published a notice of change to the
   amended regulations and allowed for a written public comment period through March ??,
   2011. On June 15, 2011, CDCR submitted its final rulemaking package for approval to the
   Office of Administrative Law, which det~:mines whether emergency regulations can be made
   permanent. The revised 602 appeal process was approved by the Office of Administrative La«~
   uil ~s ii~i~uliiv Ali.,~,Li v ~. Ui: .i ui ~v .-u~ ..   i a.




   Ia its In ~ial Staf~mert of~easons, GD~~~ identified its ~oncern~ reg~rdinb the appeal process
   and explained how its amended regulations would resolve these concerns. The key concerns
   and corresponding solutions are listed in Figure 1:

   Figure 1: CDCR's concerns and solutions for the inmate appeal process.
   j~_                                                                                                                                i
         When inmates or parolees claimed they were               Eliminate the informal appeal step and create a new "written
         denied access to a remedy because CDCR                   request process" that is outside the appeals system. This
         employees lost or did not respond to appeals at the      process provides an inmate or parolee with a "receipt' or
         informal stage, the informal appeal process did not      copy of his or her request at the time of submission and
         give CDCR the means to refute or sustain those           during other response stages. This new process establishes
         claims.                                                  greater accountability than the previous informal appeal
   ~                                                              process and allows an inmate or parolee to file an appeal if
                                                                  a CDCR employee fails to respond in a timely manner to an
                                                                  i nmate's written request.


         Vague regulations and inmates' improper use of the       Clarify appeal regulations and create a standardized appeal
         a ppeal process led to the following CDCR concerns:      process to ensure that inmates can effectively complete and
                                                                  submit appeals. The revised inmate appeal process includes
         • Regulations only require an "adverse effect," which    the following changes:
   ~       does not require measurable harm or injury.
                                                                  • Requires a "material adverse effect' that establishes a
         • Inmates submit non-essential attachments with            measureable harm or injury instead of a mere "adverse effect."
           appeals.
                                                                  • Reduces the space available on the form for the appeal
         • Inmates file excessive numbers of appeals (more          explanation and limits attachments.
           than one appeal every seven days per inmate).
                                                                  • Decreases filing frequency to one appeal per inmate every 14
         • There is a limited criteria to define "appeal abuse"     days (unless appeal meets "emergency" criteria).
           when inmates abuse the process.
                                                                  • Defines criteria that place inmate or parolee on appeals abuse
                                                                    restriction.

   Source: CDCR's Initial Statement of Reasons —Appeals, December 13, 2010.



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     Lnclepenclently fi-om CDCR, the 011ice of tl~e Ii:spector General reviews conlpl~iints l~roin ininat~s
     and ether concerned persons; such complaints arrive by mail or tlirou,l~ ll~e Inspector- General's
     24-hour roll-free telephone line. For this report, we analyzed the complaints received in ?010
     to provide context for the types of complaints we received regarding, CDCR's Coi~mer appe~il
     process: in 2010, the O~Tice of the lnspecCoi- General received 50? complaints rebardin~ iiunale
     appeals, or~vl~icll 156 concerned allegedly Lost, stolen, misplaced, or unanswered appeals.

     FornaerAppeal Process
     Before January 28, 2011, ~n inmate filed an appeal by submitting a CDCR Foin~ 602 to the
     appropriate CDCR employee at the "infbi-~nal level" within 15 days oFthe event diving rise to
     Che appeal. At the informal level, the employee involved in the actiari or decision responded
     directly to the inmate. For example, if an inmate submitted an appeal claiming that leis or her
     ~i-operty was missing following a cell search, the employee who perfornled the selrch could
     discuss the matter with the inmate who filed tl~e appeal, review all pertinent docuinentatiot~
    (e.g., housing tulit celUlocker search receipt or log book), and attempt to resolve the appeal
     iirfonnally. Appeals resolved at tl~e infomlal level were not required to be logged or tracked.

     Employees and inmates alike recobnized certain problems plaguing this system. Most
     noticeably, t11e system lacked accountability: it did not pro~~ide a means by which inmates
     could prove they had filed an appeal nor a means by which employees could refute inmates'
     claims of lost or mishandled appeals. Ivloreover, guidelines governing key aspects of the
     process itself were vague. For example, the term,"appeal abuse," a reason for rejecting an
     inmate's appeal, vas insufficiently defined, as was the term,"adverse effect," which is a
     requirement for malcin~ an appeal. The vague definitions further diminished the process's
     utility, as inmates grew fnistrated with appeals being denied for reasons the inmates did not
     clearly understand.

     As shown in Figure 2 on the next page, under the fornler process, if an inmate were dissatisfied
     with the informal response, the iiui~ate proceeded to the first level of a formal review. If still
     dissatisfied, the inmate could then appeal the decision to a second, and if necessary, even a
     third level of review.




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   Figure 2: First steps of the former and revised inmate appeal process.

    Former Process
     Step 1 —Staff Response                                                       Step 2 —First Formal Level
    • inmate has a complaint.                                                     • Inmate files same appeal
                                                                                   (Form 602} and supporting
    • Inmate submits appeal form
                                                                                    documents with the prison's
     (Form 602)to the employee
                                                                                    appeals office.
      who can address the issue or
      was involved in the issue.                                                  • Appeals coordinator reviews
                                                                                    the appeal and either accepts
    • Employee responds on the
                                                                                    it for consideration or rejects it.
      Form 602, informal level, and
                                                                                    The appeal is returned to the
      returns it to the inmate.
                                                                                    inmate.
    • If unsatisfied, the inmate can
                                                                                  • If unsatisned with the accepted
      elevate the complaint to Step
                                                                                    appeal s determination, the
      2, First Formal Level.
                                                                                    inmate may re-file it two more
                                                                                    times at higher levels.

    Revised Procsss                                                                                 ~ =Key Change
     C-   ..   v. a^~b`fi Yn   r.n         ti        ~ b1iH6I~/ICl~~ ice VlP4tf   Ctur~ Z _,C,rn~~4c nffir.~ Pc~vi~~
    a Inmate has a complaint.                   i nmate re-files the same         • Inmate fles appeal (Form 602)
                                                Form 22 with the employee's         and supporting documents wi;h
   s Inmate submits "Request for
                                                supervisor. Receipt is provided     the prison's appeals office.
      Interview"(Form 22) to any
                                                to the inmate.                      No Receipt is provided to the
      employee. Receipt is provided
                                                                                    inmate.
      to the inmate.                            Supervisor responds on the
                                                Form 22 and returns it to the     • Appeals coordinator reviews
    • The subject employee
                                                inmate.                             the appeal and either accepts
      responds on the Form 22 and
                                                                                    it for consideration or rejects it.
      returns it to the inmate.
                                           • If unsatisfed, the inmate can          The appeal is then returned to
    • If unsatisfied, the inmate can         elevate his or her complaint to        the inmate.
      elevate the complaint to Step 2        Step 3, First Formal Level.          • If unsatisfied with the accepted
      Supervisor Review.
                                                                                    appeal's determination, the
                                                                                    inmate may re-file it two more
                                                                                    times at higher levels.

   lYevise~l Appeal Process
   On January 28, ?011, CDCP~ eliminated the "informal" level in the appeal process and created
   a five-step written process that uses the CDCR Form 22(Form 22) and a revised CDCR Form
   60? (Form 602).' Steps one and two are processed separately from the appeals office since the
   Form 22 process is not a formal appeal but rather a request for interview to resolve an issue.
   Inmates unsuccessful in resolving a request orally may choose to use Form 22 to document the
   request in writing. It is a multi-part form that the inmate may submit to any CDCR employee.
   The CDCR employee siasand prints his or her name, dates the form, and provides a "receipt"
   by returning a copy of the Farm 22 to the inmate. If the receiving employee is not the subject
   of the request, the receiving employee forwards the request within 24 hours to the employee
   who is the subject of the request or is in some other way the appropriate person to handle the

   3 When submitting a Form 602, the inmate or parolee must present evidence of steps taken to resolve the
   issue and the CDCR employee's final decision. The Form 22 provides proof of final actions or determinations
   by a CDCR employee when no other process or proof is available. The Form 22 is not required for disciplinary
   appeals, classification appeals, or other appeal areas that already document a final CDCR decision. Additionally,
   staff complaints must be appealed directly with the Form 602.


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     request. For c~~alllp~e, an inmate might deliver a Form ?2 request directly to a correctional
     officer (~or receipt pLirposes alt~llotibh the s~ibject of~ the. request is an employee. iii the pi-isoil's
     mailroom. l\Cter receiving the appropriate employee's respousc, an inmate c~~n request a
     supervisor's review iCthe inmate disabrees with tlic employee's response. Il~dissatisiied with
     the supervisor's response, the inmate proceeds to the next level oI~ the process, ~vliich is to
     subuliC a Form C0~' appeal to the prison's appeals oFfice.

     As shown in Figure 2, during Step 3, the inmate must slibniit a Fonz7 C0~ appeal to the appe~ils
     coordinator within 30 days of the appeal issue. The inmate does not, however, receive a copy oC
     the appeal ~vllen lie orshe submits the Form 60? to the appeals coorclinator.a 1f~dissatis~f ed with
     the first-level response to tl~e appeal at the appeals office, the inmate can appeal the decision
     to a second, and if necessary, a third level. At each level of tl~e Form (i0? appe~il process, the
     inmate most state his or her reasons for elevating the appeal. At alone of these levels does the
     inmate receive a copy or receipt when filing his or leer ap~~eal.

     trey P~'ocess Changes
     Une of the fiindameutal changes between the former- and revisea appeal processes is the ability
    foe an inmate or parolee to receive anon-carbon copy of leis Form ~2 request, which also
    fiinctions as a "receipt," at the initial level when requesting an interview-, itetiz oi- service. If the
    iilinate is dissatisfied with the response to his or her request a~ that initial level and proceeds to
    file a Fowl 602 appeal with the appeals office, however, the inmate or parolee does not receive
    a receipt of the Form 602. Figure 3 below summarizes noteworthy changes bet~~~een the former
    and revised appeal processes.

     Figure 3: Noteworthy changes in the inmate appeal process.


            _.._.   _                __                                                                   . ~zz..     .~. y}~
             Must show an "adverse" effect.               Must show a "material adverse" effect.               ~9-

          Must file within 15 days of the event.           Must file within 30 days of khe event.              0             i~

        May only fife one appeal every 7 days.          May only file one appeal every 14 days.*"              i-
            Explanation of appeal limited to                 Explanation of appeal limited to
         approximately 2 Y< pages of writing or            approximately 112 page of writing or                f             -
                     typewriting.                                     typewriting.
                Allowed multiple issues.                            Limited to one issue.                      +             -

                                                           Receipt for request form (Form 22).                 +             f
              No receipt/evidence of filing.
                                                         No Receipt for appeal form (Form 602).                 -            -

    Source: CDCR's "Inmate/Parolee Appeal Changes" Initial Statement of Reasons -Appeals, December 13, 2010; and OIG
    calculation of available appeal writing space.
    `Note: Positive (+J, Negative (-J, and Neutral (0) viewpoints were determined through inspector observations and interviews with
    inmate representatives and inmate appeals coordinators.
    '
    " See Title 15, Sec[ion 3084.9 for exceptions fo the regular appeal process. A(so, a group appeal counts toward the number of
    allowable appeals filed in a 14-calendar-day period.



     4 If tl~e appeal is accepted, the inmate does receive a log number and due date notice through the mail.


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   The Office of the Inspector General began its review and evaluation of the inmate appeal
   process following implementation of the emergency regulations. The focus of our revie`~~
   was to evaluate whether the revised inmate appeal process reasonably addressed the most
   fiindamental problems associated with. the former inmate appeal process. A secondary objective
   of this review was to identify areas for possible improvement by CDCR. To complete this
   review, we performed the following actions:
     • Reviewed laws, rules, regulations, policies and procedures related to the inmate appeal
       process.

     e Conducted interviews with inmate appeals coordinators and appeals office employees. We
       also spode ~i~ith several custody and non-custody marabers and employees at four prisons:
       California State Prison, Corcoran; California Substance Abuse Treatment Facility and State
       Prison, Corcoran; California Statie Prison, Solano; and Sierra Conservation Center.

       11i~C1v1c4~%~(l~~ tiliilaicryu~~ibviy ~uuiii.0 ~~,u~cii~~i~ ..:.~~uz~~~ ~,~.iy ui~u.i0uo,~ib .,«.~
       representatives.`

    • Obtained and analyzed inmate appeal rejections, electronic data from the In-Service
      Training Program, and CDCR's comparative statistics on inmate appeals.'

       Reviewed and analyzed all public comments submitted to CDCR through the close of the
       public comment period on March 22, ?011, concerning its regulatory changes to the inmate
       appeal process.




   ~ Title 15, California Code of Reolations, Section 3230 (a)(1), provides that representatives of the Inmate
   Advisory Council (Cotmcil) shall advise and corrununicate with the warden and other CDCR employees issues of
   a common interest and concerns to the inmate general population.
   6 We reviewed inmate rejection letters obtained during our semi-annual inspections at California Correctional
   Institution, Chuckawalla Valley State Prison, and Correctional Training Facility.
   7 CDCR's x'010 comparative statistics identified 148,896 appeals (excluding inmate medical appeals) submitted
   to adult prisons. Of this total, 75,146 appeals were accepted and issued a log number; the remaining 73,750 were
   rejected. [Note: CDCR's "CompStat Counting Rules" classify these rejections as "screen-outs": appeals returned
   to the appellant for correction.]


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                  3.•

    The revised appeal process lacks an accountable means of verifying that
    appeals are made and lacks an accountable means of delivering appeals

     The Californi<1 Department of~ Corrections and Rehabilitation (CDCR)iiotccl in its liiitial
     Statement oFReasons for proposing the emerbency regulations that because it did not log
     iil[~orn~al appeals, `'inmates could allege that staCl' were losing and'or not responding to appeals
     at the informal stave, which in ttii-n meant that [if, in the interim, the time limit for filing the
     appeal expired], iml~ates or parolees were being denied access to a remedy, and CDCR had
     no w~~y to refute such cl~lims." As a result, CDCR replaced the informal appeal process with
     a two-step "Request for Interview, Item or Service"(Form 22) process. This t~~vo-step process
    iinpi-oved accountability via a "receipt" feature (foi- both inmates and CDCR employees)
     that is attached to the Form 22. However, CDC2 did not extend the same receipt feature to
    the third step of its revised appeal process, the actual "Inmate/Parolee Appeal"(Form 602).
    "I11tis, ~~lthou~h the revised process has resolved the problem regarding alle«ations oFlost or
     destroyed requests for resolution of an issLie, for those situations where the issue is not resolved
    at the request level, the revised process has nol solved the problem regarding allegations of lost
     yr destroyed appeals.

    `Ve reviewed each of the 64 written public comrnents and one oral statement provided at
    the public hearing held on March 22, 2011, regarding CDCR's changes to the inmate appeal
    process. Several comments expressed concern that CDCR did not include a receipt feature
    with the revised Form 60?.~ Although some written comments and inmate interviews were
    positive about tl~e new 1•eceipt feature on the Form 22, others wondered ~~hy the Form 602
    lacked this feature. Ftu-ther, multiple Inmate Advisory Council (Council) members eve spoke
    with commented on tl~e lack of accountability in the appeal process, as well as the lack of trust
    inmates have v~~hen submitting an appeal through prison mail.

    CDCR's Fo~~m 602 appealprocess lacks receipt accountability
    We asked Cowicil members if the new appeal process addressed the accountability problems in
    the former appeal process, and some responded that "the Form 602 needs a receipt or in~ediate
    sign off'," and that the new process should use an NCR [no-carbon-required] Form CO2 to provide
    a receipt for inmates.

    In addition to the Council member cointnents, public comments concerning the proposed
    regulatory chan;es to the inmate appeal process also supported adding more accountability to
    the Fonn 602 appeal process. Excerpts from two of those comments follow:



    8 Other notable concerns raised in the written comments included: I) changing tl~e appeal threshold from
    "adverse effect" to "materially adverse effect'; 2)decreasing the space available for inmates to explain their
    appeal issue; and 3) limiting the frequency of appeal submissions from "l every 7" to "1 every l4" calendar days.
    After allowing sufficient time to determine die impact of tlicse changes, the Office of the Inspector General may
    further explore these concerns in a follow-up evaluation.


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         The CDCR has not aciclressecl the appeal trackiizg problem with regards to appeals
         suh~nitted directly to the appeals coordinator's office ... mailed tlaroi.~gh the
         institutions [sicJ internal mail system ... there is ~zo receipt or record created to prove
         that the appeal wc~s in fact submitted and the CDCR also does riot have ani~ way tc~
         refute an i.nmate's allegation that an appeal tivas submitted.

       There is still one sio2ificantflaw [tivith Form 60~]: its ability to eecorrie lost ... losing of
       [sick an appeal laappe~~sfar too often because ofa built ifs characteristic: this is its[sic]
       orrl~~ one master copy ... add self-cicrplicating t~~plicate [no-carbon-require~lJ process.

   VVe asked an official from the Office ofAppeals (formerly known as the Inmate Appeals
   Branch) why CDCR did not include a receipt feature with the revised Form 602. The official
   acknowledged that CDCR considered making both the Form 602 and Forth 6G>-f~("Inmatei
   Parolee Appeal Form Attachment") no-carbon-required documents, similar to the new Form 22;
   however, CDCR ultimately declined to do so for the following reason:

         It tivoul~l r~egirire us to receipt each step ofthe 602 process by breaking the ca~rrent
         single, t~vo-sided,forn~T inta separate NCRforms; onefor each. ofthefour levels of
         j-eview avcriicln[e at ihat iirne. rep despiie the cosy' anti corr~~~ie.~iiy ofihi,s a~~~~roc~c~~,
         tfze benefits wo~ild have been jninimal ... since ralniost all formal appeals are nzcziled,
         a receipi woi~icZ have provided tlr~e appellant with only slig/atly more protection than
         the old pr~acti.ce alf-eady did. It certainly would not have provided any i~zsi~rance
         against tl~~e possibility ofthe appeal being lost or destroyed.

   The official further noted that instead of creating an NCR form for the Form 602 process,
   CDCR created a "ne«~ receipted CDCR Form 22 that would both facilitate and document a
   problem solving process prior to appeal," replacing the discontinued informal appeal level.

   The Office of Appeals official's reasoning notwithstanding, it appears that although the current
   Form 602 process includes three levels of review, it is probably not necessary to create a
   receipt process for each review level for purposes of establishing that the Form 602 appeal was
   not lost or destroyed. Instead, because the primary allegation we have encountered concerns
   the Forn~ 602 appeal being lost or destroyed by correctional staff before the appeal makes it to
   the first level of review at the appeals office, it should suffice if a record is created of the Form
   602 appeal achially being submitted to the appeals office. In short, although the new appeal
   process provides accountability for inmate regatests for resolution of an issue, it still lacks
   accountability for those usually more serious issues that are not resolved at the request stage
   and instead are elevatedto a formal appeal.

   CDCR lacks an accountable means ofdelivering inmates'appeals
   Designated custody officers briefly open and read all non-1ega1 mail, including inmate appeals




   9 From December 2010 through March ?011, CDCR paid $435,943 for 4.9 million new forms (Form 2Z, 60~,
   602-A, and 602-G) related to the roll-out of the emergency regulations for inmate appeals. The average cost was
   approximately $.20 for each Fomi 22 and $.OS for each 602 appeal form.

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     submitted through prison mail or appeal boxes.'° This practice le~~~ls iiunates to assert that s~>~z1e
     of~illcse officers could interfere with an appeal before Cor~vardin~ it to tl~e appeals office.

     VvhLn Svc asked Council representatives what changes ~~-ould be i~iccessary to improve the
     former inmate appeal process, one representative asserted that the correctional officer who
     collects the appeals is too close to the appeal process and that appeals should co direcCly to
     the appeals coordinator. Another inmate expressed his belief that lost appeals will sti11 be an
     issue ~~~itli the revised Form 602 since custody employees leave the ~ibiliCy to re~id an appeal
     firsll~and through the e,~cisting n1ai1 process. An O~{ice of Appeals oFficial remarked that CDCR
     i~ 4voi-kiu« on il~pr-oving the appeal delivery to make it ~~ }process "in which staff eitli~ r do not
     handle or are Linaware of the contents of the appeal."

    Our experience with iiul~ate appeals reflects similar
                                                                             Examples of comments made by
    concerns. In ?010, when the. former process uas in
                                                                             Council members regarding submitting
    effect, the Office of thelns~ector General received                      a n appeal form:
     156 complaints regarding lost, stolen, misplaced,                      • A first wa[ch officer opened mail
    or unanswered appeals. The top two complaint                              containing an inmate appeal and gave a
    topics in this group were the employee's "failure                         copy to the ofricer whc was tl~e subject
                                                                              of the appeal The next morning, the
    to respond" to previous inmate appeal forn7s (69                          subject officer questioned the inmate in
    percent) anci "failure to acceptldestiliction of[appeal]                  his cell about the appeal.
    docl~nient"(?3 percentj. ~Ve reviewed a sample of                       • Tne appeals coordinator does not put a
    30 complaints iii these two areas and determined that                     log number on [submitted] appeals... A
    2g o~it of 30(93 percent) of the complaints were not                      toy number should be issued as soon as
                                                                              you turn in your appeal at the drop-off
    substantiated." For example, many inmates claimed                         point.
    they dici not receive a response to their appeal, but
                                                                            • The 'buddy system' can make your day-
    upon further investigation we typically found that                        to-day life harder with officers informing
    CDCR had in fact already responded to the inmate by                       other officers about your appeal.
    issuing a rejection letter. Although many complaints                    Source: Council responses to OIG
    eve received may ultimately be unsubstantiated, the                     q uestions on whether inmates received
                                                                            a resolution or had a problem with their
    amount and type of appeal complaints we receive                         appeal. Interviews occurred in February
    continue to demonstrate inmates' perceptions that the                   and March 2011.
    appeal process lacks accountability.

    One means of improving accountability could be to move the responsibility for collecting and
    reading inmate appeals from custody employees in a housing unit to the appeals coordinator or
    em}~loyees in each prison's appeals office. The Texas Department of Criminal Justice's Offender
    Grievance Program requires grievance forms to be submitted directly to a Unit Grievance
    Investigator (roughly the equivalent of CDCR's appeals coordinator), or placed in a grievance

    ]0 Title 15 mandates that all non-coi~fideutial inmate mail, incoming or outooin~, is subject to being read in its
    entirety by designated staff(typically a correctional officer in the respective l~ousi~ig unit or area) to prevent the
    introduction of contraband and ensure the safety and security of the prison.
    1 1 Two complaints were considered "potentially substantiated" suice the appeals coordinator did not have
    a record of receiving tl~e appeal when an inmate claimed to have submitted one. Since the Form 602 does not
    include a receipt feahire, iiiinates cannot demonstrate that they subivitted an appeal or that a CDCR employee Lost
    or destroyed a 602 appeal fornl.


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   boY. The Texas Unit Grievance Investigator is responsible not only for processing and resolving
   offender complaints, screening unit-level ~-ievances, and assigning appropriate issue and
   outcome codes for each appeal, brit also for assisting offenders with the grievance process.''

   CDCR does riot reliahl~~ allo~o i~imates to make photocopies ofappeal doct~~nents that could
  fitnc[ion as verification ofthe appercl i3a the absence ofa receipt copy
   Another area of concern to inmates is their inability to make photocopies of their o~vn appeal
   documents. Although CDCR's regulations allow inmates to make copies of'`leaal documents,"
   appeal forms are not identined as legal documents by Title 15 regulations. Council members
   claimed that some prisons interpret this fact as justification for prohibiting inmates from
   obtaining copies of their appeal documents unless the prison assigned a lob number to the
   appeal or tiie appeal is the subject of an active court case (thus moving the appeal fo the status
   of a "legal document"). Another Council member claimed the independent judgment of the
   CDCR employee working in the law library, where inmates typically make photocopies,
   determines whether or not an inmate can make a copy of an appeal. The Council members
   explained that since CDCR employees do not consistently allo~~ inmates to make copies of
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  ;.i; aft;~:1 f^"
  :                                               _~ -" --   ---'  -`- ---- -`

   an appeal ii CD~IZ employees lose, steal, or misplace appeals. Without the ability to makm
   photocopies, inmates' only option is to make handwritten copies of their appeal and suppor~in~
   documents, but a handwritten copy does not provide act~ial evidence that the appeal was filed.

  In its Initial Statement of Reasons for the emergency regulations, CDCR recoenized a need to
  introduce accountability into its inmate appear process. The departr~:enteffectively did so for
  purposes of the Form 22 "request for interview" process (formerly the "informal" complaint
  process); however, CDCR did not extend the receipt concept to Form 602 appeals submitted
  to the appeals office and continues to assign log numbers only to "accepted" appeals (not
  "screened-out" appeals). As a result, it is likely that CDCR and the Office of the Inspector
  General will continue receiving complaints of lost, destroyed, or misfiled appeals, and inmates
  will continue to distrust the appeal delivery process.

   Recommendations:
   The Office of the Inspector General recommends that the CDCR take the following actions to
   improve accountability in the 602 appeal process:
       Add a receipt feature to its appeal form or assign a log number to all Form 602 appeals,
       whether or not they are accepted, to minimize allegations of lost, stolen, misplaced, or
       destroyed appeals.

    • Consider modifying regulations to allow inmates to make copies of their rejected appeals
      and supporting documentation.
   12 The Unit Grievance Investigator(UGI) works closely with the warden and other Texas Depamnent of
   Criminal Justice department heads to consider offender input during a "Step 1" Devance. If the offender is nat
   satisfied with the response, the decision may be appealed to the Central Grievance Office as a "Step 2" grievance.
   During Fiscal Year ?010, the Unit Grievance Investigators handled more than 173,500 aevances at the unit level
  (Seep 1), while central office staff processedmore than 43,500 appeals (Step 2).



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     • Consider inZplemcnting other ~~~count~ibilir
                                                 ;  ~ measures, such as requiring a~~pe~ils office
       employees instead of correctional officers to directly collect all a~~pe~~ls, as iinpleiuented by
       the Texas De~artincnt o1~Criminal Justice.




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         .~:     ~:;   :J



   Appeals coordinators do not provide inmates with the information
   necessary to resubmit a rejected appeal

  although CDCR guidelines specie that appeals coordinators should not place unreasonable
  restraints on appellants' rights to appeal, we found that the practices of a number of CDCR
  employees, including appeals coordinators, oftentimes contradict these guidelines. Appeals
  coordinators often provide inmates ~,~ith insufficient guidance for correcting rejected appeals
  and some CDCR employes restrict inmates' access to documents necessary for supporting
  those appeals. As a result, an inmate's ability to fileacceptable appeals is impaired.

   When inmates' appeals reach the appeals office, they are screened" by the inmate appeals
   coordinatoE~ during the first level of review. During that screening, the appeals coordinator
   determines which appeals to accept, then issues a log number to the accepted appeals and
   assigns those appeals tc~ the appropriate CDC~~ unit for response. Appeals that are not accepted
   aIe C011S1Q.ieC1     SCT~~IlCU 011l~~ ttIlu ~i IUV Ltlllli'vci" 15 llO a~~l~iici.i iv is au~7~ai. l~~iiC~ ~iIli

   procedural guidelines for' appeals coordinato~~s specify that "[e]ach appeal must be screened
   anti categorized" and that appeals coordinators should not e~er~ise their responsibilities "in any
   manner that woilld place unreasonable restraints on the inmate's or parolee's right to appeal"
  (Appeals Coordifiato~~—_~~ithorit}~, Responsibilities mid Etipectations, published by CDCR's
   Office ofAppeals).

     Examples of comments made by Council
                                                          We interviewed 29 Inmate Advisory Council
     members regarding screen-outs:                      (Council) members and asked,"What changes
      Appeals [coordinators] ask for                      wouldbe necessary to improve the old inmate
      documentation, but inmates are not                  appeal process?" The inmates frequently responded
      provided with the means to get the                 that appeals office employees need to make this
      documents.
                                                         screen-out practice less restrictive. Further, Council
    . Appeals are sent back to inmates
      requesting documents and information                members said many inmates were fnistrated
      that was already attached to the 602.               by their inability to obtain copies of necessary
      Inmates get frustrated with, the amount             documents to complete their appeals. The Council
      a nd type of screen-outs, and give up on
      the process entirely.                               members also voiced concerns that the inmate
      I nmate appeals office does everything              population's frustration with the appeal process
      it can to stall the 602 until inmates give          causes many inmates to abandon appeals before
      up on the process. 'Youngsters'[new
                                                          achieving any resolution. The Council members
      inmates) give up on the process knowing
      that it does not work.                              worried that this frustration could increase tension
     Source: Council responses to OIG
                                                          between CDCR employees and inmates, and
     q uestions on significant problems with              that this tension could cause inmates to seek
     former appeals process. Interviews                   alternatives, such as violence, if their complaints
     occurred in February and March 2011.
                                                          were perceived to be ignored.

   1 3 Title 1 ~ identifies 16 specific reasons that an appeal may be rejected, includiil~ the following: failure to
   demonstrate a material adverse effect to the appellant, failure to attach supporting documents, and not using
   proper appeal forms.



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     CDCI~ cmplol~ec~ r:.~jeciscl appealsfor aj~p~~oj~f~iatc reasons'. bait did nab provi~dc~ s~rfficicltt
     i~rstr~irctirm for the i~rmate to resubmit an acceptable appeal
    According, to CDCIZ's 2U 1 U comparative statistics, 148,896 appeals were submitted in
    adult prisons.' Of this total, 75,146 appeals were accepted and issued lob numbers, and the
    rem~iininb 73,750 were rejected. Title 15 requires when appeals coordinators rej~cl an appeal,
    they explain tl~c reason for rejecCion and also provide the inmate. or parolee ~~vitll cle~ir and
    sufficietlt instruction on how ro resubmit an accept-able appeal. Multiple ~ippeals coordin~~tors
    informed pis that the most common screen-out factor is the inmate's failure to include necessary
    supporting documents.

    To detei-minc the validity of screen-outs, we reviewed 31 appeal screen-outs filed under the
    revised re~ulatioiis from California Correctional Institution, Chucka~valla Valley State Prison,
    and Connectional Traininb Facility during April ?011. After we revietived the screen-out leCtets,
    appeal forms, and appeal ariachinents, ~~e Concluded that the reasons for all 31 screen-outs
    were valid under- tl~~ Title 15 requirements. ~Io~vever, we found that for 16 of the 31 screen-
    outs (52 percent), the accompanying letter to the inmate ~~as missing key details, including not
    identifying the appropriate CDCR form needed to support the appeal or the Title 1~ reference
    used tc; reject the appeal Absent clear and sufficient instructions on how to resubmit au
    acceptable appeal, inmates face an increasing likelihood of a subsequent appeal rejection. Thy
    screen-out letters were missing one or more of these items:

      • A list of all Title 15 references linked with each reason for rejecting the appeal.

      • The specific CDCR forni(s) required to support the appeal.

      • Instructions on how to obtain arequired form.

      • A definitive response to the inmate's request for emergency status.

      • "Che reasons that the appeals office determined the inmate misused or abused the appeal
        process.

    One screen-out letter we reviewed illush~ates how an inmate might feel enable to obtain
    resolution of an issue. The inmate's appeal claimed that his caseworker did not respond to his
    two attempts to apply fog- credit restoration. However, the inmate provided no docuinentaiy
    evidence to support these attempts and, as a result, the appeals coordinator rejected, or screened
    out, the appeal. The appeal screen-out letter instructed tl~e inmate to attach a completed
    Application for Restoration of Credits and resubmit the appeal(Form 602) — appac-ently
    ignoring the inmate's assertion that he had twice ah~eady attempted to file this forn1. Had the
    screen-out letter instead advised the inmate to resubmit his appeal with a completed Form 22,
    the uunate's fiil-~her attempts) to receive a response from his caseworker would be documented
    on the Forn122 receipt. Alternatively, the inmate may have been able to resolve his issue by
    using the Form 22 without further involvement from the appeals office. However, without

    14 During 2010, accordiub to the Office of Appeals, CDCR also received 2,639 appeals within the Division
    ofAd~ilt Parole Operations (DAPO),Regions I through N and Community Correctional racilities (CCF),
    accounting for less than 2 percent of total statewide appeals. The screen-out rates were 87 percent(1,749 out of
    2,012) for DAPO and 20 percent(124 out of 627) for CCF's.

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   the appeals coordinators providing appellants with specific guidance, an inmate's ability to
   resubmit an acceptable appeal is diminished. When CDCR rejects appeals, it must provide
   sufficient information to inmates in their screen-out letter to avoid subsequent rejections for
   deficiencies that could have been noted in the initial rejection.

   IramnPes'dif~icult~~ in obt~iinino critical docicrnents increrases the p~~ssihr'lity nj''a rejected appeal
   ~'Ve fotiind that inmates' omission of necessary documents witih their appeal is one of the
   most common reasons an appeal is rejected. Our review of appeal rejections found that some
   inmates are either uninformed or disregard the fact that they need to submit a CDC form to
   support their appeal issue. Council members explained that inmates had difficulty obtaining
   access to the law library to use the photocopy machine, due to inmate demand and recurring
   loekdowns of facilities. Another Council member said that some inmates are not receiving
   necessary documents in a timely manner after committee meetings, and ghat in order to meet
   appeal deadlines, they knowingly file their appeal without necessary documents. We note that
   CDCR's extension of the deadline for filing an appeal from 1 ~ to 30 days of the event may
   provide some relief to inmates who require additional time to obtain supportinb documents for
   ti~~ir ~~!-±ne~,l .


   ~~Te asked four appeals coordinators about the most common appeal screen-out reasons, and
   all tour answered that the primary reason ~~~as missing documents. One appeal coordinator
   acl no~,vled~eci that inmates do not tmderstand what supporting documents are necessary when
   filing an appeal He also acknowledged that. at times, CDCR employees may not respond in a
   timely manner to inmates' requests for supporting documents."

   An attorney representinb inmates raised. the following concern regarding the Title 15
   requirement that inmates obtain the correct form and attach all supporting documents necessary
   for clarification. or resolution:
            A prisoner's grievance is not trkin to a formal trial, or a substantive legal motion in
            which evi'cler~ce should be reguii-ed. An appeal is a mechanisrn by lvhich a problem
            can be brought to the attentio~i ofpYison officials, who respond. In adc~i~tion, in many
            insta~-ices, the doczrments are entirely tinder the control ofprison officials, and indeed
            are e~7tirely available to the official responding to the appeal ... .

   Although some documents supporting an inmate's appeal may be readily available to the
   responding official, one appeals coordinator acknowledged it would be too time-consuming
   for CDCR employees to track down necessary forms for every appeal, especially considering
   the 2010 statewide monthly averaDe of 37E~ appeals per prison. For instance, the appeals
   coordinator mentioned that he regularly receives appeals from inmates requesting the status
   of their requested sentence reductions for completing "milestone credits"(rehabilitation
   programs, the successfLil completion of which may reduce eligible inmates' sentences).
   However, we learned that calculating milestone credits is alabor-intensive manual process



   I S Supporting documents include CDCR forms, such as a classification chrono(CDCR Fonn 128-G), which is
   used to document classification committee decisions.


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     involving inultipLc forms ancj CDCIZ einplov~es."` lil such case:;, tllc a~~~~~~ils oftic~ is dependent
     on tl~c in~uate as well as other CDCR employees or outside entities to c~btaiii the appr~~l~riat~
     supportilig documents.

     ~ecomn~enc3ations:
     Tl~e Qffice of the lnspector General rEcommends t11at the CDCI? take the follo~vi»~ actions:

        Ensl~re that the appeal screen-out notice not only provides the specific reasons) for the
        rejection and corrections) necessary for the appeal to be accepted, but also includes
        complete instl-tictions to the inmate by identifying all specific actions) and foi~zl(s)
        necessary for CDCR to accept tl~e appeal, as well as where and how to obtain them.

        Require that appeals office employees regularly meet ~~~it111nmate Advisory Council
        members to discuss the supporting documents needed for the most common types of appeal
        issues and remove those barriers to inmates' obtaining these documents.




    16 For example, CDCR procedures require that before an inmate can participate in tl~e GED erani, education
    staff must review the inmate's central file to confirm that tt~e inmate does not already possesses a l~i6h school
    diploma, GED, or college degree. If a discrepancy exists, the imnate must request a transcript from the hiDh
    school he or she attended to verify eligibility for participation in nulestone credit-eamiug courses. Upoi1 receipt
    of tl~.e transcript, an education registrar evaluates the information to determine tl~e inmate's eligibility for
    pro~rrranl participation. Finally, a prison case records employee provides the inmate with a "legal stah~s summary"
    calculating the imnate's release date based ou the milestone completed.


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          ~.


   ~api~ implementation of the revised appeal process caused confusion
   and presented additional challen~~s

  Timely training and comprehensive distribution of infornlation is critical to the effective.
  implementation of any change in an established process. In June 201 d, CDCR's Office of
  Training and Professional Development(OTPD)noted in its on-the-job-training (OJT)
  modules for Form 22 requests and Form 602 appeals that failure to provide training in the
  revised appeal process may result in increased appeals and in CDCPL's possible involvement
  in litigation initiated by inmates. Yet before starting the appeal process changes on January
  ?8, 2011, CDCR dicl not expedite training for all of its employees who have direct contact
  «pith the inmate population; moreover, CDCR inconsistently distributed information to
  inmates and CDCR employees after the new re~~ised process was in place. The slow roll-out
  of training, inconsistent information provided to employees and ingrates, and confusion over
  the requirements entailed by the former and revised request-for-interview ~fornis resulted in
                                                                            vi ~tl., .., v, vu u~;~:~ u~   ~..~,..~.~.
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   revise~~ rebailntrons
   Effective implementation of CDCR's revised appeal process required prisons and parole ofFices
   to expedite training for all employees who have contact with inmates and parolees. Most
   CDCR employees received training in the revised appeals process after the implementation
   date of the new regulations. An official with the Office of Appeals.explained that fimding
   desibated for expedited formal training through OTPD was removed due to state budget
   constraints shortly before the appeal process changes went into effect on January 28, ?011.
   As a result, CDCR's training roll-out was delayed and informal training was offered as an
   alternative. Under this alternative training approach, CDCR required all field employees with
   custody and parole responsibilities to be trained by the end of December 2411 on how to
   use the new Form 22 and revised 602 forms. We learned that appeals coordinators initially
   pro~~ided training to supervisors during regularly scheduled employee meetin;s. Those
   supervisors were then responsible for sharing this information with rank and file employees
   involved in the appeal process. Subsequently, the Deputy Director of Adult Operations
   acicno~vledged the following in an email dated April 6, 2011:

          Since it r~s antieipatec~ that it nzav take up to 12 monthsfoY all staff to co»ipletefof-mal
          IST[rn-service traini~~o] on phis topic[Inmate Appeal System chanoesJ, please utilise
          OJT[orz-thejob training] to ensure aZl staffarefamzliar with. the changes ~o the
          Inrnate/Parolee Appeal glad written request(Form Z2)policies, practices c~ndforms.

   Custody employees attend annual in-service training, which includes gone-hour component
   on the revised appeal process. Custody employees are also required to complete one-hour on-
   thejob training (self-study modules) on the use of the new Form 22 and fhe revised Form 602..
   In an email message, the Deputy Director ofAdult Operations declared his expectation that
   95 percent of employees were to complete the on-the-job modules for the Form 22 and Form


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     60~ by Mati~ G, ?O1 1 . D~iriii~~ our revie~~, as noted beloti~. in Figure 4, s~ti~:,r~il prisons trained
     approxiina[cly h~i(1~ of their cuslucly employees iri lt~e respective oil-thejob trair~iiig nlodtiles a
     Ce~v months aCtcr tl~c new appeal requirements were implemented on January° 28, 2U ll .

     Figure 4: Percentage of custody employees who have completed on-the-job training in the revised
     appeal process.
                              __ ___ ~ _ _~__.___ _..~.~.T ~.~ ~ ~_ —__ __~ T___— ____ ~_ ._

                                                                                                I
                                                                                                1
                                                                                            ~~.+~
     N orth Kern State Prison                 ~ ~    854                      219                      26%          ~ ~ April 2011
     Pleasant Valley State Prison                    847                      392                      46%             April 2011
     California Substance Abuse
                                                    1,261                     612                      49°o           March 2011
     Treatment Facility and State Prison
     Sierra Conservation Center                      598                      497                      83%            March 2011
     California State Prison, Soiano                 781                      713                      91%          ~ March 2011     ~
    Source: Figures were provided by the In-Service Training Lieutenant or Sergeant at the above-mentioned prisons.



    ~~~R C1151YT~llltL'(~ di1L'fJ035ZSfnllt N1~01'i1lCltl01? t0 L'lii~1~0~'~~'S Cd17.(~ 1711Ft(ItC'3 07? t{1e 1'BVIS~'!f A~7fJ~Q1
    nrncess
    The Office of Appeals desibned two brochures--Introducing the Netiti~ CDCR Fof~m ??for'
    I~imates and Pa~~olees and Hotii~ to Stsb~nit an Appeal ~For-rfz 602 --to educate the inmate
    population on the new appeal process. However, according to CDCR employees, two of the
    four prisons we visited did not distribute the brochures to inmates due to budget constraints.
    At one of the prisons distributing the brochures, appeals office employees attached brochtu~e
    copies to inmates' appeal screen-out letters; the other prison made copies of the brochures and
    distributed them to each inmate's cell.

    In February and March 2011, CDCR gave inmates copies of the Califo~~nia Code of
    Regulations, Title 15, updated through January 1, 2011, containing CDCR's Hiles and
    regulations. Since the emergency regulations for the revised appeal process did not take
    effect until January 28, 2011, the revised appeal regulations were not included in the copies
    distributed to inmates. One inmate we interviewed was frustrated that his appeal was screened
    out for a regulation that he did not know existed, since the regulation cited by the appeals
    coordinator in rejecting his appeal was part of the emergency regulations not included in the
    inmate's most recent copy of Title 15. We found copies of CDCR's emergency regulations and
    lnitial Statement of Reasons in a prison law library used try minimum-security inmates, but we
    were infornled by Imitate Advisory Council members that those copies were not available to
    inmates in other housing areas at the same prison.


   .
   Some custody officers are allegedly unwilli~rg to accept a Form 22
    The on-thejob training module that CDCR provides to custody employees mandates that
    "staff shall not refuse to accept the Form 22, unless urgent and/or critical situations demand
    immediate attention." The training module also notifies CDCR employees that "Failure to


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   accept a completed fornz while not otherwise engaged in duties that preclude doing so is not
   allowed. Furthemlore, failure ~o respond to, or destruction of the completed form, is subject to
   corrective action in accordance with the staff discipline policies of the Department"

   The above mandate not~~ithstanding, the California Correctional Supervisors Orbanization
  (CCSO)informed CDCR that most custody employees do not want to sign the Forni 2? if they
   are not the respondent. As the Administrative Liaison for the CCSO explained, "[N]ormally
   staff are reluctant to sign for a document that is not intended for them, therefore, making
   them somehow legally liable for the issuance in return ... So inmates are having a hard time
   betting people to sign [the Form Z~] to route it [to the respondent.".One appeals coordinator
   said that some custody employees and inmates still do not understand that the Foam 2? is not
   an appeal bu: rather a request for inte:vies~. ThP appeal co~rclinator mentioned Chat Form 22s
                                                are being erroneously routed to the appeals office
                                                for resolution without first being addressed by the
    Examples of comments made by                   respondent. This erroneous routinD slows down the
    Council members regarding the new
    Form 22 and obtaining a receipt:               TeSolUtiOri pI'OCeSS.

    • Some officers refuse to accept or sign
       the Form 22. Inmates are mailing them       Some inmates also ctaimed during ot;r intervie~~~s
       in and not getting a resporse within        to have difficulty finding employees willing to
       three days. The ne~v process takes
       longer.                                     sign their corm 22 request. The appeals training
    • Some officers still need training in the     video instructs inmates using the new Form 22
       new process. Officers are not inclined to   request form to "wait for a staff member ~=✓ho has
       sign the forms because they would (or       the time to at least take the form, sign it and give
       may) be held accountable.
                                                   you a copy." Our inspectors received numerous
    • Everyone needs to be on board and
       willing to sign and address the new         comments from Inmate Advisory Council (Council)
       Form 22 timely. Otherwise, it can create    members mentioning that some custody employees
       problems down the line. There is so         are unwilling to sign the Form 22, claiming to be
        much uncertainty that inmates do not
       want to submit the form. The form is not    "too busy," or that some employees instnict the
       officer-friendly.                           inmate to send his or her appeal through prison
    • Officers are 'too busy' to accept the        mail. if an inmate is not able to obtain a signahire
        new Form 22. The appeal process is
                                                   on a Form 22, the "receipt" function of the form
       complicated. I watchecJ the training
        video about ten times.                     becomes moot because an inmate must then submit
    Source: Council comments on the Form           the form through the prison's mail —just as they
    22 —request for interview process.             did in the former initial appeal process that the
    I nterviews occurred in February, March,
    and April 2011.
                                                   CDCR discontinued because of its lack of receipt
                                                   accountability..

   Inmates and CDCR employees are confused about the intent andpurpose ofthe two similarly
   namedforms "GA-22"and "CDCR ?2"
   The training module for CDCR's Form 22 specifies that "[a]11 inmatesiparolees will receive
   training on how to use the Form 22: Request for Interview, Item or Service through a video
   presentation and/or a brochure" prepared by the Office of Appeals. The prisons received an
   informational inmate appeals video, approximately eight minutes long, which was to be aired
   four to five times daily from mid-January through April 29, 2Q 11. More than half(16 out of
   29) of the Council members we interviewed watched the video through an institutional channel

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    in tlicir cells because. inivales generall}~ choose. not to ~-~~afch the institutional cl~anncl in the
    dayrooms. One Council member noted that CDCR "[t]raining ~issunles each in~27ate leas a TV or
    [the video] is sho~vll on the dayroom floor." T1~e inmates' choice not to ~~;~atcLl the institutional
    channel in dayroon7s likely resulted in ma~~y inmates not viewing the video unless they owned
    a T~'. In addition to the problem of limited access, tl~e video appears ~o have created confusion
    with its initial statement:

          Toda~~ ive crre discussing ,si~;iiifica»t c%antes in hotir ~-er~uesls are ~nacle n~tcl ~~outine
          problems adcb~es.se~l within the p~~iso~is and parole rcaio~i,s. 1'hc existing I~r.alf-l~agc
          Llmatc Req~.~est,for~ I»ter-vie~r Form (G~1-??~ ltas hee~z redesr~~~icd to a full p~i~e ni~cJ
          is notic c»titlecl the Rec~uesf,forlfrte~vietir, Item oi~ Service Fo~~ni[CDCR ~?J. This rae~i~
          CDCR 2? Form tivill be used to make requests mzd resolve issues. It also replaces the
          i~~~oj~rraa7 ap~~enl process, wl~~ic1~ Izas bee~a disco~~.tinued. Tl~.~~~e nr~c~ other chan~es~ to
          llie capl~eal process tivhzcJr will Ise discirss~ed later if~~ this i~ic,'co.

    Th~~ video thus implies that inmates should no longer Lise the G~-22 to matte sini~l~ requests
    and resolve issues, and that the redesigned form —the CDCR 22 —should be used for these
    purposes. This direction has led to unintended uses of the new forrli, including iiun~ites making
    basic requests for thins such as indigent envelopes or a Bible.

    Further, the Office of Appeals notified CDCR employees that the Form G~-?2 "Inmate
    Request for Interview" ~voulci be replaced (as similarly stated in the appear video shown
    to inmates) when the new appeal process is implemented. Althoti~h we learned that this
    misstatement was later corrected during a CDCR teleconference, some inmates and CDCIZ
    employees remain uncertain about whether to use a Foin1 GA-2? or Form 22. Two appeals
    coordinators pointed out that CDCR could have chanted the form name or number to avoid
    confusion between the two fornls.                     y

    We reviewed the following public comments regarding the appeal form confusion:

         From a law librarian -[13Jecause the riew regulations state thaC the new CDCK 22
         forn7 ca~7 be usedfor `requests and take the place ofthe GA-22forfrz we are notin
          receiving yoa~rfoa~r page NCRformsfor simple requestfor lativ h'bra~y access... I
          think this is a great waste ofthe State's money mzd co~itradr-ct~s the pa~rpose of 'saving
          money ai~.d streamlining services'... my sarggestion is »ot to aba~zdoi~ the olc~ GA j-J2Z
         fo~•»z because it serves an important purpose in tlae daily lives ofii~~mates ... .

          From a Catholic chaplain - I receive a~~ytivlterefrom SO-75 of these requests[Form
          22J each tiveek ... Please consider limiting the use of CDCR 22 to issues that requi~~e
          a w~~itte~z response or explanationfr-oni staff. Simple requestsfor `things'(such as a
          Bible, a S~~mpat~h~~ card, a prayer)slzou~ld be made tivi~hout regui~~ing the 10 m.i~iutes it
          Iaas beefy taking nae to deal tivith eachform.

    These public comments from CDCR employees illustrate the confusion that comes from
    inadequate training as well as the confusion that comes from using similarly named request
    foi7ns.




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   Idecommendations;
   The Office of the Inspector General recommends that the CDCR take the following actions:
      Ensure that all affected employees are properly trained concerning ne«r appeal procedures.

    • Develop an additional alternative to inmates' submittinb a Farm 22 to custody employees
      fur sit~nati~re. VVe su~~est desianatin~ an employee to process Form 22 requests at specific
      times every day.

      EfFectively explain to its employees and inmates when to use the Form 2? and when to use
      Form GA-22.

      Make copies of the revised appeal regulations available in prison law libraries.




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                     ~Ir. Robert r~. C3~irtnn
                     [nspcclor General
                     0111ce c~t~tlic Insocclur General
                     P.O. 13ox 3~~4~i7~s0
                     Sacramento, CA 95534-3"ISf)

                      Dear ~~1,. L'~rtnn:

                   "['his IctYer is being sui~ntitted by the C`ulifurni❑ Dep;u~finenl o!~ Corre~li~,>ns ~nxl
                   lZch:~bilitatiou (CllCR) fn respoi~sc iv tlic OCficc of the Inspccl~r Gcucral's (OIG) report tided
                   Special Rc/,url: CDCR's Izevrsarl Iianr~rl~ ~lpperi! Proceas l,ecrves tiey 1'roblenr~ Unarlr(~•c~.ssed.
                   ' Chc res~icw icicutilicd coiiccrus that ictl CDCit in ch~n~a its inmate ap~~cal pruccs~ and asscssc~i
                    ~~~hethcr the rcvis~d inmate ~y>pcnl process addressed those concerns.

                     [I is im~~orl.tnt to CDCR that the inmt~te app;,al process is accessible to the oFfe.u~lei population
                     and ~I~~t staff are ~tccotintlblc fir respc~ndiiig timely Iv tlicir gricvaiiccs. As such, the Ol~ilcc of
                     A ppeals (OOt1) introduced a ❑e~~~ Porm 22 process which incorporiles Ivzi C~irbon Required
                     copies to provide receipts Eor rou[iite re~~uests. OOr\ is <,Iso implementing necessary cii;mges tai
                     ensure inmalcti' ticc~ss to rcmc~ly and reviewing alternate sectu~c delivery systems to u~ifigale the
                     possibility of lust or <lisc~+rded rec~ucsts.

                     Duc to w~ex~>ecteil fiscal restr~ints at tfie time. of rcgtilatory appiov~l, OOA was tinal7lc to tr~~iil
                     111 staff' oi~ the ne~v re6ulations prior to imptement~tion. However, 9~ percent of the staff have
                     no~v bccir Iraincd and OOA is providing ongoing guid~inec and support as the trainiu~ modules
                     arc completed. In adclilion, tl~e ius~itutions have been eniniled specific directions regarding; tl~e
                     ~~roper Candling of dtc form by staff and whether a CDCR Purm L2 or a GeA 2? is appropriate
                     given the situation. A memo will be drafted to inemorialirc this inCorn~atir~n and ~yilf provic[e
                     fiuthcr onsile support as needed to ensure full Stafl'cnmpliancc with the CDCR Form 22 process.

                     The OIG 8150 noted deficiencies i❑ institutional screening com~~ounded by tl~c in~ibility of
                     i umatcs to obtain tl~c required documents to have their appeals accepted, 'Io comply with fhe
                     rec~liiremenis of the Prison Litigation Reform Act rc6arding offenders' access to rcinedy, OOA
                     will pruvicle training cud uvcrsigl~l in institutional sci~eeniug acid is working on a Scrccncr's
                     I-Ianclboolc for distribution statewide. In addition, tl~e OUn is in the process of ensuring that
                     copies of the ne~v regulations end forius ru•e readily available lc~ Uie offender population. Ln~tly,
                     OOA nbrccs with OIG's rccominendalion that ~~ppcals coordin<riors meet a( lc~sl quaricrly with
                     the ivfen's Advisory Council.




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            Robert ;A. B~irton, [nvpect~~r Gcncrt2l
            Pttgc




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            Dit~isi;~n of f~dtil; Ir.slitutioi~s

            cc:      George Giiirbii~o, Deputy Director (A), Division of Adult Institutions
                     Deno Foston, Chie£, Office of r\ppc~ls




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                               SPECIAL REPORT

                CDCR'S REVISED INMATE APPEAL PROCESS LEAVES
                         KEY PROBLEMS UNADDRESSED

                      OFFICE OFTHF INSPECTOR GENERA!




                             STATE OF CALIFORNIA
                               SEPTEMBER 2011

                               WWW.OIG.CA.GOV
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 Mate of California
 CDC FORM 695
 Screening For:
 CDC 602 Inmate/Parolee Appeals
 CDC 1824 Reasonable Modification or Accommodation Request


 RE: Screening at the FIRST Level

 Tuesday, April 18, 2017

TURNER, G05794
D 0021144001E
PROPERTY,Transfers, 03/29/2017
Log Number: LAC-D-17-01692
(Note: Log numbers are assigned to all appeals for tracking purposes. Your appeal is
 subiect to cancellation for failure to correct noted deficiencies.)

 The enclosed documents are being returned to you for the following reasons:

Your appeal has been rejected pursuant to the California Code of Regulations, Title IS,
Section (CCR)3084.6(b)(6). Your appeal makes a general allegation, butfails to statefacts or
specify an act or decision consistent with the allegation.

 Your appeal does not meet the criteriafor processing as an emergency appeal. This appeal was
forwarded to the Hiring Authority and it was determined that this appeal does not meet the
requirementsfor assignment as a staffcomplaint. It will be processed as a routine appeal
pursuant to CCR 3084.5(b)(4)(A). No evidence provided demonstrates staffactions were
intended to be punitive in nature to you or done to harass you. Ifyou are requesting to
continue this appeal as a property issue, then state so on the bottom ofthe CDC 695 Form.


     K. Estrada, AGPA
     G. Stratman, Office Tech
     M. Fordham, CCII AC                                                           ~~~;~~ 2 $   ~l~
     J. Curiel, CCII AC
Appeals Coordinator
LAC




NOTE: If you are required to respond/explain to this CDCR Form 695, use only the lines provided below.




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Be advised that you ca~inot a~peal a r~ected appeal, but should take the corrective action necessary and
resubmit the appeal within the timeframes specified in CCR 3084.6(a) and CCR 3084.8(b). Pursuant to
CCR 3084.6(e), once an appeal has been cancelled, that appeal may not be resubmitted. However, a
separate appeal can be filed on the cancellation decision. The original appeal may only be resubmitted if
the appeal on the cancellation is granted.
 NOTE THIS CDCR 695 IS A PERIVTANEN'C APPEAL ATTACHMENT AND IS 1~~OT TO BE REMOVED
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 134 of 138 Page ID
                                  #:1277
 State of California                                                                 Pelican Bay
 CDC FORM 695
 Screening For:                                                          ,~„ ,,~.,
 CDC 602 Inmate/Parolee Appeals
 CDC 1824 Reasonable Modification or Accommodation Request


 RE: Screening at the FIRST Level

 Monday, May 8, 2017

TURNER, G05794
D 002 1144001E
 PROPERTY,Transfers, 04/28/2017
 Log Number: LAC-D-17-01692
(Note: Log numbers are assigned to all appeals for tracking purposes. Your appeal is
 subiect to cancellation for failure to correct noted deficiencies.)

 The enclosed documents are being returned to you for the following reasons:

Be advised that your appeal has beenforwarded to another CDCR unitfor processing.

 Your property Appeal issue pertains to Pelican Bay. As such your property appeal issue will
 beforwarded to Pelican Bayfor processing.


     K. Estrada, AGPA
     G. Stratman, Office Tech
     M. Fordham, CCII AC
~    J. Curie), CCII AC
Appeals Coordinator
LAC


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                                                                                                   A p~~~i1~ ~iitC~




NOTE: If you are required to respond explain to this CDCR Form 695, use only the lines provided below.




Be advised that you cannot appeal a rejected appeal, but should take the corrective action necessary and
resubmit the appeal within the timeframes specified in CCR 3084.6(a) and CCR 3084.8(b). Pursuant to
CCR 3084.6(e), once an appeal has been cancelled, that appeal may not be resubmitted. However, a
separate appeal can be filed on the cancellation decision. The original appeal may only be resubmitted if
the appeal on the cancellation is granted.
 NOTE TH1S CDCR 6951 A PERMANENT APPEAL ATTACHIVIENI' AND IS NOT TO BE REI~]OVED
Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 135 of 138 Page ID
                                  #:1278
 State of California
 CDC FORM 695
 Screening For:
 CDC 602 Inmate/Parolee Appeals
 CDC 1824 Reasonable Modification or Accommodation Request


 RE: Screening at the FIRST Level

 Tuesday, June 6, 2017

TURNER, G05794
D 002 1144001L
 PROPERTY,Transfers, 06/06/2017
 Log Number: PBSP-O-17-01162
(Note: Lod numbers are assigned to all appeals for tracking purposes.)

The enclosed documents are being returned to you for the following reasons:

Your appeal has been cancelled pursuant to the California Code of Regulations, Title 1S,
Section (CCR) 3084.6(c)(2). The appeal duplicates a previous appeal upon which a decision
has been rendered or is pending.

Missing property is a duplicate issue already addressed on appeal log #PBSP-O-17-00632.


    A. Sheldon, Appeals Coordinator
    K. Royal, Appeals Coordinator
    N. Bramucci, AGPA
PBSP Appeals Office




NOTE: If you are required to respond/explain to this CDCR Form 695, use only the lines provided below.




Be advised that you cannot appeal a rejected appeal, but should take the corrective action necessary and
resubmit the appeal within the timeframes specified in CCR 3084.6(a) and CCR 3084.8(b). Pursuant to
CCR 3084.6(e), once an appeal has been cancelled, that appeal may not be resubmitted. However, a
separate appeal can be filed on the cancellation decision. The original appeal may only be resubmitted if
the appeal on the cancellation is granted.
 NOTE THIS CDCR 695 iS A PERMANENT APPEAL ATTACHMENT AND IS NOT TO SE REMOVED
 Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 136 of 138 Page ID
                                   #:1279
  State of California
  CDC FORM 695
  Screening For:
  CDC 602 Inmate/Parolee Appeals
  CDC 1824 Reasonable Modification or Accommodation Request


  RE: Screening at the FIRST Level

  Thursday, June 22, 2017
  TURNER, G05794
  C 0061122001LP
  PROPERTY,Transfers, 06/22/2017
  Log Number: SVSP-L-17-03629
 (Note: Log numbers are assigned to all appeals for tracking purposes. Your appeal is
  subiect to cancellation for failure to correct noted deficiencies.)

  The enclosed documents are being returned to you for the following reasons:

  Be advised that your appeal has beenforwarded to another CDCR unitfor processing.

  Your appeal wasforwarded to LA!'


     V. Lomeli, Appeals Coordinator
     J. Magdaleno
     E. Medina, Appeals C dinat r
~C. Martella, AGPA ~~~~,,'~i                  ~C~_
Appeals Coordinator             ~
SVSP




  NOTE: If you are required to respond/explain to this CDCR Form 695, use only the lines provided below.




  Be advised that you cannot appeal a rejected appeal, but should take the corrective action necessary and
  resubmit the appeal within the timeframes specified in CCR 3084.6(a) and CCR 3084.8(b). Pursuant to
  CCR 3084.6(e), once an appeal has been cancelled, that appeal may not be resubmitted. However, a
  separate appeal can be filed on the cancellation decision. The original appeal may only be resubmitted if
  the appeal on the cancellation is granted.
   NOTE THIS CDCR 695 IS A PERMANENT APPEAL ATTACHMENT AND IS NOT TO BE REMOVED
             Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 137 of 138 Page ID
                                               #:1280
                                                                                                                     L~
STkTE OF CALIFORNIA                                                                                                    DEPARTMENT OF CORRECTIONS AND REHABILITATION
IN'MATE/PAROLEE APPEAL
CDCR 602(REV. 03/12)                                                                                                                                                      Side 1
                                                                      IAB USE ONLY             i   ~            Region:            Log #:               Catego




                                                                                                                             FOR STAFF:USEANLY                  -°~
You may appeal any California Department of Corrections and Rehabilitation (CDCR) decision, action, condition, policy or regulation that has a material
adverse effect upon your welfare and for which there is no other prescribed method of departmental review/remedy available. See California Code of
Regulations (CCR), Title 15, Section 3084.1. You must send this appeal and any supporting documents to the Appeals Coordinator (AC) within 30 calendar
days of the event that led to the filing of this appeal. If additional space is needed, only one CDCR Form 602-A will be accepted. Refer to CCR 3084 for further
guidance with the appeal process. No reprisals will be taken for using the appeal process.
  A    eal is sub'ect to re'ection if one row of text er line is exceeded.                                      WRITE, PRINT, or TYPE CLEARLY in black or blue ink.
  Name (Last, First):                                                            CDC Number:                    UniVCell Number:               Assignment:

                                                                                                             ~ i~~~                               ~.or--,~
 State briefly the subject of your appeal (Example: damaged TV,job removal, etc.):



  A. Explain your issue (If you need more space, use Section A of the CDCR 602-A):
                                                                                                                   N~
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                                                                                                                                                                      `~      Priv~7r~
 B. Action requested (If you need more space, use Section B of the CDCR 602-A): ~ ~h1~f                                       A7J

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                                                                                                                                                           ~D,~'iGc:~S
                                                                                                                                                                       Cei~C~

 Supporting Documents: Refer to CCR 3Q84.3. I I I ~                O 6    201
                                               JU
    Yes, I have attached supporting documents.
 y~st supporting documents attached (e.g., CDC 1083, Inmate Property Inventory; CDC 1                  8-G, Classic ion ~ ono):




 ❑ No, I have not attached any supporting documents. Reason




 Inmate/Parolee Signati                                                                   Date Submitted:
0By placing                            initials in th~x,I waive my right to receive an interview.
 C. First Level -Staff Use Only                                  *-~                            =~fi~cR~3rte~-is=G~f~~02-A Attached? /~ Yes
                                                                                            Staf#                                                                  ❑ No
 This appeal has been:                                                                         ~ ~      ~ ~G
                                                                                                           ~                        ~
 ❑ Bypassed at the First Level of Review. Go to Section~pp ~ ~ ~~
      ejected (See attached letter for instruction) Date: ~R      - D                                                Date.                         Date:
      ancelled (See attached letter) Date:~_~7~~
                                              II IA             :; _                                            ;~
    Accepted at the First Level of Review.
      Assigned to:                                                        Title:- - --                    Date Assigned:                       Date Due:

 First Level Responder: Complete a First Level response. Include Interv'iewer's name, title, interview date, location, and complete the section below.
                               Date of Interview:                                        Interview Location:
 Your appeal issue is:        ❑Granted        ❑Granted in Part         ❑Denied               ❑Other:
                             See attached letter. If dissatisfied with First Level response, complete Section D.
 Interviewer:                                           Title:                 Signature:                                                   Date completed:
                               (Print Name)

 Reviewer:                                            Title:                Signature:
                        (Print Name)

 Date received by

                                                                                                               AC Use Only
                                                                                                               Date mailed delivered to appellant              /      /
      Case 2:14-cv-04758-SB-AGR Document 136 Filed 10/05/17 Page 138 of 138 Page ID
                                        #:1281

STATE OF CALIFOfiNIA                                                                                          DEPARTMENT OF CORRECTIONS AND REHABILITATION
INMATE/PAROLEE APPEAL FORM ATTACHMENT
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 ....., , .,..~ ,.iRFv    n~ii~~
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                                                                  IAB USE ONLY,                   le eg~on:              Log #~            Category:



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                                                                                                                    FORSTAFFUSEQIYLY




Attach this form to the CDCR 602,only if more space is needed. Only one CDCR 602-A may be used.
Appeal is subject to rejection if one row of tent per line is exceeded.      WRITE, PRINT, or TYPE CLEARLY in black or blue ink.
  Name (Las[, First)' ~                                                      CDC Number:             Unit/Cell Number:              Assignment:




      `~ ~ -of CDCR 602, Section A only(Explain your issue)
 A. Continuation                                                            ~.~..G,i~l l~ I6 ~3 8~~2~-k~f
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                                                                                                            ~ g, g,~
 Inmate/Parolee Signature:                                                                Date Submitted:

                                                                                                              JUN 0 6
 B. Continuation of CDCR 602, Section B only (Action requested):           ~ G~~/~~T /'vl~f'                              ~ ~!J/°'/7~~~:S'~~~~Z'~iv~



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Inmate/Parolee Signature:             ~.~                             ~~~                                  Date Submitted:
